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   ViacomCBS Inc.
 8
 9
                        UNITED STATES DISTRICT COURT
10
                      CENTRAL DISTRICT OF CALIFORNIA
11
                                  WESTERN DIVISION
12
13 CANDESHA WASHINGTON,                   ) Case No. 2:20-cv-00435
                                          )
14                    Plaintiff           ) DECLARATION OF JOANNA M.
                                          ) HILL IN SUPPORT OF
15        v.                              ) DEFENDANT’S REQUEST FOR
                                          ) JUDICIAL NOTICE
16 VIACOMCBS, INC.; AND DOES 1            )
   THROUGH 50,                            )
17                                        ) [Hon. Consuelo B. Marshall]
                Defendants.               )
18                                        ) [Defendant’s Motion to Dismiss; Request
                                          ) for Judicial Notice; Notice of Lodging;
19                                        ) and [Proposed] Order filed concurrently
                                          ) herewith]
20                                        )
                                          ) Date: May 5, 2020
21                                        ) Time: 10:00 A.M.
                                          ) Place: Room 8B
22                                        )
                                          )
23                                        )
                                          )
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 1                          DECLARATION OF JOANNA M. HILL
 2           I, Joanna M. Hill, hereby declare as follows:
 3          1.   I am an attorney duly licensed to practice law before all courts in the State
 4 of California. I am an attorney in the law firm Katten Muchin Rosenman LLP, which is
 5 counsel of record for defendant ViacomCBS Inc. (“Defendant”).               I submit this
 6 declaration in support of Defendant’s Motion to Dismiss (“Motion”). I have personal
 7 knowledge of the matters set forth in this declaration, and I could and would
 8 competently testify to those facts under oath if I were called upon to do so.
 9          2.   Plaintiff alleges at paragraph 19 of her Complaint that her allegedly
10 infringed work, a pilot script for a proposed television series called #SquadGoals, was
11 registered with the United States Copyright Office in 2019 under registration number
12 PAu-3-985-289. After this action was filed, I ordered from the United States Copyright
13 Office a certified Copy of Deposit associated with this registration number. Attached
14 hereto as Exhibit A is a true and correct copy of the certified Copy of Deposit that I
15 received from the United States Copyright Office, consisting of a script for a pilot
16 episode of a proposed television series and an accompanying application form that
17 Plaintiff allegedly submitted to Imagine Impact, LLC .
18          3.   Plaintiff’s First Cause of Action for copyright infringement is based upon
19 purported similarities between her work and a specific episode from Defendant’s
20 television series, Bull, titled “Her Own Two Feet.” Attached to the concurrently filed
21 Notice of Lodging, and identified herein as Exhibit B, is a flash drive containing a true
22 and correct copy of this allegedly infringing episode of the television series Bull.
23          4.   In connection with this Motion, we conducted research on frequently
24 occurring surnames in the United States, including United States Census Bureau
25 information. Attached hereto as Exhibit C is a true and correct copy of an excerpt of
26 frequently occurring surnames from the 2010 United States Census, which is available
27 at: https://www.census.gov/topics/population/genealogy/data/2010_surnames.html.
28

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Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 3 of 135 Page ID #:79



 1          5.   Attached hereto collectively as Exhibit D are true and correct copies of
 2 summaries of motion pictures and television shows that include storylines about the
 3 disappearance of a young woman or teenage girl and an ensuing investigation into the
 4 disappearance:
 5               Megan       is    Missing        (2011)          –     Plot      Summary,      IMDb,
 6 https://www.imdb.com/title/tt1087461/plotsummary (last visited Feb. 25, 2020).
 7               Paper       Towns          (2015)         –          Plot       Summary,       IMDb,
 8 https://www.imdb.com/title/tt3622592/plotsummary (last visited Feb. 25, 2020).
 9               Searching         (2018)            –         Plot            Summary,         IMDb,
10 https://www.imdb.com/title/tt7668870/plotsummary (last visited Feb. 25, 2020).
11               Elsewhere         (2009)            –         Plot            Summary,         IMDb,
12 https://www.imdb.com/title/tt0874271/plotsummary (last visited Feb. 25, 2020).
13               Pretty Little Liars (TV Series 2010-2017) – Plot Summary, IMDb,
14 https://www.imdb.com/title/tt1578873/plotsummary (last visited Feb. 25, 2020).
15               “Law & Order: Special Victims Unit” Runaway (TV Episode 2001), IMDb,
16 https://www.imdb.com/title/tt0629724/ (last visited Feb. 25, 2020).
17               “Law & Order: Special Victims Unit” Friending Emily (TV Episode 2012),
18 IMDb, https://www.imdb.com/title/tt2452938/ (last visited Feb. 25, 2020).
19               “Law & Order: Special Victims Unit” No Good Reason (TV Episode 2017),
20 IMDb, https://www.imdb.com/title/tt7195314/ (last visited Feb. 25 2020).
21               “Without a Trace” Between the Cracks (TV Episode 2002), IMDb,
22 https://www.imdb.com/title/tt0749650/ (last visited Feb. 25, 2020).
23               “Without    a    Trace”     Maple       Street       (TV    Episode   2003),   IMDb,
24 https://www.imdb.com/title/tt0749683/ (last visited Feb. 25, 2020).
25               “Without     a   Trace”      Confidence          (TV        Episode   2003),   IMDb,
26 https://www.imdb.com/title/tt0749655/ (last visited Feb. 25, 2020).
27 ///
28 ///

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Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 4 of 135 Page ID #:80



 1 I declare under penalty of perjury that the foregoing is true and correct and that this
 2 declaration was executed on March 13, 2020 at Los Angeles, California.
 3
 4 Dated: March 13, 2020                 KATTEN MUCHIN ROSENMAN LLP
 5
 6                                       By: /s/ Joanna M. Hill
                                              Joanna M. Hill
 7                                       Attorneys for Defendant
                                         ViacomCBS Inc.
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                             EXHIBIT A
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 6 of 135 Page ID #:82




                                                                     LIBRARY OF CONGRESS

                                                                    Copyri^i Office
                                                                    if tlidjiiilal States
                                                                      WASHINGTON, D.C.




                     THIS IS TO CERTIFY that the attached photocopy is a true
               representation of the work entitled #SQUADGOALS deposited in the
               Copyright Office with claim of copyright registered under number
               PAu 3-985-289.

                      THIS IS TO CERTIFY FURTHER, that deposits submitted
               electronically bear no identifying marks.

                      IN WITNESS WHEREOF, the seal of this Office is affixed
               hereto on February 25, 2020.

                              Maria Strong
                              Acting United States Register of Copyrights and Director



                      By:    Marietta Walls
                             Supervisory Copyright Specialist
                             Records Research and Certification Section
                             Office of Public Records and Repositories


               Use of this material is governed by the U.S. copyright law 17 U.S.C. 101 et
               seq.




                                              Ex. A-1
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 7 of 135 Page ID #:83




                                   #SquadGoals

                                        by

                                Candy Washington


                                 "Pilot Episode"




                                      Ex. A-2
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                                      #SQUADGOALS
                       Pilot Episode"


           FADE IN: WE SEE "WELCOME TO L.A. B*TCHES" FLASH ON THE
           SCREEN

           EXT. LOS ANGELES, CA - NIGHT - PRESENT DAY

           It's a Friday night in the City of Angels and we see leggy
           MODELS, REALITY STARS, CLUB KIDS, and COOL KID WANNABES,
           all lined up to get into the opening night of an uber-chic
           and exclusive new "young Hollywood" night club.

           Sequins are sparkling and the heels are high. The red
           carpet is rolled out for the VIPs and the photographers are
           perched, ready to snag the most click-worthy pic of the
           night.

           Bystanders have their phones out trying to snap and
           live-stream all of the action.

           A black Escalade rolls up and the PAPARAZZI swarm from
           seemingly out of nowhere with flashing lights, all of them
           chanting, "SAY-DEE SAY-DEE!"


           INT. BLACK ESCALADE

           Inside the back of the Escalade we see, SADIE WILLIAMSON
           (female, 20's, mixed ethnicity, African-American), your
           quint-essential Hollywood "It" Girl, due to her 15 million
           Instagram followers, fashion blog, and coveted brand
           endorsement deals.

           Sadie is decked out in an all gold sequined dress, fixing
           her make-up in her compact mirror, and dancing along to the
           latest Taylor Swift song on the radio.

           Next to Sadie is her official "Squad," which is her super
           attractive girl gang made up of Instagram social media
           influencers and YouTube stars.

           There's JANA WANG (female, 20's, Asian), who's her number
           one side-kick, a cute, bubbly girl dressed in a similar but
           not identical gold sequined dress and her claim to fame is
           her K-Beauty tutorials on YouTube.

           Then there's PENELOPE ROTHCHILD (female, 20's, Caucasian),
           whose claim to fame is her fashion and style Instagram
           account, and then there's LAETICIA PATEL (female, 20's,
           Indian), whose claim to fame is her
           Vegan-Gluten-Free-Keto-Diet Foodie Instagram account.



                                      Ex. A-3
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 9 of 135 Page ID #:85




                                                                         3.


                                 LAETICIA
                       Duh, but then can we do a little
                       nose candy? I'm fading fast!

                                 SADIE
                       A little bump never hurt anyone.
                       You in Cicely?

                                 CICELY
                            (without looking up from
                            her phone)
                       Naw, count me out.

                                 SADIE
                            (shrugs)
                       Suit yourself homie.

            Sadie takes a little baggie of white powder out of her
            purse and passes it around the group of girls.

            While the other girls   are distracted and taking bumps of
            coke, Sadie slips out   a tiny vial that says, "EXTREMELY
            Fast-Acting Laxative:   Use with Caution," and she drops a
            few drops into one of   the shot glasses.

            She then pours four shots of tequila into four different
            shot glasses. She hands the spiked shot glass to Jana,
            keeps one shot for herself, and then gives the third shot
            glass to Penelope and then the last shot glass to Laeticia.

            Jana puts the baggie of coke into her purse.

                                SADIE (CONT'D)
                      Let's raise our glasses! Cheers to
                      being BFFs forever and I'm so
                      humbled to have each and every one
                      of you in my Squad! Cheers
                      bitches!

            Sadie, Jana, Penelope, and Laeticia raise their shot
            glasses and take the shots in one gulp and then giggle.

                                JANA
                      Mine was strong! What was in that?

                                SADIE
                      Just a little something extra for ’
                      my favorite bestie!

                                                                    ZOOM IN:

           We see on Cicely's phone an Instagram post with the smiling
           face of ROXY MCDONOUGH (female, 20's, Caucasian),
           beautiful, super thin, and blonde, with the caption, "STILL
           MISSING: HAVE YOU SEEN ROXY?"


                                      Ex. A-4
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 10 of 135 Page ID
                                   #:86




                                                                      4.

                              SADIE (CONT'D)
                    Can you snap me real quick?

         Cicely nods automatically, puts down her phone, and grabs
         Sadie's phone from her.

         She then proceeds to take a short Instagram video of Sadie.

                              SADIE (CONT'D)
                         (to phone)
                    Hey babes! It's time to hit up
                    tonight's party! I feel like a
                    princess in my gold sequined
                    Balmain dress. Be sure to 'heart'
                    this video! #StayBlessed!

         Cicely uploads the video to Sadie's Instagram account and
         we see hundreds of comments and likes starting to flood in.

         Sadie checks herself out one more time in the mirror and
         then grins devilishly.

         Jana is already starting to feel unwell and we see her grab
         her stomach and her face grimaces in pain, Sadie notices.

                              SADIE (CONT'D)
                    You don't look so hot Jana. Maybe
                    you should skip tonight's red
                    carpet?

                              JANA
                    Ugh, no. I'll be fine. I just
                    shouldn't do shot on an empty
                    stomach•

                              SADIE
                    True, God knows you don't need the
                    calories.

                               JANA
                    What?

                              SADIE
                    I mean, you look great. I think
                    it's really "inspiring" that
                    you're embracing your curves. It's
                    so Kardashian of you.

         Jana looks like she's actually been punched in the stomach
         after that insult.
                              JANA
                    Thanks, I guess I'll start a
                    cleanse next week.


                                      Ex. A-5
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 11 of 135 Page ID
                                   #:87



                                                                      5.


         Sadie is looking at the girls, but her POV is directly into
         the camera as-if she's speaking to the audience.

                              SADIE
                    Good idea. Anyway, it's time to
                    give them what they want.

         Sadie wipes her nose of any coke remnants and then steps
         out of the Escalade and we hear the paparazzi calling her
         name, the flashing lights of the cameras, and her adoring
         fans begging her for an autograph.

                                                                   CUT TO:


         EXT. RED CARPET OUTSIDE OF THE NIGHTCLUB

         PR GIRL (female, 20's, open ethnicity), dressed in
         all-black with a pen and clipboard escorts Sadie and her
         Squad to the front of the red carpet line.

         She looks down at her clipboard and a surprised look comes
         across her face.

                              PR GIRL
                    Ahh, Jana, you're up first? Not
                    Sadie?

                              JANA
                    Yeah, Evvy wanted to shake things
                    up tonight by letting me go first.
                    But only if it's ok with Sadie.

                              SADIE
                    Of course, babe! Anything for my
                    bestie.

                               PR GIRL
                    Alright then, let's go Jana and
                    don't forget to smile. You know
                    the drill.

         Jana is clutching her grumbling stomach and has turned
         pale. She approaches the red carpet and once she steps on
         it and all of the flashing lights go off, she crumbles to
         the ground, grabbing her stomach in pain and is too
         embarrassed to stand up because she's unable to control her
         bowel movement and has began to shit herself on the red
         carpet.

         Sadie, without missing a beat, steps over Jana, and starts
         posing for the paparazzi, photographers, and the
         on-lookers, smiling and doing her signature struts and
         angles.




                                    Ex. A-6
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 12 of 135 Page ID
                                   #:88


                                                                     6.


                              SADIE
                         (looks down at Jana)
                    I told you, you guys always go
                    after me. Now go clean yourself
                    up. You're making me sick.

                              PAPARAZ ZI
                    Say-Dee! Over here! Say-Dee! Look
                    this way! Can we get a smile?
                    Say-Dee!

         Sadie looks back up at the photographers and continues to
         smile and pose.

         The PR Girl helps Jana up from the ground and ushers her
         off of the red carpet.
                                                                  CUT TO:


         INT. FANCY NIGHTCLUB

         Sadie is being led to her V.I.P. table by a huge BOUNCER
         (male, 30's, African-American) dressed in all black while
         other PARTY GOERS are watching and taking photos and videos
         of Sadie.

         Right behind her is Cicely, who's still texting furiously,
         followed by Penelope and Laeticia.

         Waiting at their table is Sadie's boyfriend, MILES MASON
         (male, 20's, Caucasian), a super hot YouTube star whose
         claim to fame is pulling ridiculous pranks on his friends,
         family, and strangers. Miles just landed his first film
         deal and is ready to party.

         Miles is surrounded by his HOT VLOGGER GUY FRIENDS and
         fellow YouTube pranksters, LUKE (male, 20's, Hispanic),
         who's equally hunky to Miles and is crushing on Jana, JAMES
         (male, 20's, mixed ethnicity), who's the brains of the
         group, and DAX (male, 20's, Asian), who's the funny guy of
         the group.
                              SADIE
                    Hi babe! You look so HOT tonight!
                    And I can't believe that I'm
                    dating a movie star.

                              MILES
                    You're looking pretty smokin' your
                    self babe. And I'm not a movie
                    star yet, we just signed the
                    contract, so we still have to
                    shoot the damn thing.
                              (MORE)



                                    Ex. A-7
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                                   #:89



                                                                      7.


                              MILES (CONT'D)
                    But I'm pretty pumped. You're
                    looking at the next James Bond!

                               SADIE
                    Awwww, love...
                          (points to him)
                    You.

                              MILES
                    Come sit on my lap and keep me
                    warm.

         Sadie crawls onto Miles's lap and takes her rightful place
         on the throne.

                              SADIE
                    Let's take a selfie babe.

         Sadie and Miles are taking a ton of selfies, videos, and
         photos.

         We pan out to see a packed club, music is bumping, the
         drinks are flowing, everyone is laughing and dancing. The
         L.A. elite party crowd are having the time of their lives.

         We see Jana sheepishly rejoin the group at their V.I.P.
         table and she's still looking pale and now has on the
         bouncer's jacket wrapped around her waist.
         Sadie tosses her a bottle of water at her and Jana grabs it
         and starts chugging the water.

                              SADIE (CONT'D)
                    Nice to have you back with us
                    Jana! What a 'shitty' way to leave
                    a party!

         Everyone at the table erupts into laughter at Jana's
         expense. It's clear that no one is willing to go against
         Sadie and call her out on her mean girl antics. She's the
         Queen Bee and what she says goes.

                              JANA
                    Thanks, I'm just happy that I have
                    friends like you, Sadie, to look
                    after me.

                              SADIE
                    Anything for my Squad and my
                    favorite bestie.

         Sadie gives Jana air kisses. Cicely then interrupts and
         pulls Sadie to the side.



                                    Ex. A-8
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 14 of 135 Page ID
                                   #:90




                                                                     8.


                              CICELY
                         (showing Sadie her
                         phone)
                    Look! The posts looking for Roxy
                    are only getting worse.
                         (beat)
                    And the cops want to talk to me.
                    Somehow they got my number, they
                    know that we were all at the party
                    the night Roxy went missing.

                              SADIE
                    Wait, slow down. These posts have
                    nothing to do with us. And why do
                    the cops want to talk to you?
                    Everyone already knows that we
                    were all at the party the night
                    Roxy went missing. Like, where
                    else would we be?

                              CICELY
                    Because she's been missing for
                    three months and we're the last
                    people to have seen her. What if
                    the police figures out that the
                    bloody hoodie left at her place
                    belongs to me? I mean, how many
                    people have the initials C.G.?
                         (beat)
                    Look, if I go down, you go down
                    with me.

         Sadie shrugs and then laughs.

                              SADIE
                    Whatever. The bitch had it coming.
                    Besides, we didn't do anything
                    wrong. Just keep your mouth shut
                    and we’ll be fine.

                              CICELY
                    I don't know Sadie. Maybe we
                    should just tell the truth.

                              SADIE
                    Don't be an idiot Cicely. Besides,
                    who would ever believe us? And
                    don't forget, we all have secrets
                    that are better left hidden.

         Then we see flash lights throughout the club and a few
         UNIFORMED OFFICERS and DETECTIVE MYERS (male, 40's,
         Caucasian) and DETECTIVE GARCIA (female, 30's, Hispanic)
         make their way through the thick crowd of partiers.



                                    Ex. A-9
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                                   #:91



                                                                      9.


         The detectives and a few officers approach and make their
         way to the V.I.P. table.
                              DETECTIVE MYERS
                    Which one of you is Sadie
                    Williamson?

                              DETECTIVE GARCIA
                    And who's Cicely Gregory?

         Sadie and Cicely exchange worried looks and both raise
         their hands.
                               DETECTIVE MYERS
                    Well, you're coming with us. In
                    fact, you're all coming with us.
                    I'm Detective Myers, and this is
                    my partner. Detective Garcia, and
                    we're the leads on the
                    disappearance case of Roxy
                    McDonough.

                              MILES
                    I once watched a YouTube
                    documentary on civil rights, like
                    you can't take us anywhere without
                    telling us why, or like, without a
                    warrant or something.

         Detective Myers and Detective Garcia both chuckle as if to
         say, "this idiot."

                              DETECTIVE GARCIA
                    Isn't Roxy McDonough, the missing
                    girl, a friend of yours? We think
                    that we have finally have a break
                    in the case, just want to bring
                    you guys down for a few questions.

                              DETECTIVE MYERS
                    You all do want to help us find
                    your friend, don't you?

                              SADIE
                    Of course, we do. Just maybe
                    tonight's not the right time.

                              DETECTIVE MYERS
                    LeL's go ladies and gents, now.
                                                                  CUT TO:




                                   Ex. A-10
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                                   #:92




                                                                     10.


          EXT. FANCY NIGHTCLUB
         While photographers, paparazzi, and bystanders are taking
         pics and live-streaming, Sadie and her Squad are escorted
         out of the nightclub by the two detectives and the
         uniformed officers.

         Sadie, who never misses an opportunity for a photo opp, is
         waving and smiling at the cameras while her Squad and the
         guys follow behind and are placed into cop cars.
                                                                   CUT TO:


          INT. LAPD FEMALE HOLDING ROOM

         Inside of a large holding room, we see Sadie, Cicely, Jana,
         Penelope, and Laeticia.

         Sadie is sitting down, seemingly cool as a cucumber but we
         zoom in to see her pinching the inside of her palm that
         looks as though it's been harmed before.

         Cicely is pacing back and forth, Penelope and Laeticia are
         holding each other, and Jana, still looking ill, is sitting
         down with a nervous twitch.

         In walks Detective Garcia.

                              DETECTIVE GARCIA
                    Hi ladies. Sorry to keep you hold
                    up like this, but you know, space
                    is limited and we don't want you
                    mingling with the other inmates.

                              PENELOPE
                    Are we under arrest? Since when is
                    partying a crime?

                              LAETICIA
                    Don't we get a phone call or like
                    a tweet or something?

                              JANA
                    Where's the bathroom?

                              DETECTIVE GARCIA
                    No, you're not under arrest, we
                    just want to ask you all a few
                    questions regarding Roxy, we
                    should have you out of here in no
                    time and back to your partying.

         The girls all give Detective Garcia a blank stare.



                                   Ex. A-11
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 17 of 135 Page ID
                                   #:93




                                                                     11.

                              DETECTIVE GARCIA (CONT'D)
                    Would you like a phone call? Since
                    you're not under arrest, there's
                    really no need to call anyone.
                         (to Jana)
                    And you don't look too good, come
                    with me, I'll take you to the
                    ladies room.

         Jana nods, and slowly gets up. Detective Garcia ushers her
         out of the room.
         Sadie makes sure Detective Garcia is out of ear shot.

                              SADIE
                    Remember, we're a team, it's our
                    Squad now. We stick together.
                                                                   CUT TO:


         INT. LARD MALE HOLDING ROOM

         In another large holding room, we see Miles, Luke, James,
         and Dax.
         Miles is sitting down, biting his nails. Luke is pacing
         back and forth. James is lost, deep in thought, and Dax is
         blankly staring into space.

         In walks Detective Myers.

                              DETECTIVE MYERS
                    Howdy boys. We'll be getting you
                    all squared away here in a few
                    minutes. Just a few routine
                    questions, since you boys were the
                    last ones to see Roxy before her
                    disappearance.

         At this, Dax jumps up.

                              DAX
                    No we weren't! And you're not
                    going to pin this on us. I know
                    how this goes down. You have no
                    leads so you want to bust the frat
                    guys for il. Well, we didn't kill
                    her!

                              DETECTIVE MYERS
                    Whoa, whoa, slow down there
                    cowboy. Kill her? Who said Roxy
                    was dead?
                               (MORE)


                                   Ex. A-12
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 18 of 135 Page ID
                                   #:94




                                                                     12 .


                              DETECTIVE MYERS (CONT’D)
                    As of now, she's still just a
                    missing person. Is there something
                    you want to tell me, son?

                              DAX
                    My name's Dax, and no. I just
                    like, assumed she was dead. She's
                    like been missing forever.

         All of the guys exchange worried looks and the air is
         thick.

                              JAMES
                    Look, my dad is a criminal defense
                    lawyer and I can have him down
                    here in a heartbeat.
                              DETECTIVE MYERS
                    You're not under arrest, why do
                    you need a lawyer? Something you
                    want to confess?

         Detective Myers pulls out a handful of IDs, and thumbs
         through them, landing on a pic of James.

                              DETECTIVE MYERS (CONT'D)
                    James, is it?

                              JAMES
                    Yeah, that's me. And no, I have
                    nothing to confess.

                              DETECTIVE MYERS
                    Then why don't you pipe down and
                    wait your turn. This can be quick
                    and easy, or long and painful,
                    just depends on how you guys want
                    to play it.

         The boys nod in unison.

                              DETECTIVE MYERS (CONT'D)
                    Sit tight. I'll be back for ya.

                                                                  CUT TO:


         INT. LARD FEMALE HOLDING ROOM

         Detective Garcia returns with a better looking Jana. Jana
         sits down next to Sadie.




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                                                                     13.

                              DETECTIVE GARCIA
                    Sadie? Will you come with me?
                    Detective Myers and myself have a
                    few questions for you.

         Sadie looks up, and for the first time, a look of genuine
         panic crosses her face.
                                                                   CUT TO:


         INT. PRIVATE LAPD HOLDING ROOM - SADIE

         Sadie sits across from Detective Myers and Detective Garcia
         in a traditional interrogation room.

         Detective Myers and Detective Garcia clearly have the
         "playing dumb" routine down as to disarm their suspects.

                              DETECTIVE GARCIA
                    So I see here that you have over
                    15 million Instagram followers,
                    that's pretty impressive. How many
                    does Roxy have?

         Sadie stares blankly.
                              DETECTIVE MYERS
                    Oh, last time I checked she had
                    about 14.5 million. Loved that
                    funny video she did on how to hack
                    prom dresses for the new, oh
                    what's it called? Yeah, that's
                    right, "The Millennial Prom."

         Awkward silence from Sadie and Detective Garcia.

                              DETECTIVE MYERS (CONT'D)
                    I have daughters.

         Sadie and Detective Garcia nod.

                              DETECTIVE GARCIA
                         (to Sadie)
                    That's right. But didn't you only
                    surpass her in followers because
                    once she went missing, her
                    campaign with, oh what's that
                    fashion brand, again?

                              DETECTIVE MYERS
                    Fendi. Again, I have daughters.




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                              DETECTIVE GARCIA
                    Yes, that's right. With Fendi,
                    went to you in her absence? I
                    mean, even I saw it and was pretty
                    impressed. That must have been a
                    pretty big campaign.

         Detective Myers looks down at a few papers and then back
         up.
                              DETECTIVE MYERS
                    Actually, basically all of Roxy's
                    social media campaigns have gone
                    to you now, right?

         Detective Myers looks back down at the papers again and
         shows something to Detective Garcia.

                              DETECTIVE MYERS (CONT'D)
                    Mmmhmm, and who's that handsome
                    fellow in the holding cell? What's
                    his name, again?

                               DETECTIVE GARCIA
                    Miles.

                              DETECTIVE MYERS
                    Yes, Miles Mason. Wasn't he dating
                    her before she went missing? And
                    according to your Instagram
                    Stories, my daughter loves you
                    by-the-way, and was kind enough to
                    alert me to the fact that you're
                    now dating Miles?

                              DETECTIVE GARCIA
                    Yeah, seems like you stepped right
                    into Roxy's life the moment she
                    disappeared. Have you always been
                    close to the other girls? Jana,
                    Penelope, and Laeticia, is it?

                              SADIE
                    Yes, that's them, and Roxy was one
                    of my best friends too. I was
                    lucky enough to be a part of her
                    Sguad. She really took me under
                    her wing when I moved here from
                    New York and the thing between
                    Miles and I just sort of happened
                    and it was Evvy's idea to replace
                    Roxy with me for those brand
                    deals.
                              (MORE)



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                                                                    15 .

                              SADIE (CONT'D)
                    I mean, I never can replace Roxy,
                    but we had deadlines and our fans
                    needed us. And Miles, we just both
                    missed Roxy so much, we just found
                    comfort in each other. Roxy was a
                    real friend to me. I loved being
                    her favorite bestie.
                         (beat)
                    Literally, she taught me
                    everything that I know. She's made
                    me into the girl that I am today.
                    I wouldn't be who I am without
                    her.

         Off of Sadie's distant yet pensive look.

                                                                FADE OUT:


         "TWO YEARS AGO, NEW YORK CITY" FLASHES ON THE SCREEN

                                                                 FADE IN:


         INT. VENEER MAGAZINE OFFICES - NEW YORK, NY - DAY

         Inside of VENEER MAGAZINE looks exactly like what you would
         expect from one of the top fashion magazines in the world,
         as we see leggy MODELS, busy JOURNALISTS, artsy
         PHOTOGRAPHERS, stressed-out INTERNS, and cool DESIGNERS,
         all working away.
         And then we see an innocent-looking Sadie, in glasses,
         mousy hair, minimal make-up, a tweed skirt, stockings, and
         a tucked in white button-up shirt.

         She's running around, with a hand full of papers, fabrics,
         and Starbucks, all with a sweet smile on her face. We
         follow her putting out fires around the office and
         high-fiveing her co-workers.

                                                                  CUT TO:


         INT. MARNIE GUSTAV'S OFFICE

         Sitting like a Queen on her throne, MARNIE GUSTAV (female,
         50's, gray hair, Caucasian), a fiercely intelligent,
         independent, and intimidating woman who's been the
         editor-in-chief of the magazine for the last two decades
         and is also Sadie's boss.
                               MARNIE
                    SAY-DEE!


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                                                                     16 .


          Sadie rushes into Mamie's office and seamlessly places her
          Venti Starbucks Macchiato onto her desk, picks up a
          designer dress that needs steaming from her office chair,
          and straightens the magazine pile on her office table.

                              SADIE
                    Yes, Marnie?

                              MARNIE
                    How long have you worked for
                    VENEER?

                              SADIE
                    Since I graduated from Columbia,
                    so for almost three years. I
                    started out as an editorial intern
                    and I now love being your
                    assistant for the past few years.
                    With you being the editor-in-chief
                    of VENEER Magazine for over the
                    past two decades, I've already
                    learned so much from you. I mean,
                    you single-handedly made this
                    magazine into one of the top
                    fashion magazines in the world.
                    This is my dream job.

                              MARNIE
                    And I do appreciate how hard you
                    work. You're extremely thorough
                    and precise. Everything we look
                    for in our team here at VENEER.

         Marnie looks Sadie up-and-down.

                              MARNIE (CONT'D)
                    And oddly enough, your eye for
                    style when it comes to the shoots
                    is getting more refined, which why
                    I'm so very sad to have to let you
                    go.

         Sadie begins to sweat.

                              SADIE
                    Is this about me mixing up
                    Stephane's Starbucks order? I
                    swore he said whole milk and not
                    almond milk, how was I supposed to
                    know that he was lactose
                    intolerant?
                         (beat)
                               (MORE)




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                                                                    17 .

                              SADIE (CONT'D)
                    I really love my job and I've been
                    editing and writing in my spare
                    time, and I'd love to show some of
                    my articles to you. It would mean
                    the world to me to one get
                    published, in print, in the
                    magazine.

         Marnie stays stone-faced and then.

                              MARKIE
                    Oh darling, you’re not getting
                    fired. You're getting promoted. I
                    know we don't usually promote
                    assistants this early on, but I'm
                    the boss, so what I say, goes.
                    There's a junior style editor
                    position opening up at the end of
                    the month since Katie is going
                    back to rehab.

                                 SADIE
                    Uppers?

                                 MARNIE
                    Downers.

         Sadie nods and audibly breathes a sigh of relief.

                              MARNIE (CONT'D)
                    Think you're up for the challenge?

                              SADIE
                    Yes, absolutely. It'd be an honor.
                    Thank you so much, Marnie.

         Sadie squeals and does a little victory dance and then
         catches herself, straightens her dress, and clears her
         throat.
                              SADIE (CONT'D)
                    Will that be all Marnie?

         Marnie nods.
                              MARNIE
                    Yes, for now.

         Sadie nods and turns to walk out of the office.
                                 MARNIE (CONT'D)
                    Oh, Sadie.

         Sadie turns back around.
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                                                                     18 .


                              SADIE
                    Yes, Marnie?

                              WARNIE
                    Congratulations, this is a huge
                    accomplishment for such a young
                    woman, and leave your article on
                    my desk later for review - and
                    your skirt is up in the back.

         Sadie smooths out her skirt in the back and nervously nods
         and laughs.

                              SADIE
                    Yes, right, and thank you. Bye.

         Sadie walks out of Mamie's office and when she's carefully
         out of eyesight she resumes her victory dance.

                                                                  CUT TO:


         INT. VENEER MAGAZINE - FASHION CLOSET

         Sadie is sitting down among racks and racks of designer
         clothes, shoes, and handbags, with DELILAH (female, early
         20's, open ethnicity), a tall, leggy model, and PRINCETON
         (trans, 30's, open ethnicity), a fabulously chic stylist.

         The trio are doing a fitting for an upcoming shoot for
         VENEER.

                              PRINCETON
                    So, spill all of the tea,
                    dah-ling! What exactly did Marnie
                    say?

         Princeton is simultaneously gossiping with Sadie while
         measuring the hemline on Delilah's designer dress.

                              SADIE
                    Well, I guess I'm getting promoted
                    to junior style editor! Does this
                    mean that I finally get to travel
                    with you guys to location for the
                    magazine shoots?

         Sadie passes Princeton some safety pins for the dress.

                              SADIE (CONT'D)
                    I mean, the photos from your last
                    trip to India for the model
                    throwback series with Naomi, Tyra,
                    and Christy looked amazing.


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                               PRINCETON
                    This is fabulous news! Just
                    between us, I was rooting for you
                    the whole time! I would have just
                    gagged if Justine had gotten the
                    promotion over you.
                          (beat)
                    She1s nice enough but her sense of
                    style is just dreadful! She wears
                    every-single-trend in one outfit!
                    That, my friend, does not make you
                    stylish.

         Sadie sheepishly looks down at her own less-than stylish
         outfit and pulls a multi-colored fur scarf from the racks
         and throws it over her modest outfit. She does a slow twirl
         around.

         Princeton notices the change in Sadie's demeanor.

                               PRINCETON (CONT'D)
                    No dah-ling! You're always so
                    'mousy chic.' What makes you
                    fabulous is your eye. You have it.
                    That 6th sense about fashion and
                    style.
                          (beat)
                    And you're actually one hell of a
                    writer! I mean, who really reads
                    these days, anyway? But if I did,
                    I'd only read your stuff!
                          (beat)
                    But you should still let me give
                    you that make-over. A few
                    highlights and sequins will change
                    your life. I know there's a beauty
                    queen just dying to get out of
                    you!

                              DELILAH
                    Totally. I agree. You wouldn't
                    believe what I used to look like
                    before I started working with
                    Princeton. And now, I'm doing a
                    spread for VENEER I

                                                                  CUT TO:

         Standing in the doorway of the fashion closet is JUSTINE
         (female, 20 's, open ethnicity), and she's dressed up in a
         super chic and trendy outfit.




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                                                                    20.


                               JUSTINE
                          (with a sarcastic tone)
                    Maybe for our "New Year, New You"
                    issue?

         Sadie, Princeton, and Delilah, look up and see Justine, who
         has her arms crossed. Clearly pissed off and has overheard
         their entire conversation.

                              SADIE
                    Justine, sorry, we didn't realize
                    you were stopping by the fashion
                    closet. Did you need something?

                              JUSTINE
                    Hmm, I'm looking for the Charlotte
                    Simone Popsicle Fur Scarf in
                    Multi, that we borrowed from the
                    Bergdorf's upcoming Fall/Winter
                    season collection? I need it for a
                    shoot that I'm doing with Rihanna.

         Sadie looks down at her neck as she's wearing the scarf.
         She takes the scarf off from her neck and offers it up to
         Justine.
                               SADIE
                    Here you go!
                          (beat)
                    And I just wanted you to know that
                    I really love your work too, and
                    I'm looking forward to working
                    together, I'm sure there'll be
                    another junior editor spot opening
                    up soon.

         Justine looks Sadie up-and-down and gives a sly smile.

                              JUSTINE
                    Even though you stole this
                    promotion from me, I'll never
                    answer to someone like you.
                         (beat, and then fake
                         smiles)
                    But thanks for the scarf! Toodles!

         Justine turns and saunters out of the fashion closet.

                              DELILAH
                    Ugh, I just can't with her
                    attitude! You totally deserved the
                    promotion. Just because she's the
                    entertainment editor's niece
                    doesn't mean that she
                    automatically gets the job.

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                                                                     21.

                              PRINCETON
                    Nepotism is so '90's.

                              SADIE
                    I just hope she doesn't give me a
                    hard time. VENEER is my home. You
                    guys are my family!

                              DELILAH
                    What did she mean, "someone like
                    you?"

          Sadie looks down at the floor.

                              SADIE
                    Don't worry about it, I'm used to
                    it. I guess people don't really
                    take me seriously as a fashion
                    editor.

                              PRINCETON
                    Oh, pay her no mind! I meant what
                    I said, congrats on your big
                    promotion and we must celebrate
                    this weekend over bottomless
                    mimosas and avocado toast! I'm
                    serious. This is a life-changing
                    moment!

                              SADIE
                         (playfully mocking
                         Princeton's voice)
                    Yes, we must celebrate dah-ling!
                    But first, we dance!

         Sadie turns on a pop song on her iPhone, grabs a new fur
         scarf, and she, Princeton, and Delilah start to dance in
         the fashion closet.

         They continue to laugh, chat, and play with the clothes.

                                                                  CUT TO:


         INT. SADIE AND CICELY'S NYC APARTMENT - SADIE'S BATHROOM

         We see Sadie in her bathroom, looking in the mirror and
         examining her face, touching her belly and her legs,
         pulling on the plush parts to see if she's "fat."

         She looks down at her cell phone and starts to swipe the
         photos of all of the social media influencers with "perfect
         bodies" partying on yachts, laughing in selfies, and taking
         trendy photos.

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                                                                    22 .

         Sadie lands on Roxy's page and we ZOOM IN to see photos of
         Roxy's stick-thin body in a tiny cherry red bikini while
         pretending to eat a big cheeseburger. She continues to
         swipe through Roxy's sexy and fab-life photos.

         Her hands starts to shake and she lays down her cell phone
         on the sink. She then takes out a scale from underneath her
         sink and we see a yellow post-it note on it that reads, "I
         AM NOT A NUMBER."

         She looks at it for awhile and without weighing herself,
         she then places it back underneath the sink.

         She opens her medicine cabinet and we see a plethora of
         yellow post-it notes with similar notes ranging from "I AM
         ENOUGH.", "I AM WORTHY.", "I GOT THIS.", "I AM BEAUTIFUL.",
         "REMEMBER WHO YOU ARE."

         Sadie reads the post-it notes aloud to herself, closes her
         eyes and lets out a deep breath. She opens her eyes,
         feeling a bit woozy, and then we ZOOM IN on the bottle of
         pills in the cabinet, it reads, "Anti-anxiety Medication,"
         she takes the bottle from the cabinet, opens it, and then
         pops two pills.

         She then closes the medicine cabinet door and lets out a
         deep breath.

         She looks back herself in the mirror and then attempts a
         feeble smile but fails.

                              SADIE
                         (quietly, to herself in
                         the mirror)
                    "Someone like me..."
                                                                 FADE IN:


         INT. LARD FEMALE INTERROGATION ROOM
         Sadie looks lost deep in thought while still sitting across
         from Detective Myers and Detective Garcia.

                              DETECTIVE MYERS
                    So Sadie, word on the street is
                    that you and Roxy had a pretty big
                    blow-up fight a few days before
                    her disappearance. A few people
                    caught it on video, got a ton of
                    views.

         Sadie snaps back in the present moment.




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                              SADIE
                    It was just a squabble amongst us
                    girls. No biggie.

                              DETECTIVE MYERS
                    What was the fight about?

                              SADIE
                    Umm, Roxy thought that I was
                    crushing on Miles, but obviously,
                    I wasn't, like girl code and all,
                    loyalty within the Squad.

                              DETECTIVE GARCIA
                    But aren't you and Miles dating
                    now?

                              SADIE
                    Yeah, but we only got together
                    after Roxy's disappearance. You
                    know, just consoling each other.

                              DETECTIVE GARCIA
                    Convenient timing.

                              DETECTIVE MYERS
                    Looks like you could use some
                    water. Let's take a break and
                    we'll call you back in a bit.

                              SADIE
                    Why can't I go home now? I didn't
                    do anything.

                              DETECTIVE MYERS
                    You can go home soon, we just have
                    a few more questions.

         Sadie reluctantly nods and pushes her chair back from the
         table and we see blood stains on the table as her palm is
         now bleeding from her pinching it so hard.

         Detective Garcia notices the blood.

                              DETECTIVE GARCIA
                    Did you cut yourself? Your hands
                    are bleeding.

         Sadie looks down at the table to see blood and then at her
         hands to see her palm bleeding. A feeling of shame and
         embarrassment washes over her.
                              SADIE
                    Oh yeah, I must have snagged my
                    hand on something.


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                              DETECTIVE GARCIA
                    Come with me, we'll get your hand
                    disinfected and cleaned up. I'm
                    sure we have some band-aids in our
                    first aid kit.

                              SADIE
                    Thanks, that'd be great.

          Detective Garcia gets up and walks Sadie out of the room.
                                                                   CUT TO:


          INT. LARD PRIVATE INTERROGATION ROOM - MILES

         We see both Detective Myers and Detective Garcia looking
         straight ahead and then we pan to see Miles sitting across
         from them.
                              DETECTIVE GARCIA
                    You're pretty hot stuff Miles.
                    Heard you just got a feature film
                    deal? How did Roxy feel about
                    that?

                              MILES
                    Yeah, it’s pretty dope. First real
                    acting gig, worked my ass off for
                    it.

                              DETECTIVE MYERS
                    You worked your ass off for it?
                    That's a very interesting way to
                    put it.

         Miles grits his teeth.

                              MILES
                    I busted my ass for       that role. I'm
                    even going to do my       own stunts.
                    Just because I'm on       YouTube, that
                    doesn't mean that I       can't act.

                              DETECTIVE GARCIA
                    Never said you couldn't. No need
                    to get so defensive Miles, and
                    your own stunts? That's pretty
                    impressive.

                               MILES
                    Thanks.




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                                                                    25.


                              DETECTIVE MYERS
                    Son, it has nothing to do with
                    YouTube, but I just heard that you
                    only got the role because Roxy
                    slept with the producer. She put
                    out so you could get cast as the
                    leading man. So technically, as
                    the kids say, she worked her ass
                    off for you to get the role.

         Detective Myers grunts at his crass joke as he's trying to
         get a rise out of Miles.
         Miles clenches his fists and talks through gritted teeth.

                              MILES
                    That's not true. I worked my ass
                    off on YouTube for years and I
                    killed it at my audition. I earned
                    that role. I was born to play a
                    young James Bond.

                              DETECTIVE GARCIA
                    Born to play a young James Bond?
                    Well what does the young James
                    Bond know about what happened to
                    Roxy?

                              MILES
                    Honestly, dude. I don't know. And
                    Roxy, would never do that. We were
                    devoted to each other. She's not
                    like those other skanks. I miss
                    her everyday.

                              DETECTIVE GARCIA
                    That’s Detective Garcia, not
                    'dude.'

         Miles straightens up.

                              MILES
                    Right, dude. Sorry, I mean
                    Detective Garcia. Roxy was the
                    love of my life. If I knew what
                    happened to her, I'd tell you. You
                    should be out looking for her
                    right now and not asking me stupid
                    questions about my acting career.

                              DETECTIVE MYERS
                    'Was' the love of your life? Past
                    tense? Do you know something about
                    Roxy that we don't?
                              (MORE)

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                                                                     26.


                              DETECTIVE MYERS (CONT'D)
                    This is still classified as a
                    missing persons case, not a
                    homicide.

         Miles goes pale at the word,     'homicide.1

                               MILES
                    Uh, no. I just mean, I don't know.
                    I didn't mean anything by that.
                    I’m just as scared as everyone
                    else and I'm worried about Roxy.
                    At first I thought she was running
                    away for attention, you know to
                    punish me.

                              DETECTIVE MYERS
                    To punish you?

                              MILES
                    Yeah, we had a fight. That night,
                    but it was over something so
                    stupid. I thought if I just gave
                    her a bit of space, you know? I
                    was going to buy her flowers and a
                    new pair of shoes, but then, she
                    just never came back.

                              DETECTIVE MYERS
                    What was the fight over? And I see
                    you have a bit of a temper on ya,
                    things ever, you know, get
                    physical between you and Roxy?
                    Teach her a lesson?

                              MILES
                    No way, man. Like I said, I miss
                    Roxy everyday, and I would do
                    anything to get her back. She was
                    the best thing that ever happened
                    to me. The stupid fight was over
                    Sadie. She thought that there was
                    something going on with her. That
                    I was cheating on her.

                              DETECTIVE GARCIA
                    Were you? I mean, you two are
                    together now, looks a bit,
                    suspicious.

                              MILES
                    No way. Nothing happened between
                    Sadie and me until after Roxy
                    disappeared.
                              (MORE)


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                                                                     27.


                              MILES (CONT'D)
                    Honestly, I thought it was Roxy
                    just being Roxy... but it's
                    been...

                              DETECTIVE MYERS
                    Three months?

                              MILES
                    Three months. Have you guys found
                    anything out? Are you any closer
                    to finding her? She was, is, the
                    love of my life. Just don't tell
                    Sadie that I said that, ok?

         Detective Myers and Detective Garcia nod. Detective Myers
         then jots something down and Miles looks off in the
         distance.
                                                                FADE OUT:


         INT. MILES L.A. APARTMENT

         The inside of Miles' apartment looks like the
         quintessential bachelor's pad. Hi-tech video game systems
         everywhere, big flat screen TV, beer cans and snacks
         sprawled all over the place, and posters of Victoria
         Secrets models plastered on the wall.

         Roxy is laying across Miles' sofa from head-to-toe with her
         feet in his lap while he plays video games on his massive
         flat screen TV.

                              MILES
                    Bruh-ha! I just whopped this kid's
                    ass in Madden! Take that bruh!!

         Roxy chuckles at him. Miles then picks up the remote and
         changes it to a football game and during the commercial
         break, on-screen we see a commercial promoting Levine
         Public Relations (LPR), that’s owned by EWY LEVINE
         (female, 40's, Caucasian).

         Evvy is L.A.'s most fierce fashion, beauty, and
         entertainment publicist, and she represents both Roxy and
         Sadie. She's talking directly into the camera with her
         super chic Beverly Hills office as the backdrop.
                              EVVY
                    At Levine Public Relations we
                    pride ourselves in being advocates
                    for the "#IAmYou" movement. To the
                    good ole boys, your time is up!
                              (MORE)

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                                                                    28.

                              EVVY (CONT'D)
                    It's time for us women to bond
                    together in a real sisterhood! Let
                    our brains, not our bodies lead us
                    forward!
                         (beat)
                    If your brand is ready to move
                    forward with us, let's discuss how
                    we can best partner with you. Call
                    LPR at 555-125-6734.

         Then we pan back to Roxy and Miles on the couch, watching
         the commercial.

                              MILES
                    Babe, isn't that your publicist?
                    Evvy?

                              ROXY
                    Yeah, it's her. The Dragon Queen.

                              MILES
                    I thought she was getting you
                    really good deals?

                              ROXY
                    She is, but I'm so sick of all of
                    this #IAmYou stuff. Like,
                    sometimes a girls gotta do what a
                    girls gotta do.

                              MILES
                    Don't be so hard on her. Seems
                    like she's really looking out for
                    you girls. Changing the world and
                    stuff.

         Roxy sits up on the couch and turns cold toward him.

                              ROXY
                    I'm officially over talking about
                    Evvy.

                              MILES
                    Babe? What's wrong? I didn't mean
                    to upset you.

                              ROXY
                    Let's just change the subject, ok?

                              MILES
                    Hmm, I think there's other things
                    that we can focus on.




                                   Ex. A-29
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                                                                    29.


         Miles then takes Roxy into his arms and starts to caress
         her. She returns his advances and caresses his hair and
         kisses his forehead, then his cheeks, and then they start
         making out passionately and then they make love. There is a
         genuine connection between them.

         Roxy and Miles are now laying on the couch together and
         caressing each other.

                              MILES (CONT'D)
                    Babe, did I tell you that I booked
                    the movie? This will be huge for
                    my career. Maybe they'll even turn
                    it into a franchise. Can you
                    imagine it? "The Young James Bond:
                    Part 5: Malibu Hunk!"

                              ROXY
                    I'm so proud of you babe! I knew
                    you'd get it, I mean, I definitely
                    put in the work to get you the
                    part...

                              MILES
                    What do you mean that you put in
                    the work?

         Roxy chuckles.

                              ROXY
                    You don't think that you got the
                    job based on your actual talent,
                    do you? I mean come on, Miles.
                    Goofing off on YouTube doesn't
                    exactly make you Leonardo
                    Dicaprio.

                              MILES
                    Babe, of course I did. Like, I did
                    my own stunts in the audition, the
                    director, Paul, and the producer,
                    JC, were floored.

                              ROXY
                    The producer was floored alright.

         Miles gives Roxy a confused look.
                              ROXY (CONT'D)
                    Ugh, Miles don't be so naive.
                    There's no way you would've gotten
                    that part if I hadn't gotten on my
                    knees.

         Miles pushes Roxy off of him.


                                   Ex. A-30
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                                                                    30.


                              MILES
                    So not only did you cheat on me,
                    lied to me, but you don't even
                    actually believe in me. I could
                    have gotten that role on my own.

                              ROXY
                    Look in the mirror, Miles. No you
                    couldn't have.

                              MILES
                    And now, I'll be the laughing
                    stock on-set. "Pretty boy gets
                    part because slutty girlfriend
                    puts out." I can't believe you
                    would do this. I can't believe
                    that you would do this to me - to
                    us.

                              ROXY
                    I thought you'd be happy. I did it
                    for you! I did it for us! I could
                    have asked for a role for myself,
                    but I knew how much this meant to
                    you. This role will put you - us -
                    on the map. It'll take us to the
                    next level. No more of this social
                    media bullshit. We’ll be the next
                    Brad and Angelina.

                              MILES
                    They're divorced.

                             ROXY
                   You know what I mean. Plus, no one
                   will ever find out. I made sure of
                   it.

         Miles is still livid, but intrigued.

                              MILES
                    How do you know it won't get out?
                    Roxy, what did you do?

                             ROXY
                   Let's just say that I made a
                   little home video of my session
                   with JC. If Evvy taught me
                   anything, it's that you always
                   need collateral. Plus, I heard
                   that him and his wife didn't even
                   have a prenup, so all I have to do
                   is send her the video and he'll be
                   ruined. Our secret is safe.



                                   Ex. A-31
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                                                                    31.


                              MILES
                    So now you're a porn star too. I
                    don't know what to think, Roxy.
                    You've made a fool of me, a fool
                    of us. I can't even look at you. I
                    don't even know who you are
                    anymore.

         Roxy pulls out a flash drive from her purse that's laying
         on the coffee table and shows it to Miles.

                              ROXY
                    Come on Miles, grow up. As long as
                    I have this flash drive, our
                    secret is safe. JC would lose
                    millions in a divorce settlement,
                    let alone his career would be
                    over. The press would have a field
                    day with this. Don't worry baby.
                    Who always takes care of you?

         Miles just stares at her, in disbelief as Roxy runs her
         fingers through his hair and is still caressing him.

                              MILES
                    You always take care of me.

                              ROXY
                    That's my Miles, that's my baby.
                    No matter what, we always have
                    each other.

         Roxy and Miles embrace but we see the anger and disgust
         still lingering on Miles' face.

                                                                 FADE TO:


         INT. LAPD PRIVATE INTERROGATION ROOM - MILES

         Miles' eyes are glazed over. Detective Myers and Detective
         Garcia look at him skeptically.

                              DETECTIVE MYERS
                    Ok, thanks Miles. That's all for
                    now.

                              MILES
                    Yeah, like I said, she was the
                    love of my life.

         Miles clenches his fists again.




                                   Ex. A-32
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                                                                    32 .


                              MILES (CONT'D)
                    Is it cool if I head home now?
                    I've got an early call-time
                    tomorrow.

                              DETECTIVE MYERS
                    Not just yet, we have a few more
                    questions for you and your
                    friends.

                              DETECTIVE GARCIA
                    Love of your life, eh? Like we
                    said before, we heard she was
                    banging your producer.

         Miles bangs his fists on the table.

                              MILES
                    Dude! I mean, Detective Garcia, I
                    need to get outta here. So unless,
                    I'm under arrest, I'm out.

                              DETECTIVE MYERS
                    Whoa there son, I see that temper
                    of yours is back. Like I asked
                    before, did Roxy ever see just how
                    mad you can get?

         Miles' eyes grow dark.

                               MILES
                    Lawyer.
                                                                  CUT TO:


         INT. LARD FEMALE HOLDING ROOM

         We see Sadie sitting down, visibly growing more anxious as
         she starts to chew on her perfectly manicured nails and her
         palm is now bandaged.

         Jana is now asleep with her head propped on Penelope's
         shoulder and Laeticia is playing with Penelope’s hair.

                              SADIE
                    I wonder what they're asking
                    Cicely.

                              LAETICIA
                    Well, what did they ask you? I
                    mean, we don't know where Roxy is.




                                   Ex. A-33
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                                                                    33 .


                              SADIE
                    They really didn't ask me too
                    much. But we should keep our
                    answers short, don't give any
                    additional details.

                               PENELOPE
                    I hope she's okay. But I heard
                    about this girl, that once fell
                    down a well and they didn't find
                    her for months and by the time
                    they did, she had turned into a
                    pile of smelly goo. True story, I
                    saw it on E!'s True Life
                    Mysteries.

         Sadie sighs and then rolls her eye.

                              SADIE
                    Shut up Penelope.

                              PENELOPE
                    But we really don't know anything,
                    right?

                              SADIE
                    We just have to stick together.
                    Squad for life.

                              LAETICIA, PENELOPE
                    Squad for life.

                                                                  CUT TO:


         INT. LAPD PRIVATE INTERROGATION ROOM - CICELY

         We see Cicely, stone-faced, sitting across from Detective
         Myers and Detective Garcia.

         Detective Myers is thumbing through his files, pretending
         to look for something important while Detective Garcia
         assumes the role of "good cop."

                              DETECTIVE MYERS
                    Your friend Miles lawyered up.

                              CICELY
                    He's not my friend.

                              DETECTIVE MYERS
                    Isn't he a part of your cool kids
                    clique? I hear he's dating Sadie
                    now.

                                   Ex. A-34
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                                                                    34.


                              CICELY
                    I tolerate him.

                              DETECTIVE GARCIA
                    Yeah, I know how you feel. I used
                    to have to put up with all of the
                    meatheads that my best friend
                    dated in college. You should have
                    seen them. Typical frat guys.

                              CICELY
                    You have no idea.

         Detective Myers, pretending to find some new piece of
         evidence.
                              DETECTIVE MYERS
                    Whoa. Look at this.

         Detective Myers scans the paper.

                               DETECTIVE MYERS (CONT'D)
                    Seems as though there was a dark
                    blue hoodie found at Roxy's
                    apartment.

         Detective Myers shows the paper to Detective Garcia and she
         scans the paper.

                              DETECTIVE GARCIA
                    Do you own a dark blue hoodie,
                    Cicely?

         Cicely uncomfortably shifts in her chair.

                              CICELY
                    I think almost everyone owns a
                    dark blue hoodie.

                              DETECTIVE GARCIA
                    Fair point. But how many have the
                    initials C.G. monogrammed on them?
                    Your last name is Gregory, right?

                              CICELY
                    Yes it is, but I can't speak to
                    that hoodie, because it's not
                    mine.
                              DETECTIVE MYERS
                    Were you at the Roxy's party the
                    night she disappeared? I believe
                    you kids were celebrating Miles
                    booking that action film.

                                   Ex. A-35
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                                                                    35.


                              CICELY
                    Of course I was there, but I
                    barely even saw Roxy.

                              DETECTIVE GARCIA
                    You two weren't friends?

                              CICELY
                    No, not really. She's not really
                    my type of girl.

                              DETECTIVE GARCIA
                    And what's your type of girl?

                              CICELY
                    I don't know. Real, loyal,
                    intelligent. The way... the way
                    Sadie used to be.

                              DETECTIVE GARCIA
                    I sense some resentment there.
                    Were you jealous of how close Roxy
                    and Sadie were? Were you angry
                    that Sadie had moved on and
                    replaced you?

         Cicely jerks in her chair.

                              CICELY
                    Roxy was just using Sadie. As her
                    new pawn in her stupid "Squad."
                    She didn't know Sadie the way I
                    knew her, she didn't care about
                    Sadie the way that I cared about
                    her!

                              DETECTIVE GARCIA
                    She didn't love Sadie the way that
                    you love her?

         This lands hard on Cicely. The tension in the air is thick.

                              CICELY
                         (quietly)
                    Roxy didn't deserve a moment of
                    Sadie's time. Not a single moment.

                                                                FADE OUT:


         INT. SADIE AND CICELY'S NYC APARTMENT

         Sadie is filling two wine glasses with Rose and is now in
         her comfy PJs.


                                   Ex. A-36
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                                                                    36 .

         We PAN the apartment to see photos of Sadie and Cicely at
         brunch, hiking, on vacation, at their high school
         graduation, and photos of them together as children.

         It's clear that they've been friends since childhood and
         it's noticeable in the photos of them as children that
         there's three young girls in all of the photos.

         Sadie takes both glasses to the sofa where Cicely is
         eagerly waiting for her with a bowl full of popcorn and the
         TV humming in the background.

                              CICELY
                    So did you crap your pants when
                    Marnie 'the Madame' said she was
                    sad to lose you?!
                         (beat)
                    Could you imagine if you,
                    perfeet-liftle-Sadie-Williamson
                    actually got fired?

         Cicely snorts and doubles over in laughter at the
         ridiculous thought.

                              SADIE
                    Ha-ha, very funny. Laugh at my
                    pain! I thought for sure Stephane
                    had complained and I was a goner.
                    But can you believe it?! I'm going
                    to be a junior style editor!!

         Sadie and Cicely cheers each other and take a big gulp of
         their Rose.
                              SADIE (CONT'D)
                    So how was your day? Have you
                    hacked your way into some top
                    secret government website on the
                    dark net, yet?

                              CICELY
                    You still have no idea what I do,
                    do you?

         Sadie playfully shrugs.

                              CICELY (CONT'D)
                    I work in I.T., like tech,
                    computers, hacking, and coding.
                    Basically when one of those fancy
                    corporations need anything
                    computer-related fixed, I'm their
                    Gal Friday.




                                   Ex. A-37
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                                                                    37 .

                              SADIE
                    I should totally write a blog post
                    about how to be a bad-ass female
                    hacker! Are you down to be
                    interviewed? Can I follow you
                    around for a day-in-the-life?

         Sadie takes her laptop from the living table and plops it
         on her lap and opens it.

                                                                  ZOOM IN:

         We see on Sadie's laptop her blog, "Sadie Says!" She
         scrolls through her blog and we see photos and posts of
         food, travel, fashion, style tips, and cute animals.

         It's clear that it's a fun, positive, light-hearted, and
         funny blog.

                              CICELY
                    I still say that you start
                    blogging full-time. Did you see
                    how much money Roxy McDonough made
                    last week after posting about some
                    random shampoo that she used? It's
                    insane.

                              SADIE
                    You know who Roxy McDonough is?
                    I'm shocked!

                              CICELY
                    Oh hush. Just because I believe
                    that people should actually have
                    talent in order to be rich and
                    famous, doesn't mean I'm out of
                    touch.

         Sadie laughs and playfully tosses a sofa pillow at Cicely.

                              SADIE
                    I don't know if I have what it
                    takes to really make it as a
                    blogger or a social media
                    influencer. Would brands even want
                    to sponsor me? I don't look like a
                    "Roxy McDonough."

                              CICELY
                    That's the beauty of it! You don't
                    have to look like a cookie-cutter
                    version of everyone else. You can
                    be you, in all of your
                    Sadie-awesomeness and start making
                    bank!




                                   Ex. A-38
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                                                                    38 .

                              SADIE
                    It'd be pretty sweet to work for
                    myself, but climbing my way to the
                    top of the VENEER ladder has
                    always been my dream.

                              CICELY
                    Maybe it's time for a new dream?
                    Plus, who even reads magazines
                    anymore? The future is digital.
                    Hell, 'the now' is digital.
                    Everything is online.

         Sadie takes a moment to let this sink in, but doesn't want
         to reveal that Cicely has a valid point.

         Then Sadie's cell phone beeps and she grabs her phone and
         starts watching an Instagram Live video, intently.

                              CICELY (CONT'D)
                    Who's that? What's up?

                              SADIE
                         (without looking away
                         from her phone)
                    I get alerts whenever Roxy goes
                    live on Instagram.

         Cicely rolls her eyes.

                              CICELY
                    Come on Sadie, this is our time.
                    Put the phone away and let's watch
                    the Housewives, it's my only pop
                    culture guilty pleasure.

         Sadie is immersed in her phone and is no longer actually
         listening to Cicely.

                             SADIE
                   Can you believe Roxy is dating
                   Miles Mason? He's like, my
                   ultimate crush. I think they're
                   going on vacation to Cabo next
                   week. Do you think we could go to
                   Cabo next week?J And like,
                   accidentally bump into them?

                             CICELY
                   I'm serious Sadie, put the stupid
                   phone away. Roxy is so fake. Plus,
                   we're supposed to celebrating your
                   big promotion tonight. Want to
                   order in Thai?




                                   Ex. A-39
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                                                                    39 .

         Sadie is completely ignoring Cicely at this point and is
         watching Roxy's Instagram Live videos.

         Cicely grabs the remote control and turns up the volume of
         the television to an uncomfortably high volume.

         Sadie stands up, annoyed.

                              SADIE
                    Geez, now I can't hear Roxy!

         Sadie walks into her room and slams her door to watch Roxy
         Instagram Live videos in peace.

         Cicely turns off the television, defeated.

                              CICELY
                    Happy promotion day to you too.

                                                                 FADE IN:


         INT. LAPD PRIVATE INTERROGATION ROOM - CICELY

         Cicely is now back to being stone-faced, sitting cross from
         Detective Myers and Detective Garcia.

                              DETECTIVE MYERS
                    So you and Sadie used to be
                    roommates back in New York City,
                    right?

                              CICELY
                    Yeah, we grew up together in
                    Upstate New York and after college
                    we moved in together.

                              DETECTIVE MYERS
                    Thick as thieves I assume?
                              CICELY
                    You could call it that.

                              DETECTIVE MYERS
                    Mmmhmm, well, I think we're gonna
                    need you to bring in your dark
                    blue hoodie. You know, just to
                    rule you out.

                              CICELY
                    Rule me out of what? I thought
                    Roxy was just missing?

         Detective Myers and Detective Garcia exchange glances.




                                   Ex. A-40
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                                                                     40 .

                              DETECTIVE GARCIA
                    Well, we found something. And you
                    and your cool kids crew aren't
                    going anywhere just yet.

                              CICELY
                    What did you find? I already told
                    you, that hoodie wasn't mine.

          Silence from Detective Myers and Detective Garcia.

                              CICELY (CONT'D)
                    Her body? Did you find her body?

                              DETECTIVE MYERS
                    That's classified information.
                    Later on we'll have a uniform
                    escort you back to your place so
                    you can pick up your hoodie and
                    bring it back here, just to make
                    sure the one that we found isn't
                    yours.

         Cicely starts to sweat and squirm.

                              CICELY
                    I think I'm going to need a
                    lawyer.

         Detective Myers grunts.

                              DETECTIVE MYERS
                    Just as I thought, just like your
                    friend Miles.

                              CICELY
                    He's not my friend.
                                                                   CUT TO:


         INT. LAPD DETECTIVE MYERS OFFICE

         Detective Myers is sitting at his desk with a fresh cup of
         coffee. Him and Detective Garcia are going over papers,
         photos, and files for the case.

         Next to his desk is a large board with photos of everyone
         with arrows on how they are all connected to each other.

                              DETECTIVE GARCIA
                    The kids are still in the holding
                    cells. How long can we keep them?




                                   Ex. A-41
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                                                                     41.


                              DETECTIVE MYERS
                    For as long as we need, or until
                    they all lawyer up. Anyway, so
                    what are ya thinking? The missing
                    girl is definitely dead.

                              DETECTIVE GARCIA
                    I'd feel a lot more comfortable if
                    we had an actual body. Cicely will
                    figure out that we were just
                    testing her soon enough. As of
                    now, all we have is that this
                    social media starlet hasn't been
                    seen or heard from in the last
                    three months after throwing a
                    blowout party for her YouTube star
                    boyfriend and a bloody hoodie. I
                    have to hand it to them, for a
                    bunch of party kids, they sure
                    aren't talking.

                               DETECTIVE MYERS
                    It' s not a standard kidnapping
                    case or else there'd been a ransom
                    asked for by now.

                              DETECTIVE GARCIA
                    Have we heard anything from the
                    missing girl's family?

                              DETECTIVE MYERS
                    They are holed up at the Sunset
                    Hotel until there's a break in the
                    case. Prior to that they'd been
                    island-hopping, so they aren't
                    suspects.

                              DETECTIVE GARCIA
                    They must be worried sick though,
                    their golden girl is missing.

                              DETECTIVE MYERS
                    Golden, eh? From what I hear, Ms.
                    McDonough had quite the mean
                    streak. You know, "Queen Bee" and
                    all.
                              DETECTIV. GARCIA
                    I definitely do. Back in high
                    school, our Queen Bee was called
                    Betsy Kirby. She made my life a
                    living hell but I would have done
                    anything to impress her.
                               (MORE)


                                   Ex. A-42
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                                                                     42 .


                              DETECTIVE GARCIA (CONT'D)
                    To be accepted into her coveted
                    cool girls group. The only saving
                    grace was that we didn't have
                    social media back then. Every
                    moment of my awkward years weren't
                    publicly documented the way they
                    are today. Must be unbearable with
                    the cyber bullying.

                              DETECTIVE MYERS
                    True. Which is brings me to the
                    question, where is Roxy's phone?
                    Her social media trail goes cold
                    at 11:37pm the night of her
                    disappearance. If we could find
                    it, we would be able to piece
                    together more of what happened to
                    her, who took her, and where she
                    might be right now. Or at least,
                    where her body might be right now.

                              DETECTIVE GARCIA
                    That's what been bothering me. No
                    phone, no body, and her friends
                    almost seem as though that they
                    could care less that she's gone.
                    Would you be out partying if your
                    best friend was missing?

                              DETECTIVE MYERS
                    Let's bring back that Sadie into
                    questioning. She had the most to
                    gain with Roxy's disappearance.

                              DETECTIVE GARCIA
                    But you know who else had a lot to
                    gain from Roxy's disappearance?

                               DETECTIVE MYERS
                    Who?
         Detective Garcia gets up from the desk and walks up to the
         large board.
                              DETECTIVE GARCIA
                    Ever since Roxy disappeared, her
                    social media accounts have blown
                    up, all of her beauty and fashion
                    brand deals have flown off the
                    shelves. She's worth more now than
                    she ever was before.

         Detective Myers nods.




                                   Ex. A-43
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                                                                     43.

          Detective Garcia points at the photo of Evvy.
                               DETECTIVE GARCIA (CONT'D)
                     And this is Evvy Levine. She's
                     both Roxy's and Sadie's publicist.

                               DETECTIVE MYERS
                     Could there have been some sort of
                     conflict of interest? Representing
                     both girls?

                               DETECTIVE GARCIA
                     I'll have the guys look into it,
                     but she's one of the hardest
                     hitting publicists in L.A., and
                     now she's getting 100% of the
                     sales money from Roxy's
                     endorsement deals. With the press
                     and social media coverage of Roxy
                     disappearance, she's cashing in.

                              DETECTIVE MYERS
                    But why would she hurt Roxy? Sure
                    the extra cash flow is nice for
                    now, but the buzz will fade on the
                    missing girl eventually and then
                    she's out of her cash cow.

                              DETECTIVE GARCIA
                    Who knows? Maybe things were going
                    south with the social media
                    Princess. Maybe, she was looking
                    for new representation.

                              DETECTIVE MYERS
                    Let's get Evvy down here too.

                                 DETECTIVE GARCIA
                    I'm on it.

                                                                   CUT TO:


          INT. INSIDE LAPD OFFICES

         We see Sadie walking with Detective Garcia towards her
         private interrogation room, and then we see Sadie visibly
         notice Evvy walking past her on the opposite side of the
         room being guided by Detective Myers.

         In slow motion, they make eye contact and Evvy puts her
         index up over her lips to make the, "Shh," sign. Sadie nods
         and then smirks and then looks straight ahead while being
         led into her private interrogation room.




                                     Ex. A-44
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                                                                     44 .

                                                                   CUT TO:


          INT. LAPD PRIVATE INTERROGATION ROOM - EVVY

          Evvy is sitting across from the detectives as if she's the
          one giving the interview.

                               EVVY
                     Where exactly are you on the case?
                     What progress have you made? Who
                     are your top suspects? And when,
                     exactly, can I leave?

          Detective Myers and Detective Garcia exchange, "Here we
          go," looks.

                              DETECTIVE MYERS
                    We're the ones who ask the
                    questions around here, Ms. Levine.

          Evvy smiles tersely.

                              EVVY
                    Then go on. Let's do this. What do
                    you want to know?

                              DETECTIVE MYERS
                    So, I see that you're Roxy's
                    publicist? What exactly does that
                    entail?

          Evvy looks a bit annoyed and then her eyes trail off.

                                                                 FADE OUT:


          EXT. OUTSIDE OF THE LEVINE PUBLIC RELATIONS (LPR) OFFICES -
          LOS ANGELES, CA - DAY

         We pan down the luxurious streets of Beverly Hills with
         BEAUTIFUL PEOPLE shopping, eating at cafes, and strolling
         down the street.

         We pan up to see a beautiful L.A. skyline littered with
         palm trees and designer buildings.

         We then land on the exquisite LPR building, Levine Public
         Relations, clearly in a very posh area of Beverly Hills.

                                                                   CUT TO:




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                                                                     45 .

          INT. LPR BUILDING - EWY' S OFFICE

          We pan a long boardroom table with strategically placed
          white flowers, modern art on the walls, and a sleek
          interior decor, to land at Evvy standing in front of a
          board full of head shots.

          She's dressed smartly and is with two her ASSISTANTS,
          KAITLYN, (female, 20's, Caucasian, with thick striking red
          hair), also known as Kaitlyn with a 'K,' and CAITLYN,
          (female, 20 's, open ethnicity), also known as Caitlyn with
          a 'C. '
         We pan to see the distinction written on their monogrammed
         phone cases that are placed next to their laptops as they
         sit across from each other at the boardroom table while
         clicking away at their laptops and taking notes.

                              EVVY
                    Kaitlyn and Caitlyn, who's our top
                    candidates for our 'Butterfly
                    Project?'

         Evvy points to a photo of BECCA JOHNSON, (female, 20's,
         open ethnicity), face is caked with make-up and contour.

                              KAITLYN
                    We have Becca Johnson. She's huge
                    in the beauty and make-up tutorial
                    space. But she's already very
                    plastic-y. Have you seen her in
                    person? I wanted to light a match
                    near her face and see what
                    happens.

         Kaitlyn and Caitlyn cackle in unison.

                              CAITLYN
                    Don't be crass, Kaitlyn.

                              KAITLYN
                    Whatever, Caitlyn.

         Evvy then points to AMANDA CLARKE, (female, 30's,
         Caucasian), blonde, thin, cheesy grin, and looks like the
         perfect and cookie cutter "Mommy Blogger."

                              KAITLYN (CONT'D)
                    We also have Amanda Clarke. She
                    runs marathons and is a complete
                    health nut. Her video on how to
                    trick your hubby into eating all
                    vegan during the Super Bowl went
                    viral within 24 hours of posting.




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          Evvy then points to the photo of POPPY P, (female, 20's,
          mixed ethnicity), crunchy, granola, quintessential hipster
          millennial.

                               EVVY
                     And who's this?

                               CAITLYN
                     That's Poppy P. Her thrift store
                     finds turned into red carpet looks
                     is all of the rage on YouTube.
                     Could be interesting to see what
                     we would do with her.

                               EVVY
                     No, no, no. None of these girls
                     work. They're all so... basic, in
                     the most boringly predictable way.
                     We need a girl that's just below
                     the radar. We need a girl that no
                     one will see coming.

          Evvy scans the board of head shots and lands on Sadie's
          smiling, innocent face, and points at her headshot.

                               EVVY (CONT'D)
                     Hmm, and who's this girl? I don't
                     remember adding her to this list.

          Kaitlyn scans her iPad for her notes.

                              KAITLYN
                    That's Sadie Williamson of, "Sadie
                    Says!" She blogs about being a
                    lowly fashion assistant at VENEER,
                    her obsession with cheese, her DIY
                    mood boards, and her homely
                    looking bestie, a girl named
                    Cicely Gregory.

                              EVVY
                    She's a fashion assistant at
                    VENEER? Who's assistant?

                              CAITLYN
                    Hmm, looks like she's Marnie
                    Gustav's assistant.

          Kaitlyn and Caitlyn exchange knowing looks.

                              EVVY
                    Mamie's? How delightful. I still
                    wonder how that old cow keeps a
                    job.
                              (MORE)


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                              EVVY (CONT'D)
                         (beat)
                    What do you ladies think?

                               CAITLYN
                     She's actually really funny, and
                     shockingly, a really good writer.

                              KAITLYN
                    She's cute.

                              CAITLYN
                    She's quirky.

                              EVVY
                    She's perfect.

          Evvy devilishly grins from ear-to-ear. Then we hear both
          Kaitlyn and Caitlyn's phones buzzing. They each look down
          at their phones.
                              KAITLYN, CAITLYN
                    It's time for our Reformation
                    shoot with Roxy.

                              EVVY
                    Fine. Let's pick this up tomorrow,
                    girls. But I we need that girl
                    here soon in order for this plan
                    to work. And it has to work.
                                                                   CUT TO:


         EXT. MELROSE AVE., LOS ANGELES, PAUL FRANK PINK WALL

         Roxy, Jana, Penelope, Laeticia, Miles, a PHOTOGRAPHER,
         (male, 20's, open ethnicity), and his ASSISTANT, (female,
         20's, open ethnicity), are all doing a fashion shoot for
         Roxy's Instagram page in front of the Insta-famous Paul
         Frank Pink Wall.

         They are doting on a demanding Roxy who's wearing a tiny,
         bright cherry red bikini, gold heels, oversized shades, and
         a floppy hat with a full-length fur jacket in 80 degree
         L.A. weather, while holding an iced coffee from Starbucks.

         We then see Evvy, Kaityln, and Caitlyn approach the group.

                              ROXY
                    Evvy! Do you think this is my best
                    angle for Instagram?




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          Roxy awkwardly switches from her left-side to her
          right-side and back again. We notice that she has a pimple
          on her chin.
                                EVVY
                     All sides are your best side,
                     dear.
                           (beat)
                     But I'll have to clean up that zit
                     in photoshop. We need you to be
                     flawless for your adoring fans.

          Evvy looks Roxy up and down.

                              EVVY (CONT'D)
                    Maybe lay-off the carbs? I heard
                    they cause break-outs.

                              ROXY
                    You're too good to me.

                              EVVY
                    Other than that, looking good
                    Roxy, but we need your Instagram
                    engagement up if we're going to
                    land that Fendi campaign.

                              ROXY
                    What else can I do, though? I've
                    been posting my ass off. I've
                    dropped 20 pounds since last year,
                    I got lip fillers, Botox, and the
                    Brazilian butt-lift.

          Roxy points to Miles who's goofing off with the other
          girls .

                              ROXY (CONT'D)
                    And, I started dating... that.

                               EVVY
                    Please dear. We all know that
                    you're actually in love him. I
                    know I made you date because of
                    his YouTube stardom and we used
                    him to get you his followers, but
                    admit it, you feel for the idiot.
                          (beat)
                    Anyway, maybe a pregnancy scare to
                    drum up drama? Or perhaps a
                    wedding proposal? The weirdos that
                    follow you will eat that up.




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                              ROXY
                    Miles is up for a role in that new
                    Young James Bond movie. Maybe that
                    could help?
                              EVVY
                    Well then we should make sure that
                    he gets it, shouldn't we?

                              ROXY
                    I don't know. He can't act to save
                    his life. And there's this other
                    YouTuber, Shawn Davies, who has
                    like a million more followers than
                    him that's also up for the role.

                              EVVY
                    Who's the director?

                              ROXY
                    Some guy named Paul.

                              EVVY
                    And the producer?

                              ROXY
                    Some guy named JC.

                              EVVY
                    Good, we can use this to our
                    advantage. JC, the producer of the
                    film, and I go way back, he's an
                    old friend. I could set-up a
                    meeting with him.

         Roxy breathes a sigh of relief.

                              ROXY
                    That would be wonderful! I know
                    Miles would die to meet him.

                              EVVY
                    Oh no dear. The meeting wouldn't
                    be with Miles.

                              ROXY
                    Then who would the meeting be
                    with?

                              EVVY
                    With you, of course.

                              ROXY
                    With me? Why me?




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                                                                    50.


                                EVVY
                      Don't be so naive, Roxy. How
                      exactly do you think anything gets
                      done in this town? How deals are
                      really made? How stars are
                      actually born? They are born out
                      of blood, guts, and tears. It's
                      time decide exactly how far you're
                      willing to go to make your dreams
                      a reality. Because trust me, sweet
                      little girl, the next girl is
                      definitely ready, willing, and
                      able.

         Roxy looks like the wind has been knocked out of her.

                                EVVY (CONT'D)
                      So which is it? Have I been
                      wasting my time grooming you all
                      of these years? Or are you ready
                      to take your career to the next
                      level?

         Roxy takes a beat to think this through, we see in her eyes
         that she makes the decision to do it, and starts to cry.

                                ROXY
                      Do I have to... do I have to
                      actually sleep with him?
                                EVVY
                      Sleep with him. Suck him off. Let
                      him pee on you. Whatever it takes
                      to get the job done. A movie for
                      your man and a Fendi campaign for
                      you.

         Beat.
                                EVVY (CONT'D)
                      Are you in or out? Because I could
                      as easily drop your scrawny little
                      ass back to the God-forsaken farm
                      town in Utah that I took you from.

         Roxy is still crying.

                                ROXY
                      Just let me know where I need to
                      be and when.

         Evvy nods.




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                                                                    51.


                              EVVY
                    Consider it done. Now, wipe your
                    tears and get back on-set, you're
                    wasting good sunlight.

         Evvy turns and walks away and starts texting on her phone.
         Roxy wipes away her tears, straightens herself out, and
         then turns and smiles and waves at an adoring Miles.

                                                                 FADE IN:


         INT. LARD PRIVATE INTERROGATION ROOM - EVVY

         Evvy blinks and her attention comes back to the room.
         Detective Myers and Detective Garcia stare at her.

                              EVVY
                    It's the usual. I just look after
                    my girls and negotiate their
                    deals. I really consider myself a
                    "Momma Bear."

                              DETECTIVE MYERS
                    "Momma Bear," eh? We heard that
                    Roxy was going to drop you. That
                    there was some unresolved friction
                    behind-the-scenes.

                              DETECTIVE GARCIA
                    Where were you on the night of her
                    disappearance? Did you go to the
                    party?

                              EVVY
                    Me? Partying with a bunch of 20
                    year olds? I couldn't think of
                    anything more loathsome. I'm sure
                    Roxy is off in Ibiza and this is
                    some huge misunderstanding. Now,
                    if you're done with your silly
                    little questions. I really must be
                    going.

         At that moment, in walks a YOUNG UNIFORMED OFFICER, (female
         30's, open ethnicity), and she passes Detective Myers a
         piece of folded paper and then slips back out of the door.

         Detective Myers then unfolds the paper, reads it, shifts
         uncomfortably in his chair, and then hands Detective Garcia
         the paper to read. Detective Garcia almost gasps after
         reading the paper but is able to maintain her composure.




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                              DETECTIVE MYERS
                    I think you're going to need to
                    make yourself comfortable, Ms.
                    Levine. We just got some, umm,
                    very disturbing news.

                              EVVY
                    Is it Roxy? Did you guys finally
                    do your job and find her? Is she
                    safe?

                              DETECTIVE MYERS
                    Ms. Levine, do you happen to own a
                    Black Range Rover?

         Detective Myers and Detective Garcia exchange looks.

                                                                  CUT TO:


         EXT. RUNYON CANYON - NIGHT
         We see an abandoned, crashed Black Range Rover deep in the
         woods of Runyon Canyon and it's taped off with police tape
         with UNIFORMED POLICE OFFICERS patrolling the area with
         flash lights and police dogs.

         A UNIFORMED OFFICER, (male, 20's, open ethnicity), opens
         the trunk of the SUV and we see the lifeless arm hang out
         of its trunk as it's attached to the cold, dead BODY of a
         young girl, and then we see her long, thick, strikingly red
         hair, flow and dangle from her lifeless head. We then see
         the initial "K" monogrammed on her Ralph Lauren shirt.

                                                                  CUT TO:


         INT. PRIVATE INTERROGATION ROOM - EVVY

         Detective Myers and Detective Garcia are still sitting
         across from a confused Evvy.

                              EVVY
                    Yes I do own a Black Ranger Roger,
                    so what? Where is she? Can I talk
                    to Roxy? Can I see her?
                              DETECTIVE MYERS
                    It wasn't Roxy that we found.
                              EVVY
                    Found? What do you mean found?


                                   Ex. A-53
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                              DETECTIVE GARCIA
                    We found the body of one Kaitlyn
                    Moss, stuffed in the trunk of a
                    crashed up Black Ranger Rover up
                    in the hills of Runyon Canyon.

                              DETECTIVE MYERS
                    We ran the plates, and apparently,
                    the vehicle is registered to you.

         Evvy is in disbelief.

                              EVVY
                    What do you mean you found
                    Kaitlyn? Is this some sort of sick
                    joke? She works for me, of course
                    she has access to my car, but this
                    just can't be true.

         Silence. Evvy grows increasingly desperate.

                              EVVY (CONT'D)
                    Tell me you're lying. Tell me
                    right now that you're lying. It
                    can't be Kaitlyn. It's not
                    supposed to be Kaitlyn, it can't
                    be Kaitlyn!

         The uniformed officer from before re-enters and passes
         Detective Myers a file full of photos and then leaves the
         room again.

         Detective Myers and Detective Garcia review the photos.

                              DETECTIVE MYERS
                    We have photos, Ms. Levine. Are
                    you prepared to view them?

         Evvy can barely breathe and is in genuine shock.

                              EVVY
                    Are you sure it was her? Are you
                    sure it was my Kaitlyn?

                              DETECTIVE GARCIA
                    "Your" Kaitlyn?

         Detective Myers and Detective Garcia exchanged worried
         glances.
                              EVVY
                    Show me the God-damn photos.



                                   Ex. A-54
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                                                                    54.

         Detective Myers opens the files and then sprawls out the
         photos of the crime scene, the crashed up black Range
         Rover, and of Kaitlyn's lifeless body.

         Evvy begins to shake as she reviews the crime scene photos.

                              DETECTIVE MYERS
                   We know that any death, can be
                   unsettling, but according to our
                   records, wasn't she just your
                   assistant?

         Evvy starts to sob uncontrollably.

                             EVVY
                   She wasn't just my assistant, you
                   stupid cunts. She was my daughter!


         FADE IN: WE SEE "WELCOME TO L.A. B*TCHES" FLASH ON THE
         SCREEN




                                   Ex. A-55
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    IMPACT 3 - JMAGINELhttps.7/iipp|y,imagine-imp.acLcO

    PROJECT SUMMARY
    Which of these formats is your project?
    TV - Hour Long

    If TV, is your project an ongoing series, mini-series, anthology?
    Ongoing Series

    If TV, is your project a single-cam or multi-cam?
    Multi-cam

    Is your project live action, fully animated or live-action hybrid?
    Live action

    What is your project's primary genre?
    Drama

    What is your project's secondary genre?
    Crime

    What is your project's title?
    #SquadGoals

    What is your project's 1-sentence logline?
    The filters and facades of the most sought-after social media influencers begin to fade as one of
    their own goes missing.

    Please summarize your project in 4-5 sentences. What's the elevator pitch?
    In a world full of fake followers, photoshop, and sponsored posts, how do you know who to
    trust? When sweet and naive Sadie Williamson moves to L.A. to pursue her dreams of fame
    and fortune as a social media influencer, she quickly realizes that she needs a tougher skin if
    she’s going to survive being the butt of the “It Girl” jokes. But everything turns dark and deadly
    when the nastiest one of them all, Roxy McDonough, suddenly goes missing and everyone’s
    fake facades begin to fade.

    If you've already started working on this project, how long have you been working on it?
    What was the inspiration for the idea?
    I’ve been working on the project for the past two years. The inspiration for the project is a
    compilation of my own personal experiences as a social media influencer of color and the
    obstacles that I’ve faced entering a world that is both extremely empowering yet challenging.
    I’ve also been influenced by the stigmas and preconceived notions of what it means to be a
                                                 Ex. A-56
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    social media influencer and it’s my intention to peel the mask off to reveal what’s it really like
    competing in the ever-changing landscape of Insta-stardom.

    Please indicate the materials you currently have for your project (Select all that apply)
       • I've started researching my idea
       • I’ve written a script treatment
       • I’ve written a pilot or feature script draft
       • I've written a one-pager

    Has your project been exposed to any other producers/buyers/talent in the industry,
    including competitions?
    Yes

    If yes, who has the project been exposed to, when did you expose it to them, and what
    was their reply?
    Lena Waithe, Emmy-award winning writer, producer, and actor, in 2018, I submitted my script to
    her table reading program but at the time the program was on hiatus due to her schedule. But I
    have performed extensive script coverage for her and she was extremely complimentary of the
    coverage and writing skills that I provided.

    Chris Bythewood, Head Of TV Development at Confluential Films, August of 2018, and his reply
    was that my idea, treatment deck, and pilot script had true potential and but I needed to
    strengthen my characters and objectives in the next version of my script.

    Brian Metcalf, Producer, Black Jelly Beans Productions, March of 2018, and his response was
    that he wanted to work with me on the development of the TV series and believed in the viability
    of successfully selling my idea and the series.

    Severiano Canales, TV Writer for “Scandal” and Shondaland, August of 2018, and he provided
    me with great insights on how to strengthen my characters and their objectives. He also
    believed in my idea and felt that my first draft was an impressive start to creating the series.

    Has your project changed since those responses? If yes, how?
    Yes, I've written a fourth version of the initial script with stronger characters and objectives.
    Additionally, I changed the names of a few key characters.

    Are there any people or companies already attached to your project? If yes, who and in
    what capacity?
    No.

    PROJECT DETAILS
    Tell us about your lead character(s) and what their arc(s) may be.
    Sadie Williamson, 20’s, diverse female, intelligent, witty, socially awkward
                                             Ex. A-57
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    Having grown up in a sleepy town in Upstate New York, Sadie would read magazines and
    watch TV shows about models, movie starlets, and the Hollywood elite, and would daydream
    about what it would be like to be one of them. But since Sadie suffers from a social anxiety
    disorder and extreme low self-esteem, she never believed that she was worthy of the limelight
    herself, so she settled for working forthem and rose up the ranks as a fashion assistant at one
    of the most cut-throat magazines in New York City.

    But underneath Sadie’s sweet, naive, and unassuming personality, lies a butterfly waiting to
    hatch out of its cocoon which led her to start her blog, “Sadie Says!” as a safe way to share her
    vision with the world. As Sadie is enticed with finally becoming a starlet herself by Evvy Levine,
    a top entertainment publicist, she is faced with leaving the world she knows in New York City
    behind and moving to L.A. to finally break out of her shell. But even her resiliency and ambition
    couldn’t have prepared her for the culture shock that is the Young Hollywood scene in L.A.

    But no journey is complete without detours and bumps in the road. Once in L.A., Sadie
    succumbs to the societal pressures to fit into the cookie cutter mold of an “It Girl” social media
    influencer and quickly morphs into a version of herself that’s barely recognizable from losing
    weight, doing contouring and fillers, becoming a mean girl herself, to the way she dresses,
    styles her hair, and wears her make-up.

    The question is will Sadie be able to evolve into the confident, strong woman that she was born
    to be without iosing her sense of self in a world that’s constantly telling her that who she is at
    her core, is fundamentally not enough? Sadie must come to terms with finding worthiness
    through her intrinsic value and knowing that she is deserving of love and success without selling
    out, but she must first learn to love herself.

    What kinds of obstacles do you see your characters having to overcome in order to
    complete their journey or get what they want?
    For Sadie to evolve in a healthy way and achieve sustainable success and stardom, she must
    seriously look at the root cause of her social anxiety and do the work to overcome her disorder.
    She must also be willing to be unpopular and not a part of the “squad” so she can find her
    unique voice and stand as her own person.

    Sadie’s also faced with countless betrayals by her publicist, her best friend, her crush, and
    Roxy, so she must find her inner strength to persevere through setbacks, heartbreak, and being
    unsure of herself without compromising her moral compass, and more importantly, she must
    learn to forgive herself when she does ultimately falter and fail. Sadie must learn to embrace her
    own humanity and imperfections, because if she doesn’t, the line between reality and her online
    persona will begin to blur beyond recognition.

   Additionally, since Roxy is the one person that stands between her and becoming the Queen
   Bee of the squad, Sadie must decide how far she’s willing to go for fame and to what measures

                                                 Ex. A-58
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    she’s willing to take in order to bring Roxy down because once that line is crossed, there’s no
    going back for Sadie.

    What is unique about your character and why do you think audiences will emotionally
    invest in their journey?
    Sadie’s unique because a character like her has never been seen on television before. She’s a
    diverse female social media influencer that has a complicated past, is battling a mental health
    issue, and yet is still extremely personable, ambitious, and accomplished.

    Although she is a minority, and of course her race is important, it’s not paramount, but rather it’s
    a guiding factor during her experience, because Sadie’s story is a human story and we can all
    see ourselves reflected in her journey.

    The emotional investment in Sadie’s journey is rooted in the aspect of the human condition that
    drives us to create community. It is our inherent need to have a sense of belonging, which is
    why social media is such a powerful tool that can be used to create a constructive online
    community (eg. online support groups) or a destructive online community (eg. online trolls.)

    We would tune in to see how far Sadie is willing to go to fit in and claim her sense of belonging
    and whether or not she uses her online platform for good or for evil. Watching Sadie’s moral
    demise is a powerful reason to tune in week after week, since we are faced with a similar daily
    decision on our own social media channels. We’re faced with whether to leave nasty comments,
    block and unfollow, and sending screenshots to our friends so we can gossip about someone
    behind their backs. Our own moral compasses are tested on a daily basis and watching that
    play out on a grander scale on television would be intoxicating.

    It’s also interesting to see the dynamics and the hierarchy within the social media influencer
    cliques and how the inner dynamics within their squads work. We would see ourselves in
    wanting to give the illusion of carefree lives online and our own personal journeys of striving to
    present the perfect online persona for our friends, family, and followers, and yet revel in the
    behind-the-scenes chaos of what it actually takes to create those picture-perfect-photos. We
    can relate to this because whether it’s at school, at our jobs, in our social circles, in our
    neighborhoods, in sports, or in our hobbies, we’re all seeking to feel as if we belong to
    something greater than ourselves and that we have a rightful place in our given “squads.”

    Who or what is the antagonist in your story, and what do they want?
    Evvy Levine, 40’s, female, determined, cut-throat, assertive
    Evvy is one of the fiercest entertainment publicists in Los Angeles and she’s gone through hell
    and back to maintain her status. She sees the potential in Sadie to take her career to the top,
    and has no qualms with exploiting her innocence, as it wouldn’t be the first time that she’s
    crossed moral lines.



                                                 Ex. A-59
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    Behind-the-scenes, Evvy is secretly doing an expose on how easy it is to exploit social media
    influencers into selling out for a paycheck and conforming to conventional beauty standards,
    with Sadie unknowingly being her guinea pig. If she’s able to successfully manipulate Sadie into
    conforming into your stereotypical standard of beauty then she’ll land one of the biggest beauty
    contracts in the history of social media influencer marketing and effectively will ruin Sadie’s
    career.

    But behind Evvy’s tough exterior lies a vulnerable woman that is threatened by the digital-savvy
    millennial publicists vying to take her position on the L.A. scene. Evvy’s back is up against the
    wall and must prove her relevance and ensure that Sadie rises to the top because her career
    and reputation are on the line. For Evvy to redeem herself, she must tell Sadie the truth about
    the expose, which would mean admitting to herself and to others, that she’s scared of losing her
    position and admitting fear is the hardest thing for her to do. It would also mean her coming to
    terms with the fact that she doesn’t know who she is outside of her job.

    She’s also dealing with demons from the past in the shape of coming to terms with her own
    #MeToo sexual assault, being a faciliator for the ongoing cycle of silence and exploitation within
    the entertainment industry, and hiding a secret daughter that no one knows about because she
    chose her career over being a mother. The question is will Evvy ever face her own insecurities
    before she destroys another young girl’s life and whether or not she can be redeemed for the
    damage that she’s already done.

    What is the world/setting of your story and what is unique about it?
    The series itself takes place in real-life, present day Los Angeles, CA with intermittent
    flashbacks to New York City, and focuses on the lives of the fabulous “Insta-Famous” social
    media influencers and the demise of their photoshopped lives when one of their own goes
    missing.

    The world of social media influencers is still a mystery to most, so seeing how Sadie and her
    squad build their brands online, make their money, and climb to fame through their Instagram
    accounts, is a provocative premise that would hook an audience that’s already obsessed with
    social media and social media influencers.

    The majority of us are constantly scrolling on our phones and through our Instagram feeds,
    coveting the lives of social media influencers that are getting paid to party on yachts, promote
    flat tummy tea, style fancy clothes, give make-up tutorials, and travel the world on a brand’s
    dime. We’re constantly comparing our lives to the lives of the perfectly curated and
    photoshopped pictures of the social media elite, so translating that desire to be a part of the
    elusive social media influencer world to the television scene would be equally addictive.

    If your project is for television, what is the engine of your show? How will it sustain itself
    for multiple episodes or seasons?




                                                Ex. A-60
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    Beyond Sadie’s journey and the social media hook, there’s also the burning question of, “What
    happened to Roxy?" The pilot is explosive with Roxy going missing and the entire squad all
    getting detained for questioning in her disappearance. During the interrogations, we see all of
    their fake facades starting to fade and the pain, suffering, and sacrifice behind their filtered
    posts starting to show.

    Throughout the series, we’re able to humanize social media influencers and truly create an
    authentic connection with the audience. We do this by having each character hiding a dark
    secret that slowly gets unraveled throughout the series and each one having his/her own motive
    for wanting to get even with Roxy. Their personal journeys range coming out of the closet with
    their sexuality, the real truth behind their #MeToo sexual encounters, the pressures they face to
    be perfect, eating disorders, illicit affairs, lying, cheating, and ultimate betrayals.

    There’s also the murder mystery of “Who killed Kaitlyn?” At the end of the pilot, we find the dead
    body of Kaitlyn, one of Evvy's PR assistants, who also happens to be Evvy’s illegitimate
    daughter, a secret that Evvy was keeping from everyone due to her own shame on how Kaitlyn
    came to be and her choosing her career over motherhood.

    Kaitlyn’s death and maternal lineage is a twist that no one saw coming and adds a deeper layer
    of murder, mystery, and mayhem to the elucid lives of these social media influencers. The
    series will explore the motive behind Kaitlyn’s untimely death and what secrets are revealed
    through her demise and it proves that no one in safe behind their filters and begs the question,
    “Who’s next to go?” Now everyone is a suspect, with Sadie at the center of it all.

    Which films or TV shows are most similar to your project tonally?
    Heathers, Gossip Girl, Dynasty

    Which films or TV shows are most similar to your project in terms of story? What classic
    elements does it share with those? What differs in your project to make it fresh?
    Pretty Little Liars, How to Get Away with Murder, You, Riverdale

    The classic element of the show is that it’s centered around a murder mystery and discovering
    who commited the murder, when they did it, how they did it, why they did it, and what is the
    consequence of them doing it. The story also shares the element of following the lives of a
    group of a niche and coveted community of society.

    However, my story is fresh and new because it follows a group of social media influencers, with
    a diverse female lead with a complex personality. It also explores the #MeToo movement from
    multiple perspectives, shares LGBTQ youth stories, destigmatizes mental health issues from
    anxiety to depression, reveals the truth about being a social media influencer, shows what's it
    like to be a male social media influencer, and simultaneously follows the journey of a young
    woman coming of age juxtapositioned to a middle-aged woman coming to terms with having to
    redefine herself later in life and how their lives have become intertwined.


                                                Ex. A-61
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    Which of these audiences do you think would watch your show or film? (Please select all
    that apply)
        • Girls 13-17
        • Women 18-34
        • Women 35-54
       • Boys 13-17
       • Men 18-34
       • Men 35-54

    Describe the audience of your project in more detail. Who are the people who are going
    to watch your show or movie and why will they watch it?
    The target audience is between 13-40 years old. This may seem like a wide range, but the core
    audience will fall within these parameters across all genders and races, since the series will
    have diverse, LGBTQ, and mental health representation within the show.

    The audience is digital-savvy and loves sharing every moment of their life online and on social
    media - they have no chill and no filters. Live-tweeting and Instagram Live videos during the
    series will be apart of the experience of watching the show. The preferred way forthem to watch
    the series is in groups while live-streaming the episode on their phones and digital devices.

    They love following trends but also being trendsetters - they claim to hate conformity yet
    everyone in their squad dresses alike. They already follow social media influencers and
    consider them celebrities. They have a deep desire to be more immersed in their worlds and
    see what it’s like to really be them. They go to music festivals, shop online, attend BeautyCon,
    and want to be YouTube stars.

    They tune in every week as a way to escape from their own reality in the same way that we use
    social media as a way to escape or day-to-day routines.

    What question or problem does your show or movie pose to the audience? How or why
    will your audience relate to that question?
    The essential question that my show poses is, “Do you know who you are?” At your core, when
    all of your jobs, relationships, money, followers, cars, homes, awards, and anything external is
    stripped away, do you know who you are? How do you define yourself without any external
    titles? And then, if you do have a true sense of self, do you believe that who you are at your
    core is enough? Do you believe that you’re worthy as-is?

    This philosophical question will resonate with my audience because that’s what we’re all
    seeking during our human experience. We’re seeking to know our true selves, “to find
    ourselves,” and to find worthiness in our own authenticity, which is the essence of true
    belonging, knowing that who I am is enough and I don’t have to change in order to be welcomed
    here.
                                                Ex. A-62
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    If your project is for television, on which type of network would you like to see it
    released?
    Broadcast Network (i.e. ABC, CBS, NBC, FOX, The CW)

    If you could choose ONE specifically, which TV network or streaming platform would you
    like to see release your series and why?
    The CW because it was the home to Gossip Girl, and that’s when I really fell in love with this
    world of glitz, glam, and glitter that overshadows the undercurrent of just wanting to feel like you
    belong and that who are matters.

    If your project is a TV show, what is your estimated per episode production budget?
    Mid-budget ($2-$5 million)

    If you could get anyone to direct your project, who would it be?
    Debbie Allen

    If you could get anyone to star in your project, who would it be?
    Sadie Williamson played by myself
    Evvy Levine played by Cate Blanchett

    What does your series’ or movie’s poster look like?
    The poster to my series has Sadie and Roxy, both dressed impeccably, taking selfies while their
    squad minions are live-streaming them taking photos of themselves and we see various
    comments pop-up like, “So cute!” “Wish I were U!” “Where did you get that?”

    Tell us something you see in this project that might not be obvious to the reviewer.
    The true essence of the series is about shame and guilt caused by secrecy. We all carry limiting
    beliefs about ourselves that causes us to experience shame at the subconscious level. It’s what
    causes us to feel less than and not good enough. It’s also the root cause of comparing your life
    to the lives of others and feeling as though you have to create a perfect persona for your
    Instagram feed and Facebook posts.

    Sadie’s story really represents the parts in all of us that yearns to be seen, accepted, and
    validated. Her journey is reflective of the moral questions that we are all faced with of how far
    are we willing to go to feel as though that we belong. But what actually connects us as human
    beings are our imperfections, missteps, and mistakes and through empathy we are able to
    connect and see each other on a genuine level. However, empathy is only achieved when we
    are brave enough to share our secrets and imperfections with each other and have the courage
    to remove the filters through which we tell our stories. It the purpose of this series to be a
    guiding force in giving us permission to step into our own unique light and unapologetically love,
    accept, and honor ourselves.

                                                Ex. A-63
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    Why do you want to tell this story? Why are you the right person or even the only person
    who can tell it?
    It’s not that I necessarily want to tell this story, it’s that I’ve been called to tell this story. I feel
    compelled to share this story with the world and if one person watches and his/her journey is
    made a little easier, then I’ve done my job. Although, it is a work of fiction and it’s not
    autobiographical, I’m the only person that can tell this story because the spirit of the story, is my
    story.

    MORE ABOUT YOU
    What drives you to write? Why do you want to do this as a career and not just as a
    hobby?
    I know that my personal purpose in life is to add value to the lives of others through storytelling.
    Since longer than I can remember, the way in which that I connected with people was through
    laughter, poetry, writing, and performing, and becoming a television writer and series creator
    would marry all of these passions into one career.

    What also drives me to turn my affinity for writing into a full-time career is being able to provide
    creative jobs for other people. From the writers, actors, producers, PAs, sound crew, lighting
    crew, production staff, wardrobe, hair and make-up, and more, it would be extremely humbling
    to be able to be a source of income and professional fulfillment for others.

    What have you written or been part of creating that you are most proud of and why?
    My book, “Sugar Pills: 10 Days to Awaken Your Inner Power,” was a labor of love that was born
    out of my personal stories of how to cultivate a joyful life as a creative professional. The book is
    a compilation of blog posts and articles that I’ve written throughout the years of transitioning
    from working in Corporate America to becoming a full-time content creator and entrepreneur.
    Each day also provides actionable insights that you can apply to your own life to elevate your
    confidence, success, happiness, and prosperity. The reason why I’m extremely proud of the
    book is because it taught me that it was okay to be honest about my journey and that my
    experiences were valuable and had the power to help and influence other people.

    If you could have written any television show or movie in history, which would you
    choose and why?
    I would have written “Elegy,” which stars Sir Ben Kingsley and Penelope Cruz. The movie is
    based on the novel by “The Dying Animal,” by Philip Roth. I fell in love with this movie because
    of the beautiful way it displayed lust, love, fear, and mortality in such a humanistic and raw way.
    Not only were (he performances riveting but (Ire way Nicholas Meyer adapted the novel for the
    screen was impressive and honored the essence of his writing while bringing his unique style to
    the film.

    In 1-2 sentences, tell us about something impressive you've done outside of content
    creation.


                                                   Ex. A-64
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     I’m really proud of traveling throughout Europe on my own. I was itching for an adventure so I
     booked a flight to Europe and traveled throughout London, Paris, Spain, and Portugal with just
     my backpack and my curiosity as my guide.

    A 30-second video of you explaining why we should select you for the program

    PREVIOUS WORK
    Have you ever been paid to write for television?
    No.

    Have any projects of yours been acquired or produced before, not including self-funded
    work?
    No.

    A link to a previously produced work of yours (if applicable)
    N/A

    A full-length sample screenplay or teleplay (or play or novel if you’ve never written a
    screenplay)

    LOGISTICS
    If you had any other ideas you considered applying with, please list them.
    N/A

    Do you have any other commitments that would prohibit you from being in Los Angeles
    from September through November 2019?
    No.




                                               Ex. A-65
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                           EXHIBIT B
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 Bull Episode entitled “Her Own Two
 Feet” separately lodged




                                    Ex. B-1
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                           EXHIBIT C
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Frequently Occurring Surnames in the 2010 Census: Top 1,000 Surnames


                                                                       PERCENT NON-
                                        PROPORTION
                          FREQUENCY                     CUMULATIVE      HISPANIC OR
   SURNAME       RANK                    PER 100,000
                            (COUNT)                     PROPORTION     LATINO WHITE
                                        POPULATION
                                                                           ALONE
SMITH                 1     2,442,977           828.2          828.2            70.9
JOHNSON               2     1,932,812           655.2        1,483.4            59.0
WILLIAMS              3     1,625,252           551.0        2,034.4            45.8
BROWN                 4     1,437,026           487.2        2,521.6            58.0
JONES                 5     1,425,470           483.2        3,004.8            55.2
GARCIA                6     1,166,120           395.3        3,400.1             5.4
MILLER                7     1,161,437           393.7        3,793.9            84.1
DAVIS                 8     1,116,357           378.5        4,172.3            62.2
RODRIGUEZ             9     1,094,924           371.2        4,543.5             4.8
MARTINEZ             10     1,060,159           359.4        4,902.9             5.3
HERNANDEZ            11     1,043,281           353.7        5,256.6             3.8
LOPEZ                12       874,523           296.5        5,553.1             4.9
GONZALEZ             13       841,025           285.1        5,838.2             4.0
WILSON               14       801,882           271.8        6,110.0            67.4
ANDERSON             15       784,404           265.9        6,375.9            75.2
THOMAS               16       756,142           256.3        6,632.3            52.6
TAYLOR               17       751,209           254.7        6,886.9            65.4
MOORE                18       724,374           245.6        7,132.5            66.4
JACKSON              19       708,099           240.1        7,372.5            39.9
MARTIN               20       702,625           238.2        7,610.7            74.8
LEE                  21       693,023           234.9        7,845.7            36.0
PEREZ                22       681,645           231.1        8,076.8             5.0
THOMPSON             23       664,644           225.3        8,302.1            69.8
WHITE                24       660,491           223.9        8,526.0            65.5
HARRIS               25       624,252           211.6        8,737.6            51.4
SANCHEZ              26       612,752           207.7        8,945.3             5.0
CLARK                27       562,679           190.8        9,136.1            74.7
RAMIREZ              28       557,423           189.0        9,325.1             3.9
LEWIS                29       531,781           180.3        9,505.3            58.2
ROBINSON             30       529,821           179.6        9,685.0            48.7
WALKER               31       523,129           177.3        9,862.3            58.7
YOUNG                32       484,447           164.2       10,026.5            66.3
ALLEN                33       482,607           163.6       10,190.1            67.6
KING                 34       465,422           157.8       10,347.9            70.2
WRIGHT               35       458,980           155.6       10,503.5            65.8
SCOTT                36       439,530           149.0       10,652.5            60.2
TORRES               37       437,813           148.4       10,800.9             5.4
NGUYEN               38       437,645           148.4       10,949.3             1.0
HILL                 39       434,827           147.4       11,096.7            64.4
FLORES               40       433,969           147.1       11,243.8             4.9
GREEN                41       430,182           145.8       11,389.7            56.8
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ADAMS             42      427,865       145.1      11,534.7         74.0
NELSON            43      424,958       144.1      11,678.8         77.7
BAKER             44      419,586       142.2      11,821.0         79.8
HALL              45      407,076       138.0      11,959.0         72.7
RIVERA            46      391,114       132.6      12,091.6          5.4
CAMPBELL          47      386,157       130.9      12,222.5         73.7
MITCHELL          48      384,486       130.3      12,352.9         61.0
CARTER            49      376,966       127.8      12,480.7         58.2
ROBERTS           50      376,774       127.7      12,608.4         77.3
GOMEZ             51      365,655       124.0      12,732.4          5.1
PHILLIPS          52      360,802       122.3      12,854.7         76.7
EVANS             53      355,593       120.6      12,975.2         68.4
TURNER            54      348,627       118.2      13,093.4         64.3
DIAZ              55      347,636       117.9      13,211.3          5.2
PARKER            56      336,221       114.0      13,325.2         69.2
CRUZ              57      334,201       113.3      13,438.5          5.2
EDWARDS           58      332,423       112.7      13,551.2         62.1
COLLINS           59      329,770       111.8      13,663.0         71.6
REYES             60      327,904       111.2      13,774.2          4.4
STEWART           61      324,957       110.2      13,884.3         69.2
MORRIS            62      318,884       108.1      13,992.5         73.6
MORALES           63      311,777       105.7      14,098.1          4.6
MURPHY            64      308,417       104.6      14,202.7         83.1
COOK              65      302,589       102.6      14,305.3         81.8
ROGERS            66      302,261       102.5      14,407.8         75.4
GUTIERREZ         67      293,218        99.4      14,507.2          4.6
ORTIZ             68      286,899        97.3      14,604.4          5.0
MORGAN            69      286,280        97.1      14,701.5         76.1
COOPER            70      280,791        95.2      14,796.7         67.9
PETERSON          71      278,297        94.3      14,891.0         84.4
BAILEY            72      277,845        94.2      14,985.2         72.5
REED              73      277,030        93.9      15,079.1         71.3
KELLY             74      267,394        90.7      15,169.8         78.1
HOWARD            75      264,826        89.8      15,259.5         64.3
RAMOS             76      263,464        89.3      15,348.8          6.5
KIM               77      262,352        88.9      15,437.8          2.5
COX               78      261,231        88.6      15,526.3         82.6
WARD              79      260,464        88.3      15,614.6         75.6
RICHARDSON        80      259,798        88.1      15,702.7         59.7
WATSON            81      252,579        85.6      15,788.3         66.0
BROOKS            82      251,663        85.3      15,873.7         60.2
CHAVEZ            83      250,898        85.1      15,958.7          5.0
WOOD              84      250,715        85.0      16,043.7         88.7
JAMES             85      249,379        84.5      16,128.3         51.6
BENNETT           86      247,599        83.9      16,212.2         76.6
GRAY              87      246,116        83.4      16,295.6         68.7
MENDOZA           88      242,771        82.3      16,377.9          4.1
RUIZ              89      238,234        80.8      16,458.7          5.2
HUGHES            90      236,271        80.1      16,538.8         78.4
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PRICE             91      235,251        79.8      16,618.5         73.9
ALVAREZ           92      233,983        79.3      16,697.9          5.2
CASTILLO          93      230,420        78.1      16,776.0          4.9
SANDERS           94      230,374        78.1      16,854.1         60.8
PATEL             95      229,973        78.0      16,932.0          2.1
MYERS             96      229,895        77.9      17,010.0         84.5
LONG              97      229,374        77.8      17,087.7         79.9
ROSS              98      229,368        77.8      17,165.5         69.0
FOSTER            99      227,764        77.2      17,242.7         69.7
JIMENEZ          100      227,118        77.0      17,319.7          3.8
POWELL           101      224,874        76.2      17,395.9         67.2
JENKINS          102      222,653        75.5      17,471.4         57.8
PERRY            103      221,741        75.2      17,546.6         68.3
RUSSELL          104      221,558        75.1      17,621.7         77.1
SULLIVAN         105      220,990        74.9      17,696.6         87.7
BELL             106      220,599        74.8      17,771.4         61.1
COLEMAN          107      219,070        74.3      17,845.7         49.4
BUTLER           108      218,847        74.2      17,919.9         62.4
HENDERSON        109      218,393        74.0      17,993.9         59.6
BARNES           110      218,241        74.0      18,067.9         64.8
GONZALES         111      214,758        72.8      18,140.7          9.8
FISHER           112      214,703        72.8      18,213.5         82.6
VASQUEZ          113      212,781        72.1      18,285.6          5.1
SIMMONS          114      210,182        71.3      18,356.9         57.9
ROMERO           115      208,614        70.7      18,427.6          8.7
JORDAN           116      208,403        70.7      18,498.2         61.4
PATTERSON        117      205,423        69.6      18,567.9         67.3
ALEXANDER        118      204,621        69.4      18,637.2         58.2
HAMILTON         119      201,746        68.4      18,705.6         70.2
GRAHAM           120      201,159        68.2      18,773.8         70.0
REYNOLDS         121      200,247        67.9      18,841.7         81.1
GRIFFIN          122      198,406        67.3      18,909.0         63.8
WALLACE          123      197,276        66.9      18,975.8         69.2
MORENO           124      196,925        66.8      19,042.6          6.1
WEST             125      195,818        66.4      19,109.0         75.5
COLE             126      195,289        66.2      19,175.2         75.3
HAYES            127      194,246        65.9      19,241.0         69.4
BRYANT           128      192,773        65.4      19,306.4         58.5
HERRERA          129      192,711        65.3      19,371.7          4.9
GIBSON           130      190,667        64.6      19,436.4         72.1
ELLIS            131      188,968        64.1      19,500.4         70.4
TRAN             132      188,498        63.9      19,564.3          1.4
MEDINA           133      188,497        63.9      19,628.2          5.7
AGUILAR          134      186,512        63.2      19,691.5          4.0
STEVENS          135      185,674        62.9      19,754.4         81.4
MURRAY           136      184,910        62.7      19,817.1         74.9
FORD             137      184,832        62.7      19,879.7         62.1
CASTRO           138      184,134        62.4      19,942.2          7.3
MARSHALL         139      183,922        62.4      20,004.5         66.0
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OWENS            140      182,719        61.9      20,066.5         65.9
HARRISON         141      181,091        61.4      20,127.9         68.7
FERNANDEZ        142      180,842        61.3      20,189.2          8.8
MCDONALD         143      180,497        61.2      20,250.3         76.7
WOODS            144      177,425        60.2      20,310.5         58.3
WASHINGTON       145      177,386        60.1      20,370.6          5.2
KENNEDY          146      176,865        60.0      20,430.6         80.8
WELLS            147      176,230        59.7      20,490.3         74.0
VARGAS           148      173,835        58.9      20,549.3          5.4
HENRY            149      170,964        58.0      20,607.2         61.4
CHEN             150      169,580        57.5      20,664.7          1.4
FREEMAN          151      169,149        57.3      20,722.1         65.5
WEBB             152      168,878        57.3      20,779.3         75.5
TUCKER           153      167,446        56.8      20,836.1         70.0
GUZMAN           154      167,044        56.6      20,892.7          4.1
BURNS            155      165,925        56.3      20,948.9         80.3
CRAWFORD         156      164,457        55.8      21,004.7         68.6
OLSON            157      164,035        55.6      21,060.3         94.8
SIMPSON          158      163,181        55.3      21,115.6         70.8
PORTER           159      163,054        55.3      21,170.9         68.6
HUNTER           160      162,440        55.1      21,226.0         60.8
GORDON           161      161,833        54.9      21,280.8         64.3
MENDEZ           162      161,717        54.8      21,335.7          4.5
SILVA            163      161,633        54.8      21,390.5         32.6
SHAW             164      160,400        54.4      21,444.8         72.1
SNYDER           165      160,262        54.3      21,499.2         94.1
MASON            166      160,213        54.3      21,553.5         68.8
DIXON            167      159,480        54.1      21,607.5         54.3
MUNOZ            168      158,483        53.7      21,661.3          4.9
HUNT             169      158,421        53.7      21,715.0         73.6
HICKS            170      158,320        53.7      21,768.6         67.4
HOLMES           171      156,780        53.2      21,821.8         56.8
PALMER           172      156,601        53.1      21,874.9         75.1
WAGNER           173      155,795        52.8      21,927.7         92.5
BLACK            174      154,738        52.5      21,980.2         74.6
ROBERTSON        175      153,666        52.1      22,032.2         73.4
BOYD             176      153,469        52.0      22,084.3         63.2
ROSE             177      153,397        52.0      22,136.3         82.1
STONE            178      153,329        52.0      22,188.3         86.0
SALAZAR          179      152,703        51.8      22,240.0          5.6
FOX              180      152,334        51.6      22,291.7         88.1
WARREN           181      152,147        51.6      22,343.2         70.1
MILLS            182      151,942        51.5      22,394.8         77.5
MEYER            183      150,895        51.2      22,445.9         94.8
RICE             184      149,500        50.7      22,496.6         77.6
SCHMIDT          185      147,034        49.9      22,546.4         95.2
GARZA            186      147,005        49.8      22,596.3          6.7
DANIELS          187      146,570        49.7      22,646.0         54.7
FERGUSON         188      146,426        49.6      22,695.6         74.8
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NICHOLS          189      145,584        49.4      22,745.0         82.4
STEPHENS         190      144,646        49.0      22,794.0         73.9
SOTO             191      144,451        49.0      22,843.0          5.2
WEAVER           192      143,837        48.8      22,891.7         84.4
RYAN             193      143,452        48.6      22,940.4         91.7
GARDNER          194      142,894        48.4      22,988.8         75.0
PAYNE            195      142,601        48.3      23,037.1         71.6
GRANT            196      142,277        48.2      23,085.4         55.4
DUNN             197      141,427        47.9      23,133.3         80.1
KELLEY           198      140,693        47.7      23,181.0         83.8
SPENCER          199      139,951        47.4      23,228.5         69.4
HAWKINS          200      139,751        47.4      23,275.8         61.1
ARNOLD           201      138,893        47.1      23,322.9         81.3
PIERCE           202      138,629        47.0      23,369.9         81.0
VAZQUEZ          203      138,322        46.9      23,416.8          3.5
HANSEN           204      137,977        46.8      23,463.6         94.2
PETERS           205      137,513        46.6      23,510.2         82.9
SANTOS           206      137,232        46.5      23,556.7         20.1
HART             207      137,184        46.5      23,603.2         80.5
BRADLEY          208      136,720        46.4      23,649.6         69.1
KNIGHT           209      136,713        46.4      23,695.9         72.3
ELLIOTT          210      135,765        46.0      23,741.9         81.6
CUNNINGHAM       211      135,718        46.0      23,788.0         73.2
DUNCAN           212      135,187        45.8      23,833.8         76.4
ARMSTRONG        213      135,044        45.8      23,879.6         72.4
HUDSON           214      134,963        45.8      23,925.3         66.9
CARROLL          215      134,317        45.5      23,970.9         83.0
LANE             216      134,227        45.5      24,016.4         77.1
RILEY            217      133,872        45.4      24,061.7         72.8
ANDREWS          218      133,799        45.4      24,107.1         71.8
ALVARADO         219      133,501        45.3      24,152.4          4.3
RAY              220      133,171        45.2      24,197.5         75.0
DELGADO          221      132,985        45.1      24,242.6          5.6
BERRY            222      132,812        45.0      24,287.6         70.7
PERKINS          223      131,440        44.6      24,332.2         69.5
HOFFMAN          224      131,401        44.6      24,376.7         94.1
JOHNSTON         225      131,373        44.5      24,421.3         91.6
MATTHEWS         226      131,303        44.5      24,465.8         63.4
PENA             227      130,776        44.3      24,510.1          5.3
RICHARDS         228      130,529        44.3      24,554.4         78.7
CONTRERAS        229      130,164        44.1      24,598.5          4.2
WILLIS           230      130,152        44.1      24,642.6         62.2
CARPENTER        231      129,898        44.0      24,686.6         86.2
LAWRENCE         232      129,699        44.0      24,730.6         68.9
SANDOVAL         233      128,948        43.7      24,774.3          5.3
GUERRERO         234      128,677        43.6      24,817.9          4.6
GEORGE           235      128,625        43.6      24,861.5         66.5
CHAPMAN          236      127,939        43.4      24,904.9         79.5
RIOS             237      127,794        43.3      24,948.2          5.0
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ESTRADA         238      127,470        43.2      24,991.5          4.6
ORTEGA          239      127,256        43.1      25,034.6          4.8
WATKINS         240      127,083        43.1      25,077.7         62.0
GREENE          241      126,101        42.8      25,120.4         67.7
NUNEZ           242      125,350        42.5      25,162.9          5.3
WHEELER         243      125,058        42.4      25,205.3         81.0
VALDEZ          244      124,995        42.4      25,247.7          6.3
HARPER          245      124,461        42.2      25,289.9         67.9
BURKE           246      122,877        41.7      25,331.5         85.9
LARSON          247      122,587        41.6      25,373.1         94.8
SANTIAGO        248      122,212        41.4      25,414.5          5.4
MALDONADO       249      121,526        41.2      25,455.7          5.0
MORRISON        250      121,130        41.1      25,496.8         79.1
FRANKLIN        251      120,621        40.9      25,537.7         54.4
CARLSON         252      120,552        40.9      25,578.6         94.8
AUSTIN          253      119,706        40.6      25,619.1         67.5
DOMINGUEZ       254      119,304        40.4      25,659.6          5.0
CARR            255      119,076        40.4      25,699.9         73.6
LAWSON          256      119,053        40.4      25,740.3         73.8
JACOBS          257      118,614        40.2      25,780.5         74.3
OBRIEN          258      118,557        40.2      25,820.7         93.9
LYNCH           259      117,708        39.9      25,860.6         82.3
SINGH           260      116,749        39.6      25,900.2          4.3
VEGA            261      116,673        39.6      25,939.7          5.5
BISHOP          262      116,618        39.5      25,979.3         84.4
MONTGOMERY      263      115,953        39.3      26,018.6         67.9
OLIVER          264      115,900        39.3      26,057.9         64.2
JENSEN          265      115,679        39.2      26,097.1         94.0
HARVEY          266      115,662        39.2      26,136.3         68.0
WILLIAMSON      267      114,959        39.0      26,175.3         77.2
GILBERT         268      114,940        39.0      26,214.2         77.8
DEAN            269      114,030        38.7      26,252.9         76.6
SIMS            270      113,374        38.4      26,291.3         54.3
ESPINOZA        271      112,154        38.0      26,329.4          4.0
HOWELL          272      112,041        38.0      26,367.3         79.5
LI              273      111,786        37.9      26,405.2          1.5
WONG            274      111,371        37.8      26,443.0          3.5
REID            275      111,360        37.8      26,480.7         59.8
HANSON          276      111,144        37.7      26,518.4         92.1
LE              277      110,967        37.6      26,556.0          1.5
MCCOY           278      110,744        37.5      26,593.6         66.9
GARRETT         279      110,697        37.5      26,631.1         70.0
BURTON          280      110,529        37.5      26,668.6         67.3
FULLER          281      110,116        37.3      26,705.9         73.2
WANG            282      109,883        37.3      26,743.2          2.6
WEBER           283      109,433        37.1      26,780.3         94.3
WELCH           284      108,987        37.0      26,817.2         83.5
ROJAS           285      108,421        36.8      26,854.0          4.1
LUCAS           286      107,690        36.5      26,890.5         69.1
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                           EXHIBIT D
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                                                   #:157
                                                                                                            Sign In




                                                                                                     Edit
                 Megan Is Missing (2011)
                 Plot

      Showing all 3 items

      Jump to: Summaries (2) | Synopsis (1)


     Summaries


       Two teenage girls encounter an Internet child predator.
                                                                                                                                ad feedback


                                                                                                              Megan Is Missing
       Megan Stewart, 14, and her best friend Amy Herman, 13, though opposites in personality,
       are best friends. Megan carries the front of being the most popular girl in school, but this
       masks a lifestyle of hard partying, drugs, alcohol and indiscriminate sex. Amy, unpopular              Storyline
       and socially awkward, clings to her relationship with Megan as a lifeline to social                    Taglines
       acceptance. Together, these two young girls forge a deep friendship based on their mutual              Plot Summary
       needs. The two girls regularly communicate by web chat cameras or cell phone, and even                 Synopsis
       meet boys online. As Megan seeks friends who are different from her usual posse of                     Plot Keywords
       hanger-ons, she is introduced by a friend online to a 17 year-old boy named Josh in a chat             Parents Guide
       room. Megan and Josh bond quickly, leaving Amy feeling a bit left out. One day, Megan
       goes to meet Josh in person, and she is never seen again. Amy launches into a                            Explore More
       concentrated effort to find her friend. As the media swirls around the story of Megan's
       disappearance, Amy discovers the horrifying truth about what happened to her friend.
                                                                                                                                              Create a list »
       Based on research into seven actual cases of child abduction, MEGAN IS MISSING is an                   User Lists
       uncompromising, gut-wrenching view of the world children live in today. Harrowing in its
                                                                                                              Related lists from IMDb users
       realism, the film uses only fact-based incidences to depict the lives of ordinary kids
       walking in the midst of extraordinary evil.                                                                            Personal faves
                                                                                                                              a list of 38 titles
       —Michael Goi                                                                                                           created 20 Oct 2017



     Spoilers
                                                                                                                              Intense Thrillers
                                                                                                                              a list of 41 titles
           The synopsis below may give away important plot points.                                                            created 12 Jun 2018


     Synopsis
                                                                                                                              Movies about Hacking
       Megan is Missing begins with a simple video caption on black screen declaring that the                                 & Internet
       movie is based on actual events from actual missing-children cases. (It should be noted,                               a list of 24 titles
       however, that the movie itself and all scenes there in, are fictitious and performed by the                            created 27 Nov 2016
       actors.)

       Switch to Megan Stewart (Rachel Quinn) and Amy Herman (Amber Perkins) together in                                      WORST "Films" I've
       Amy's bedroom, doing an ad-lib performance together for Amy's new video camera.                                        Ever Seen
       Megan and Amy are the best of friends, almost like sisters. The screen freezes and a                                   a list of 38 titles
       caption appears saying that Megan disappeared without a trace on January 14, 2007, and                                 created 15 Aug 2018
       that Amy followed suit three weeks later. A second caption claims that the film was
       assembled using cell phone logs, computer files, home videos and public news reports.
                                                                                                                              emotionally heavy
                                                                                                                              a list of 28 titles
                                                                                                                              created 12 Feb 2018
       A title screen appears, and then a caption giving the date as January 2, 2007.

       Amy and Megan are together in a coffee shop frequented by members of their high

https://www.imdb.com/title/tt1087461/plotsummary                                                                                                                1/7
                                                                         Ex. D-1
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                                                   #:158
       school. As Megan's laptop captures video footage, Megan and Amy commiserate about
       having to return to school the day after New Year's, though it quickly switches to Amy's        See all related lists »
       virginity, something she is sensitive about. The scene shows that Megan is a social
       butterfly and popular in her class, while Amy is a quiet, semi-timid and decidedly
       unpopular girl with virtually no friends outside of Megan.



       Caption: January 4, 2007:

       Megan is in her bedroom, and a caption lists her name, her birthdate (August 12, 1992)
       and her age during the time of the video recording (14 years old). Megan is at her laptop
       in her room having a video conference with her friend Angie (Carolina Sabate), discussing
       a supply of drugs Angie had just gotten from another student named Tercel. Both Megan
       and Angie have bought drugs from this Tercel, paying for them with sexual favors. Angie
       mentions that she and her boyfriend, Gideon (Trigve Hagen), who is with her at the
       moment, are attending a party later that evening.

       The conversation is interrupted by Megan's mother, Joyce Stewart (April Stewart), who is
       outraged that her TV program didn't record because Megan unplugged the VCR to use her
       game box and forgot the plug it back in when she was finished. Joyce is shown to be a
       loud, shrewish woman who treats Megan badly and makes the girl feel unloved, even
       screaming that Megan should go live with her father and get out of Joyce's life. So
       incensed is Joyce at missing her TV show that she takes a hammer and smashes Megan's
       game box while Angie and Gideon laugh in disbelief at Joyce's outrageous antics.

       Megan gets another video call and switches to it. Amy is inviting her to hang out together
       at the local mall, or any other places Megan might prefer. Unfortunately, Megan has to
       stay home tonight and help her mother with some things.

       Switching back to Angie and Gideon, Megan is reluctantly enticed to come over to their
       house and "play with them" in return for a small packet of the drugs.



       Caption: January 5, 2007:

       Amy is getting ready for school. A caption lists her name, her date of birth (January 10,
       1993), and her date at the time of the recording (13 years old).

       Amy's parents, Bill and Louise Herman (John K. Frazier, Tammy Klein) comes into her
       room to talk about the planned party they're intending to throw for Amy's 14th birthday,
       only a week away. Bill was looking to host it at a particular place that Amy liked, but she
       says she's starting to feel too old for it. The scene quickly reveals that Amy's parents are
       very loving and dote on her, in direct contrast to Megan's parents, who are divorced and
       provide her with none of the parental love and support she still very much needs. After
       they leave, Amy looks at her face in her mirror again and sighs. Bill had called her
       'Princess' in a loving way, but Amy feels that to the rest of the kids in the neighborhood,
       she's more like 'Princess Pudgy.'                                                               Share this page:

       Later that day, Megan receives a cell phonecall from an acquaintance named Ben (Rudy
       Galvan) while hanging out at the coffee shop with her friends Lexie (Jael Elizabeth
       Steinmeyer) and Kathy (Kara Wang). Ben is hosting a party that weekend and is calling to
       invite the three along. Both alcohol and drugs will be freely available. Lexie, Kathy and
       Ben are all stunned when Megan insists on bringing Amy with her to the party; Lexie and
       Kathy going so far as to politely excuse themselves. Ben is furious at the idea of Amy
       attending the party, but Megan doesn't back down. The scene shows that Megan is
       sufficiently 'in demand' in the student party scene that she has the influence to open
       doors that would otherwise be closed to Amy.

       By now, the friendship between Megan and Amy is also shown to be one that fulfills both
       of their strongest needs: Megan gives Amy access to peer social events that she would
       otherwise be shut out of, while Amy gives Megan a confidante that soothes and comforts
       her in light of the horrible way she's treated by her mother.



       Caption: January 6, 2007:

       Ben's party. Outside of Ben and Gideon, the party is almost all girls. Each has to pay $10
       for entry or else provide a sexual favor

       The teens dance to glaringly loud rock music, drink, smoke pot and do cocaine. Amy
       listens to the music and holds a beer bottle in her hands but drinks sparingly and doesn't
       dance, feeling awkward about it. Some of the girls get tipsy enough to dance close
       together, and Ben spends time making his moves on whoever will receive them. Megan in
       particular doesn't care for Ben's advances. Kathy, on the other hand, enjoys feeling
       'wasted.' Even Amy starts to get tipsy from drinking, but pushes Gideon away when he
       starts to grope her while one of Ben's friends films it. Gideon slaps Amy hard across her
       face for her trouble. Humiliated and crying, Amy goes looking for Megan, only to find her
       on her knees in front of Ben, performing fellatio on him. Megan is severely embarrassed at
       being seen by Amy.

       Near the end of the party, Amy slumps against a stairway banister, not feeling well after
       drinking most of the night. At the foot of the stairs, Lexie is coaxed into snorting a little
       coke and slowly french-kissing another girl while Ben films it. Amy suddenly throws up on
       the two girls, much to Lexie's total outrage and disgust, but to the delight of the other
       boys who hoot up about Amy being drunk.

       Late that night, Megan and Amy comfort each other via video conference. Megan admits
       that she doesn't particularly care for most of the other students, despite her popularity
       among them, and Amy is her only real friend. She amuses Amy with a story of how she
       did fellatio at age ten on a 17-year-old camp counselor; a conversation that's rudely
       interrupted by Joyce, who demands that Megan turn her computer off and go to sleep.
       Megan, embarrassed, tells Amy she desperately wants to get away from her mother and

https://www.imdb.com/title/tt1087461/plotsummary                                                                                 2/7
                                                                          Ex. D-2
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       they talk briefly about running away together to Texas before ending the call to go to
       sleep.



       Caption: January 10, 2007; Amy's 14th birthday:

       The first scene in the movie, Amy and Megan doing an ad-lib for Amy's new video camera
       (shown to be a birthday present). More of the scene is shown as they ad-lib a mock
       interview of their respective life stories. Megan goes first, and her bubbly demeanor
       suddenly turns quiet and sad as she talks about her family. Her voice is sarcastic as she
       'claims' her mother loves her, and she doesn't know where her father lives or what he
       does for a living... and her stepfather, Paul, is in prison for raping Amy repeatedly over a
       two-year period starting when she was nine. Megan says that Joyce was so frightened of
       losing Paul that she blames Megan for his going to prison and this is likely one reason for
       Joyce's abominable treatment of her. Megan finishes by saying that boys like her and she
       provides them any favors they want, but insists that they pretend to love her-- even
       though she knows it's fake and in her opinion, pathetic. Amy hugs Megan comfortingly,
       and Megan is seen to take real solace in it.



       Caption: January 13, 2007:

       Megan and Lexie are video chatting. Lexie tells Megan about a young man named Josh
       that she's met online. Josh is a skateboarder and attends Tolland high school, and he took
       notice of Lexie's internet profile because she listed skateboarding as an interest, even
       though she doesn't know how to ride a skateboard (guys dig it when girls are into
       skateboarding, Lexie tells Megan). Lexie tells Megan that Josh's online handle is
       'skaterdude.' Megan does a search on the handle and a photo of Josh is shown, with a
       caption saying that Megan downloaded the photo and it was later found on her computer.
       Lexie mentions that Josh's little brother accidentally broke his laptop's webcam, and tells
       Megan that Josh met George Clooney at a mall and talked to him once. She innocently
       suggests that Megan instant-message Josh some time, and Megan says that maybe she
       will later.

       Amy is shown making a video diary entry. She points her video camera all around her
       room, showing her stuffed animals, and says that her favorite teddy bear is named Billy,
       but she doesn'st have him anymore. She points the cam at a picture of Amy and Megan
       together. She takes her camera all around her house, describing some of it in the diary
       entry, saying she lives in Sherman Oaks, a suburb of Los Angeles. She 'introduces' her
       mother (who slyly suggests that Amy SHOULD be doing her homework while Louise is
       making dinner) and the family cat (who Amy says is older than her in real years, which
       makes him over 100 in 'cat years') on the diary entry, and says that her father works long
       hours and isn't at home as much as he'd like, but always makes sure to come home for
       important events.

       Megan makes contact with Josh (Dean Waite) online. He tells her a little about his
       skateboarding and that the teachers at his school 'suck.' Megan says they also suck at her
       school, which she names as Alton; Josh recognizes the name and says that he doesn't live
       far away. He tells her he practices boarding at a ravine behind a diner that Amy knows
       about and goes to often. Amy is briefly disturbed when Josh asks her to tilt her webcam
       down a little (she knows exactly why he's asking), but Josh apologizes and backs down,
       whereupon Megan obliges him, and he compliments her on her blouse. Megan mentions
       Josh's broken cam, and he says his dog chomped on it-- Lexie had told Megan that Josh's
       little brother broke it. Josh quickly says that both his brother and his dog did their share in
       breaking the cam. He is attending the party that Lexie had invited Megan to, and asks
       Megan if she's coming-- since Megan has seen his photo maybe they can hook up. Megan
       is unsure if she wants to go. There is some sardonic banter between the two of them
       before they finally sign off. After the call is ended, Megan suddenly rushes to her dresser
       and grabs a strappy black top and a denim skirt.

       That evening Megan is walking to Tracy's house for the party and calls Amy on her laptop.
       She tells Amy that she decided at the very last minute to go the party after talking to a
       boy she met online.

       Amy makes another video diary entry. She's looking through a teen magazine to find a
       nice prom dress in case a boy asks her to his when she's a senior in high school. Then she
       figures no boy is ever going to ask her to a prom and drops the F-bomb at her video
       camera before ending the diary entry.



       Caption: January 14, 2007:

       Amy calls Megan at 8 AM to see how the meeting with Josh went at the party. Megan says
       that Josh was a no-show; she waited four hours for him. She tells Amy Josh's name and
       calls him a jerk. Amy invites Megan to go to a movie with her after she's feeling more
       awake, and they end the call.

       Josh contacts Megan online. Megan confronts Josh at his no-show at the party, but Josh
       insists he was there, and he proves it by accurately describing Megan's outfit, including
       the butterfly clip she wore in her hair. When Megan asks why he didn't come up to her, he
       gets embarrassed and says he kind of 'wimped out' when he saw how popular she was
       with the other teenagers. Megan finds this flattering and forgives Josh. She tells him that
       she's going to see a new Matt Damon movie with her best friend and drops a hint that
       Josh can come along. He gets a little shy but then bites at the offered bone and offers to
       get her some ice cream after the movie (he's a little shy about meeting Megan's friend).

       Megan steps out of the house and calls Amy on her cell phone, and tells her why Josh
       didn't come up to her at the party. She finds him very sensitive and likes that about him.
       She tells him he's going to web her around 7:30 and offers to let Amy come with her.

       Josh makes web contact with Megan after the movie, and Megan introduces Amy to Josh.
       The three talk briefly and Josh sends another picture of himself showing that he surfs as

https://www.imdb.com/title/tt1087461/plotsummary                                                            3/7
                                                                           Ex. D-3
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       well as skateboards-- he says the current time of year is perfect for surfing because of
                                                  #:160
       water currents from Mexico (showing he knows a lot about the sport). Amy heads home
       and Megan and Josh agree to meet behind the diner. After they end the call, Megan
       quickly grabs up her purse, and the camera continues to show her empty room for half a
       minute after she walks out.



       Caption: January 15, 2007:

       Megan wasn't present at school, and Amy hasn't been able to reach her to find out how
       the date with Josh went. She becomes worried enough that she contacts Kathy and Lexie,
       both of whom are cold and curt in their reception of her, telling her only that they haven't
       talked to Megan either before quickly hanging up on Amy.

       Amy webs Josh online to find out about Megan, and he gets a little concerned as he tells
       her that he was hoping to ask her the same thing; they were supposed to get together
       last night, but Megan never showed. He promises to web her if he hears from her.



       Caption: January 17, 2007:

       News anchor Callie Daniels (Lauren Leah Mitchell) reports on Megan's disappearance. The
       news broadcast is perfectly put together to grab at the heartstrings, including a portrayal
       of Megan's mother as frightened for Megan's welfare and praying for her safe return, and
       a reporter asking Kathy and Lexie about Megan, who they say simply didn't show for
       school all of a sudden. The news report goes into elaborate detail about Megan's life in her
       community and school, complete with the school principal, and Kathy and Lexie, giving all
       the magic words about Megan: popular, beautiful, role model, honor student, active in the
       community, everyone loves her. After finishing up the section on Megan, Callie Daniels
       gives a very short, brief summary about another missing child: a 13-year-old boy named
       Tercel Jackson, before going to commercial.



       Caption: January 18, 2007:

       Amy makes a late-night video diary entry where she talks about her worry over Megan,
       and that she doesn't believe that Megan ran away, as the news reporters speculate was
       possible. She says she can feel in her heart that Megan is still alive, and Amy is sleeping
       with her cell phone next to her pillow in the belief that Megan will call her at any time.



       Caption: January 19, 2007:

       News reporter Yvette Bartosik (the name of her character as well as the actress' real
       name) is reporting with a 'stunning update' on Megan's disappearance: Security camera
       footage from the diner reveals footage of Megan being seized. The footage shows Megan
       walking behind the diner when a man came up to her, grabbed her wrist and led her away.
       The footage is too grainy to show Josh's face or whether Megan resisted or tried to call for
       help.

       The security camera footage is shown three times in slow-motion, with captions saying it
       is being shown first in original size, then enlarged 200%, and finally 500%. It is still
       impossible to tell if Megan was frightened at the moment she was grabbed, or what Josh
       looks like; although it can be seen that his hair is shorter, darker, and styled differently
       than in the picture that Lexie had sent Megan.



       Caption: January 20, 2007:

       Amy and Josh are talking online. Amy seems uncomfortable with Josh calling her 'cute
       girl,' even though he tries to assure her that he finds her attractive. She asks him plainly
       if he was the person in the security camera footage, and he says (amused) that that was
       'some old dude.' Reading Amy's worry, Josh asks about Amy's friendship with Megan and
       learns how close they really are. Josh suddenly turns callous when he says he's surprised
       that Amy is the kind of girl that Megan would hang with; when she accepted his calling
       her attractive, he says, it meant she was stupid. Amy confronts Josh on her belief that he
       knows where Megan is, but he denies it. Josh's tone reveals his true colors as he rails on
       about how everyone perceives Amy; including, he claims, Megan. She again demands to
       know what he did with her, and he says, 'nothing she didn't do with 100 guys before.'



       Caption: January 29, 2007:

       A news report gives breaking new details in Megan's disappearance: Amy has gone to the
       police and told how Megan met a man named Josh online. The news report gives Josh's
       name, as well as his online handle of skaterdude. Amy is shown leaving the local station
       surrounded by her parents and police officers who fiercely protect her from the onslaught
       of media questions.



       Caption: January 31, 2007:

       Amy is making a video diary entry showing some of the places that she and Megan
       freuqnted together. As she passes the diner, Lexie and Kathy see her and walk up to
       confront her. Lexie becomes particularly emotional as she lambastes Amy over Megan's
       disappearance. Unable to deal with her guilt over having introduced Megan to Josh-- now
       the prime suspect in her disappearance-- Lexie becomes hysterical and starts to scream at
       Amy that she loved Megan as well and tries to pin Megan's disappearance on Amy.

https://www.imdb.com/title/tt1087461/plotsummary                                                           4/7
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       Amy's video diary continues. She walks past a bridge that she and Megan often
       visited.She sets her laptop on the ground under the bridge and squats down in front of it,
       reminiscing about the adventures she and Megan shared. She turns to a niche in one of
       the bridge's supports and pulls out her favorite teddy bear, Billy, saying that she hid him
       here after Louise wanted Amy to get rid of Billy because he was growing old and ragged.

       As she holds the teddy bear, a silhouette is seen appearing several yards behind Amy, on
       the other side of some foliage. The silhouette stays put and appears to eavesdrop as Amy
       talks about the whole experience making her not want to grow up and that she'd just
       rather stay there under the bridge holding Billy.



       Caption: February 1, 2007:

       Amy is on the internet when Josh makes contact to confront her on going to the police. He
       warns her that free internet screen names can easily be set up and discarded anywhere,
       at any time, meaning the police can't find him. He demands that Amy shut her mouth
       about him, threatening that he might have to 'visit' either her or her mother if she doesn't
       leave him be. Amy stares into her webcam, frightened, for half a minute before shutting
       her webcam off.



       Caption: February 2, 2007:

       A news report gives a detailed live-action re-enactment of the security camera footage
       showing Megan's abduction. The re-enactment has been filmed at the exact spot of her
       abduction and features commentary from the director and the actors playing Megan and
       Josh, speaking about the importance of spreading awareness on child safety. The actor
       playing Josh speaks about how hard it is playing the role of such a despicable internet
       child predator. The actress playing Megan talks about how the internet isn't as safe as
       people think, even when you're in your own home. The actual re-enactment footage ends
       with the Megan actress starting to scream for help as the Josh actor forces her into a
       white SUV and drives off with her.



       A video caption says that on March 4, 2007, two photographs of a young girl later
       identified as Megan, were found posted on a fetish website's forums. The website owner
       contacted the FBI because of the graphic, disturbing nature of the photos showing what
       was clearly an underage girl. A second caption says that the photos have never been
       released to the public before.

       The photos show a wooden table; the table's top is a pillory with openings to trap a
       person's neck and wrists. Megan is locked inside the device; her eyes wide and wild, her
       hair matted and disheveled. Built into the table-top pillory near the neck opening are
       metal hook braces that hold Megan's mouth wide open. A rubber band is slung over her
       head, ending in another metal hook that is lodged in her hostrils, pulling the base of her
       nose opward. Megan's fingers, hands, and knees are bloody, showing she's been tortured
       and abused, both physically and sexually.



       Caption: February 4, 2007:

       Amy makes another video diary entry under the bridge. She talks about how volunteers
       for the search for Megan are dwindling and people are losing hope she is still alive. Amy
       admits she isn't sure herself, anymore, if Megan is still alive. Needing solace, she turns to
       the niche to reach for Billy-- and a man's hand is seen reaching into the video camera
       view to seize her.

       News anchor Callie Daniels gives an update on Megan's disapparance, reporting that Amy
       has vanished after having gone to the police with information on Josh. Police are
       concerned on the double disappearance but continue to look into 'all possibilities,'
       including that the two girls might have run away together.



       Caption: February 6, 2007:

       News reporter Yvette Bartosik reports on a pink ribbon campaign organized in the
       neighborhood where Megan and Amy live, in the hopes of the two girls being returned
       safely home. Even Lexie and Kathy are taking part in the campaign, although they
       carefully mention only that they'd like to see Megan return home safely. Amy's parents
       are shown thanking the volunteers for their search and praying for Amy's return.



       A caption says that the following scene is a short piece of news footage not previously
       broadcast: Search workers are looking in trees just off a road. A worker tells the chief he's
       found something. The chief notices the reporter and sends another worker to make the
       reporter leave the scene.

       Another caption says that on March 12, 2007, Amy's video camera was found in a trash
       bin in the Angeles National Forest. Photographs show the inside of the trash bin and then
       a zoom-in photo shows the camera visible among some trash, and finally a police
       detective holding the camera, placed in a plastic evidence bag, as he talks with search
       workers.

       Another caption announces footage of a man believed to be 'Josh' as found on the
       camera. It shows the silhouette coming into view well behind Amy in her video diary entry
       from January 31. The view zooms in on the silhouette but cannot reveal any positive
       details about 'Josh.'

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       A caption says that the following scenes are the final 22 minutes of footage found on
       Amy's video camera after it was discovered; the footage is unedited and unaltered.

       Amy is shown as 'Josh's' captive, stripped to her bra and panties, chained at the neck to a
       wall in a small, filthy cell that looks disturbingly like it was built for that very purpose. It is
       very dark, showing it to be underground or a sub-basement. The camera pans past a
       closed polypropylene-plastic barrel as 'Josh' goes to check on Amy. The terrified girl
       tearfully begs and pleads for mercy, for 'Josh' to let her go. He coldly tells her that Megan
       is here, but Amy can only see her when he says so. He tells her that Josh isn't his real
       name, and he douses her with a bucketful of dirty water.

       More graphic scenes are shown of Amy as 'Josh's' captive. She is savagely and
       unmercifully tortured, raped and sodomized, passing out from the pain of it, and forced to
       completely debase and humiliate herself by kneeling on the floor and putting her hands
       behind her back, eating the food he's placed in front of her as a dog would-- she complies
       when 'Josh' dangles her teddy bear, Billy, in front of her. He gives it to her finally, and she
       huddles against the corner of her cell, cuddling the bear and crying.

       Finally 'Josh' takes her out of her cell, talking sweetly to her about whether she'd like to
       go home. He tells her that he needs to put her in the barrel so she can't see where he
       lives. But when 'Josh' opens the barrel, Amy is horrified to find that it contains Megan's
       body. She screams in horror as 'Josh' forcefully stuffs her into the barrel and re-seals it.



       A heartbreaking twelve-minute finale ensues revealing Amy's appalling fate: 'Josh' has
       taken her out into the woods and digs a hole to bury her alive. 'Josh' wordlessly digs as an
       increasingly desperate Amy professes to love him with all her heart and will submit herself
       completely to him if he lets her live. But finally the hole is completely dug and 'Josh' tips
       the barrel, rolling it to the bottom of the hole. Amy's soft and tearful pleas give way to
       hysterical shrieks for someone, anyone, to come and help her. 'Josh' says nothing as he
       buries her alive in the makeshift grave, finally picking up the flashlight and walking toward
       the break in the treeline, leaving Amy to die.

       Megan and Amy are shown together on side-by-side missing-child posters. Megan's poster
       says that anyone having or wanting information should to to the website 'findmegan.com'
       (which leads to the website for the movie).

       The end credits ensue among a video diary entry where Megan and Amy wistfully talk
       about what their future will be like when they grow up. At the end of the entry, Amy asks
       Megan if she thinks Amy will meet a man when they're grown up. Megan assures Amy
       that she will one day... and that they'll both "just know" when the right guy comes along.




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                 Paper Towns (2015)
                 Plot

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     Summaries


       After an all-night adventure, Quentin's lifelong crush, Margo, disappears, leaving behind
                                                                                                                              ad feedback
       clues that Quentin and his friends follow on the journey of a lifetime.

       —Benjamin Rothrock                                                                                   Paper Towns


                                                                                                            Storyline
       Adapted from the bestselling novel by author John Green, PAPER TOWNS is a coming-of-
                                                                                                            Taglines
       age story centering on Quentin and his enigmatic neighbor Margo, who loved mysteries so
                                                                                                            Plot Summary
       much she became one. After taking him on an all-night adventure through their
                                                                                                            Synopsis
       hometown, Margo suddenly disappears - leaving behind cryptic clues for Quentin to
                                                                                                            Plot Keywords
       decipher. The search leads Quentin and his quick-witted friends on an exhilarating                   Parents Guide
       adventure that is equal parts hilarious and moving. Ultimately, to track down Margo,
       Quentin must find a deeper understanding of true friendship - and true love.
                                                                                                              Explore More
       —20th Century Fox

                                                                                                                                            Create a list »
                                                                                                            User Lists
       Quentin Jacobsen has spent a lifetime loving the magnificently adventurous Margo Roth
       Spiegelman from afar. So when she cracks open a window and climbs into his life- dressed             Related lists from IMDb users
       like a ninja and summoning him for an ingenious campaign of revenge- he follows. After
                                                                                                                            2015 Movies I've Seen
       their all-nighter ends, and a new day breaks, Q arrived at school to discover that Margo,                            a list of 40 titles
       always an enigma, has now become a mystery. But Q soon learns that there are clues-                                  created 11 Mar 2018
       and they are for him. Urged down a disconnected path, the closer he gets, the less Q sees
       the girl he thought he knew...

       —kellyramirez03                                                                                                      2015
                                                                                                                            a list of 45 titles
                                                                                                                            created 8 months ago

       When Margo Roth Spiegalmen moved into Jefferson park Quinten Jacobson was in love.
       They grew up as friends but their friendship drifted apart. Years later she crawls back into
       his window in the middle of the night to get him to help her to do 9 things of revenge                               Dramas
       against her cheating boyfriend. The next day it seems Margo has disappeared she left                                 a list of 21 titles
                                                                                                                            created 2 months ago
       clues for him Quinten and his friends set off to find her before senior prom.



       After an adventure that Quentin takes with the young, beautiful Margo he simply falls in                             My Favourite Childhood
                                                                                                                            Movies
       love overnight. After she goes missing Quentin and his friends search for clues to find her
                                                                                                                            a list of 43 titles
       and he won't rest until he is reunited with his long lost love.                                                      created 26 Mar 2014




       Adapted from the young adult novel by John Green, Fox 2000's Paper Towns tells the                                   2014 - 2020
                                                                                                                            a list of 48 titles
       story of the bizarre mystery that unfolds in the wake of an acute youthful trauma. After                             created 01 Jan 2015
       stumbling across the body of a suicide victim, two young neighbors gradually begin to drift
       apart. Years later, the girl appears at the boy's window in a ninja costume, and requests

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       his help in punishing those who were cruel to her. The following day she disappears
       without a trace, leaving him in a state of emotional flux as he follows a bizarre trail of      See all related lists »
       clues in hopes of tracking her down..


     Spoilers

           The synopsis below may give away important plot points.


     Synopsis

       Quentin's life changed the day Margo Roth Spiegelman moved next door. He considered
       her his one true love. They were both close in age, they became close friends and did
       everything together, until one day they discovered a dead body. Apparently, the man
       couldn't cope with his impending divorce. Quentin didn't flinch, but Margo took it badly.
       She showed up one day at his window, saying she discovered that the dead man's wife
       worked at Sea World, and wanted to go out with him to Sea World to solve the mystery.
       Quentin refused to go as it was 11:00 pm, and they were kids, so she rode her bike there
       without him. Quentin comments that Margo loved mysteries so much she became one.
       Her life was a series of epic adventures.

       We cut to them as teenagers. Margo (Cara Delevingne) was one of the popular kids at
       high school who did whatever she wanted, Quentin (Nat Wolff) is not, and they aren't
       really friends after that night in childhood. She went as a groupie for three months with a
       band among other things.

       One night, Margo crawls through Quentin's window and asks to borrow his car. Her
       parents keep their car keys in a safe under their bed every night, with a dog nearby who
       hates Margo (the dog will bark and wake them up). Since Quentin doesn't have a car, they
       use his mom's.

       They head to Costco and buy lots of plastic Saran Wrap, a raw catfish for cooking,
       Petroleum Jelly, spray paint, a steering wheel lock and Nair. Margo plans to exact revenge
       on all who have wronged her. Her boyfriend Jase (Griffin Freeman) is cheating with one of
       her best friends Becca (Caitlin Carver), so they first head to her house. Waiting outside,
       Margo sees Jase's car, and places the lock on his steering wheel as she knows he never
       locks the car. She then calls Becca's house and informs her dad that Becca is having sex in
       his basement. Her dad storms downstairs to discover the two of them in her room. Margo
       hands Quentin the camera before Jase runs out, and instructs Quentin to take a picture of
       Jase running naked across the lawn. Jase sees him but continues running. Quentin is
       scared, as Jase is on the football team and can beat him up, so Margo points out Jase's
       microscopic penis and says Jase won't beat him up if he threatens to release the photo.
       They both then run into Becca's room, while Becca is elsewhere, quarreling with her dad.
       Margo throws a fish in her closet and sprays an M on the wall.

       The next house they head to is Lacey's (Halston Sage), Margo's best friend. Margo is
       upset because Lacey knew Jase and Becca were cheating but said nothing. Margo saran-            New Nerdwax Slimline Design - 4ct Value…
       wraps her car, and sprays an M on it.                                                                        2,701
       The next house they head to is a guy who told all the girls in 6th grade not to dance with      $
                                                                                                           19.99                   Shop now
       Quentin; this one is for him. She tells him to spray Nair on one of his eyebrows while she
       locks the door and puts Petroleum Jelly on the handle. As Quentin wipes off the nair and
       his eyebrow, the guy wakes up. They run out of his house, pulling the door behind them
       and he is unable to open it as the Jelly on the door makes it hard to unlock.
                                                                                                       Share this page:
       The next place they head to is a business building. Quentin is hesitant to enter as he
       doesn't want to be caught trespassing because he has his whole life ahead of him; Duke
       University, med school, kids at age 30 and he looks forward to being happy. She is
       confused that he will wait until he's 30 until he's happy. She also lets him know that the
       guards name is Gus. They walk in, and Gus lets them in saying, "Mi casa is su casa". He
       and Margo appear to know each other well (the night guard appears to be very young.)
       They go to a conference room over-looking the city. She point at all the buildings and calls
       it a paper town with paper people, complaining that no one seems to care about the right
       things. Quentin is quite smitten with her, and they dance to some music before heading
       back home. After parking the car, Quentin asks Margo if tomorrow things will change
       between then. She appears to think they will, but the next day she is absent from school.

       A few days later, a police officer, Margo's parents and his parents all greet him in the
       dining room asking when was the last time he saw Margo. He tells them Wednesday night,
       but leaves out specifics, just saying that she climbed through his window to say hi.
       Margo's parents decline to file a missing persons report because she has run away five
       times before, and is now 18, free to do whatever she wants. Quentin also comments that
       every time she leaves, she leaves clues for her loved ones to come find her (mainly her
       sister.)

       Quentin is deeply in love with Margo, and longs to solve the mystery. His two friends, Ben
       and Radar (Austin Abrams and Justice Smith) help him mourn. One day, he notices her
       shades are down, showing a band on the blinds, which is weird, as all these years her
       blinds have never been down. The three guys go to Margo's house (her parents aren't
       home) and bribe her sister with $20 to let them look around. Her room is filled with
       records. He searches the records for the band on her blinds. He finds the record he is
       looking for and sees and writing circled Walt Whitman's niece. Then he sees the Walt
       Whitman book on her desk and takes it home.

       He spends the next few days reading the book and comes across a line circled- Unscrew
       the door themselves from their jams. He proceeds to Margo's house and again bribes her
       sister with $20 and uses a screwdriver to unhinge her doors to find nothing.

       Later that night, still reading Walt Whitman's book, he notices a small piece of paper in his
       door hinge with an address written on it. He calls Radar to join him, but Radar tells him
       no, they can go the next day as he has plans with Angela, his girlfriend.

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       The next day, all three guys head to a shady part of town, going to the address, to find an
       abandoned building. Quentin hopes Margo is inside. They enter to see a hole in the wall
       leading to an abandoned store: still no Margo.

       The next day in school, Jase approaches Quentin with his friends and tries to beat him up,
       but he shows him the picture and threatens to release it, and Jase and his friends leave
       him alone. Lacey approaches Quentin and friends, to find out what happened to Margo, as
       he was with her on her last night in town. He tells Lacey they're trying to find out, but
       also lets her know Margo is angry that she didn't let her know about Jase and Becca's
       affair. Lacey claims she had no idea, but that her boyfriend knew, she really seems
       concerned for Margo and broke up with her boyfriend when she found out. She also lets
       him know that now she is without prom date and Ben immediately begins flirting with her,
       she says she'll be at Jase's party later. The boys seem excited and decide to attend a
       popular party, now that they have dirt on Jase. Quentin is obsessed with Margo's
       disappearance and decides not to attend.

       He goes back to the abandoned room and sees Margo has written on the wall "We live in
       Paper Towns". Confused, he falls asleep and sees Margo approaching him in a red dress
       begging him to come find her. Quentin is awoken when Radar calls at the party and lets
       him know that Ben is drunk, and that they need help to get him home. He arrives, hoping
       to search Jase's room for clues, but Becca and Jase are banging upstairs. He then heads
       to the bathroom, and mid pee is interrupted by Lacey, who is hiding in the tub. He joins
       her (platonically) in the tub, and they discuss life. He lets her know that he and his friends
       are searching for Margo. Lacey says everyone thinks she's just a pretty face, but she is
       actually going to Dartmouth in the fall. When Jase interrupts, Quentin knows he can now
       go search his room. He finds an atlas like one in the abandoned store with a page missing.

       After one friend pukes in the house, they head to the abandoned building. They look
       through the other atlases and are startled to find that Lacey has followed them, she wants
       to know what happened to Margo. He finds the missing page and holds it against the light,
       to see that Margo has made holes in the map, pointing to where she is headed. He hangs
       up the map and discovers she is headed to New York, and the one friend says that there
       are so many towns there that they'll never find her. Quentin then instructs him to look for
       a Paper Town, made up towns on maps that people place to see if anyone infringes their
       copyright by copying their map without permission. They find one Agloe, New York.

       MRS (Margo's initials) edits the Wikipedia page and gives it a population of 1. The four
       agree to leave immediately in order to make it back to prom, but Radar wants to stop to
       tell his girlfriend Angela goodbye, and she joins them. The five head on a road trip to New
       York, and one friend, who needs to pee half hour in, is given bottles to pee in and spills it
       in the car. So they make a six minute stop to buy food, drinks, new clothes and plan out
       their trip stops in order to make it home in time for prom.

       At night, Quentin nearly hits a cow, but Ben spins the wheel and averts is, so they skid
       and decide to stop for the night. Angela has sex with her boyfriend. Ben and Lacey agree
       to go to prom together.

       They arrive in Agloe, New York the next day and find the barn, but it's empty. The rest
       give up and decide to head back for prom, but Quentin doesn't want to go and is angry
       they don't want to find her. Lacey loves Margo but says Margo would never do the same
       for her, Ben and Radar just did it to have one last memory and a fun road trip before they
       graduate. He gives them the keys and tells them hell find another way home.

       Quentin hitch hikes to town and buys a bus ticket home, but sees Margo walk by. He runs
       after her and calls her name. She is surprised to see him there; she left clues for him to
       find to let him know she is okay, not to join her. He says he loves her, and she is
       surprised, saying everyone likes the idea of her, but no one really likes her. She buys him
       a drink and explains she wasn't made for town life, and this is the perfect place to lose,
       and then find herself, in solitude. She planned to disappear after graduation, but Jase, and
       Becca's cheating speeded it up. She relents, offering to let him join her, but he decides
       against it. He wants to go to Duke. They hug, and he tells her that her sister misses her.
       She says they talk everyday on the phone.

       Quentin heads back in time to join all of his friends at prom, and the five of them dance
       and enjoy themselves.

       The film ends with him saying that someone says they saw Margo doing a play on
       Broadway, another claiming to see her giving surf lessons in Malibu.




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                 Searching (III) (2018)
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                 Plot
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      Showing all 5 items                                                                                   Synopsis
                                                                                                            Plot Keywords
      Jump to: Summaries (4) | Synopsis (1)
                                                                                                            Parents Guide

     Summaries
                                                                                                              Explore More

       After his 16-year-old daughter goes missing, a desperate father breaks into her laptop to
                                                                                                                                                Create a list »
       look for clues to find her.                                                                          User Lists
                                                                                                            Related lists from IMDb users
       After David Kim (John Cho)'s 16-year-old daughter goes missing, a local investigation is                             ‫داﻧﻠود ﮐردم ﺑﺑﯾﻧم‬
       opened and a detective is assigned to the case. But 37 hours later and without a single                              a list of 36 titles
       lead, David decides to search the one place no one has looked yet, where all secrets are                             created 08 Mar 2018
       kept today: his daughter's laptop. In a hyper-modern thriller told via the technology
       devices we use every day to communicate, David must trace his daughter's digital
       footprints before she disappears forever.                                                                            to be...
                                                                                                                            a list of 28 titles
                                                                                                                            created 28 May 2015

       Director Aneesh Chaganty's laptop thriller follows the the everyday life of the family
       through home videos and video chat footage. Their seemingly idyllic family life is usurped
       when Margot (Michelle La) disappears mysteriously. Her father David (John Cho) enlists                               Checked
       the help of a dedicated detective (Debra Messing), and they venture down an unnerving                                a list of 46 titles
                                                                                                                            created 24 Feb 2018
       internet rabbit hole in a desperate effort to find her.



       In San Jose, California, David Kim looks through old photographs and videos of his                                   Filmes 2020
       daughter Margot and his late wife Pamela, who died from lymphoma nearly two years                                    a list of 24 titles
                                                                                                                            created 1 month ago
       earlier, after which David and Margot became distant. One night, Margot goes to a friend's
       house for her study-group. The next morning, David is unable to reach Margot but
       assumes she has risen early to go to school. Later, he calls Margot's piano instructor, but
       is informed that Margot had canceled her lessons six months ago. David discovers that                                Plan to Watch
       Margot had been pocketing the money for the lessons, before suddenly transferring                                    a list of 35 titles
                                                                                                                            created 3 weeks ago
       $2,500 to a deleted Venmo account. Realizing that Margot is missing, David calls the
       police, and the case is assigned to Detective Rosemary Vick, who asks for information
       about Margot's personality and friendships. David manages to access Margot's Facebook
       and speaks to her contacts only to discover that Margot has not had close friends since              See all related lists »
       Pamela's death.


     Spoilers

           The synopsis below may give away important plot points.


     Synopsis

       Note: This entire film is shown through the point-of-view of laptop or phone screens.

       The film opens with a photo/video montage showing the life of a Korean-American family
       known as the Kims - David Kim (John Cho), his wife Pam (Sara Sohn), and their young
https://www.imdb.com/title/tt7668870/plotsummary                                                                                                                  1/4
                                                                        Ex. D-14
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                                      (         ),              (          ),         y    g
                                                  #:171
       daughter Margot. Margot took up an interest in piano lessons from a young age. Pam was
       later diagnosed with lymphoma that went into remission, but she later experienced a
       relapse. David and Margot stood by her side until she passed away in 2015.

       In the present, David chides Margot (now played by Michelle La as a teenager) for not
       taking out the trash. She says she will do it when she gets back from a study group
       session. David then talks to his brother Peter Kim (Joseph Lee), who is trying to make a
       gumbo recipe that Pam used to make. David sends him a picture of the recipe and then
       takes the time to watch a video of Pam showing a young Margot how to make the gumbo.

       That night, as David is sleeping, he misses two calls from Margot.

       David messages Margot again for not taking out the garbage. Hours later, he still hasn't
       heard from her. After work, he tries to contact Margot, but she never answers her phone.
       He thinks she might be at a piano lesson, so he calls the piano instructor, only to discover
       that Margot canceled her lessons six months earlier, which means that she has been
       taking the $100 bills that he has left her for herself. David starts to worry.

       David looks up the numbers of Margot's classmates from Pam's old contacts list. He calls
       the home of Margot's childhood friend Isaac (Connor McRaith), and he speaks to Isaac's
       mother, who tells David that Isaac and his friends went on a trip to the mountains, so she
       believes that Margot could be with them. David manages to get in touch with Isaac, who
       tells him that Margot is not with them and that he had invited her, but she declined.

       David calls the police and he speaks to the renowned Detective Rosemary Vick (Debra
       Messing), who is assigned to the case. She tells David to get in touch with anyone who
       may have been close to Margot or know where she was last seen. David goes through
       Margot's laptop and finds that all of her social media accounts are private. He logs into her
       Facebook profile using Pam's old email address, and he begins to reach out to Margot's
       classmates. Most of them have alibis from the night that Margot went missing, and others
       say that Margot was usually quiet and distant. David compiles a chart to keep track of
       who he has spoken to so that he can show Vick.

       Vick later shows David traffic cam footage showing Margot leaving a gas station and
       heading out of town. She also sends him a fake ID that Margot appears to have used
       under the name Jen Yeun. This, coupled with the fact that David found Margot's Venmo
       transactions having taken out $2,500, leads Vick to suggest that Margot ran away.
                                                                                                       VINTAGE BRAWN Protein - Muscle-Buildi…
       Growing tired and increasingly afraid, David then comes across the site YouCast where
       Margot left live-streaming videos. He goes through the saved videos to see that Margot                           858
       would talk to someone named Hannah, whose username was "fish_n_chips". Hannah also
       had a sick mom and would relate with Margot. David then notices one of the videos is of
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       Margot at a lake, which matches a picture she posted to her Tumblr account. It's Lake           Subscribe & Save
       Barbosa, where Margot liked to go to relax. David finds the directions from the spot where
       Margot was last seen, and he heads out.
                                                                                                       Share this page:
       David calls Vick in the middle of the night once he gets to the lake. He finds a Pokeball
       key chain that belonged to Margot, confirming that Margot was there and that she didn't
       run away. In the morning, authorities fish Margot's car out of the lake. An envelope with
       $2500 is there, but Margot isn't in the front or the trunk. A bit of blood is spotted on the
       dashboard.

       News of Margot's disappearance spreads, leading to a search party scouring the woods for
       her. It becomes a trending topic, with some people sharing love and hope for Margot to
       return, while others mock the situation and accuse David of being involved in her
       disappearance. One of Margot's schoolmates, Derek Ellis (Reed Buck), who is (for lack of a
       better term) a douchebag, jokes that Margot is with him and that he's her pimp. David
       finds out he's at the nearby movie theater after checking in on Facebook, and he goes to
       confront him, leading to David kicking Derek's ass and breaking his jaw, which patrons
       record on their phones. Vick tells David to stay off the case because of this.
                                                                                                       VINTAGE BRAWN Protein - Muscle-Buildi…
       David looks through the photos of the site of where Margot's car was found. Upon closer
       inspection, he notices a hockey hoodie in the front seat of the car that he recognizes as                        858
       belonging to Peter. David looks through Margot's messages between her and Peter, which                                     Add to Cart
       imply that they have been doing something that Peter knows David would kill him for.
                                                                                                       $
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       David pays Peter a visit and sets up cameras in his home to try and get a confession out
       of him. David asks Peter when he last saw Margot, and he appears to dodge the question.
       David then attacks Peter until he tells the truth, and Peter admits that he and Margot were
       smoking weed. She had caught him at one point and wanted to try it, so they kept it a
       secret from David. Peter points out that he was the only one who listened to her when she
       talked about her mother's passing, since David had avoided talking to her about it. David
       then gets a phone call from Vick, but he misses it and just hears her voicemail. Vick tells
       him that they got a suspect, and David breaks down crying as he listens to the voicemail.

       The news reports that an ex-convict, Randy Cartoff (Ric Sarabia), has apparently
       confessed to killing Margot before committing suicide. A video of his confession is shown,
       in which he tearfully apologizes for what he claims to have done to her. David is sent
       memorials and condolences for the news.

       David receives an email from a memorial service asking for videos and pictures of Margot
       that he would like to share for her upcoming memorial. After picking all the files that he
       wants so share, he notices a picture on the service's site that looks familiar. It appears to
       be Hannah, AKA fish_n_chips. He searches her image on Google and notices that the girl
       in the picture is some kind of catalog model. David calls the company that Hannah works
       for, and he speaks to her, but she has no idea who Margot is or what YouCast is.

       David tries to call Vick to investigate further since this doesn't add up for him. He instead
       speaks to a woman from the police station that tells him that Vick is not there, and she
       lets it slip that Vick volunteered for the case instead of being assigned as he had been led
       to believe. David does a little more investigating and sees an article of Vick with
       construction workers, and one of them is Randy. With this information, David brings a
       group of police officers to Margot's memorial, and Vick is arrested.

       A week after Vick's arrest, we see her being interrogated. She confesses that everything

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       she did was because of a mistake that her son Robert (Steven Michael Eich) had made. It
       turns out that Robert had been in love with Margot for years, and he cat-fished her as
       fish_n_chips, using Hannah's picture as his own and coming up with this fake persona and
       backstory for months. Margot had taken out the $2,500 to help with what she believed
       was his sick mother's hospital bills. When Robert found her smoking weed at the lake, he
       frightened her and she ran. Robert went after her, and she started hitting him in self-
       defense, and he reacted by pushing her down the ravine. Robert called Vick panicked, and
       she told him not to do anything. She made up everything to throw David off, including
       making a fake ID for Margot, making it look like her body was nowhere to be found, and
       even setting Randy up to make a false confession and having him killed. Vick then points
       out that there is a possibility that Margot survived because there was a storm two days
       after she went missing, so she would not have been totally dehydrated. Robert is also
       taken into custody following this confession.

       A rescue team goes down to the ravine where Margot fell. From a live news chopper, we
       see the rescuers bringing up a body basket with Margot inside. David goes over to see if
       Margot is okay...

       It's now months later. We see a message exchange, followed by a picture of David with
       Margot in a wheelchair at the hospital, confirming that she is indeed alive. She is waiting
       and refreshing to find out if she got into a music conservatory that she had applied to.
       David messages her telling her that he is proud of her, and that her mom would be too.




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     Summaries
                                                                                                                   Explore More

       A teen girl disappears after trying to meet men online in order to escape her small town.
                                                                                                                                                 Create a list »
       Apparently, only her best friend worries enough to investigate the mystery.                               User Lists
       —Anonymous                                                                                                Related lists from IMDb users

                                                                                                                                 Terror
       Sarah and Jillian have been best friends for so long they can't remember when their                                       a list of 26 titles
                                                                                                                                 created 2 weeks ago
       friendship started. Growing up in the small town of Goshen, Indiana the two girls couldn't
       be more different. Sarah is a star pupil and athlete, a 100-watt-bulb in a five-watt-town,
       while Jillian is star mischief-maker, a 100lbs-of-trouble in a five-pound-bag. Although both
       girls long to break free of the small-town life, Jillian is the first to act, revealing to Sarah                          Men pooping in movies
                                                                                                                                 a list of 34 titles
       that she has been meeting men on-line with the sole purpose of finding someone who will                                   created 29 Jun 2018
       "take her away from this place". Soon thereafter, she disappears leaving Sarah with only a
       journal and a cryptic video message sent from her cell-phone. Sarah soon discovers that
       the town would rather forget that Jillian had ever existed. Distraught, she delves into the
       secrets surrounding her disappearance. Aided by, Jasper, the resident computer geek who                                   Movies E
                                                                                                                                 a list of 43 titles
       secretly adores her, the two plunge head-long into Goshen's dark secrets -- uncovering                                    created 5 months ago
       corrupt police, jilted boyfriends, a mother driven mad by loss, and an unsolved string of
       child abductions. The final truth they unearth will rock the town to its foundations.

       —Nathan Hope                                                                                                              Favorite Anna Kendrick
                                                                                                                                 Character
                                                                                                                                 a list of 27 images
                                                                                                                                 created 05 Jan 2018
     Synopsis

                                                                                                                                 CD 006 - 010
       It looks like we don't have a Synopsis for this title yet.                                                                a list of 31 titles
       Be the first to contribute! Just click the "Edit page" button at the bottom of the page or                                created 17 Dec 2015
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                                                                                                                 Pretty Little Liars (TV Series)
                 Plot
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                                                                                                                 Plot Keywords
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     Summaries
                                                                                                                   Explore More

       Four friends band together against an anonymous foe who threatens to reveal their
                                                                                                                                                   Create a list »
       darkest secrets, while also investigating the disappearance of their best friend.                         User Lists
       —Anonymous                                                                                                Related lists from IMDb users

                                                                                                                                 Best TV-series
       Set in the fictional town of Rosewood, Pennsylvania, the series follows the lives of four                                 a list of 24 titles
                                                                                                                                 created 22 Jan 2012
       girls, Aria Montgomery, Hanna Marin, Emily Fields, and Spencer Hastings, whose clique
       falls apart after the disappearance of their leader, Alison DiLaurentis. One year later, the
       estranged friends are reunited as they begin receiving messages from a mysterious figure
       named "A", who threatens to expose their deepest secrets, including ones they thought                                     Wishlist
       only Alison knew. At first, they think it's Alison herself, but after her body is found, the                              a list of 46 titles
                                                                                                                                 created 31 Jan 2018
       girls realize that someone else is planning on ruining their not so perfect lives.

       —ahmetkozan

                                                                                                                                 series
                                                                                                                                 a list of 34 titles
       Never trust a pretty girl with an ugly secret - In Rosewood High, there was a group of high                               created 30 Jun 2017
       school students, Aria, Hanna, Spencer, Emily, and Alison, their leader. Alison was the
       popular "Queen Bee" of the high school students. Each of the four girls always shared her
       secrets with Ali. One Labor Day night, the five girls were having a party, when Alison
                                                                                                                                 TV shows I completed
       suddenly went missing. Without their leader, the four girls separated. One year later, each                               a list of 35 titles
       girl gets a text message from a mysterious person named "A", including secrets that only                                  created 03 Sep 2016
       Alison should know. Could this person be Alison? If not, then who is it? The girls reunite to
       find out who this A is and to stop him or her from exposing their secrets.

       —ahmetkozan                                                                                                               Watched Series
                                                                                                                                 a list of 38 titles
                                                                                                                                 created 09 Jun 2017

       In Rosewood, Pennsylvania, a once tight knit group of girls have to band back together
       after the leader of their group, Alison DiLaurentis goes mysteriously and unexplainably
       missing. They then start getting texts from an anonymous source that soon turns their                     See all related lists »
       lives more dangerous then they can imagine, and threatens to ruin everything that is
       keeping them sane. They have to work together to save their families, relationships, and
       their own lives before it's to late, and everything is ruined once and for all.



       Four best friends are rattled when their Queen Bee Alison DiLaurentis dies during a party.
       A year later, the mysterious "A" begins to torment them with threats laced with secrets
       they only ever told Ali. Is Ali still alive? And will the girls ever find out who their masked
       tormentor is? Find out in the twisted, confusing, dark tale of Pretty Little Liars. Episodes
       Tuesdays at 9 on Freeform.

       —Colina


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       In this mysterious series, five girls rule the halls of Rosewood High. One night takes a
       wrong turn when the queen bee and leader of the group, Alison DiLaurentis, goes missing,
       unexpectedly. A year after her disappearance, the estrange friends reunite, still
       unknowing of what happened to their best friend. The four friends, Hanna Marin, Emily
       Fields, Aria Montgomery, and Spencer Hastings, begin to recieve texts from an
       anonymous messenger containing their deepest, darkest secrets. First, they think its their
       missing friend, but when the police find her body, they must discover who this nameless,
       faceless, dangerous stranger is and find out what happened to their best friend while
       protecting their secrets and loved ones.

       —ahmetkozan


     Spoilers
           The synopsis below may give away important plot points.


     Synopsis

       1 year ago, Allison, the queen bee of the four friends, Aria, Spencer, Hanna, and Emily,
       went missing. Since her disappearance, the four girls became less close, with Aria moving
       to Iceland, Hanna losing weight, Spencer in competition with her older sister, Melissa, and
       Emily experimenting with her sexuality. When Aria comes back from Iceland, she hooks up
       with a guy from a bar, who turns out to be her English teacher. Hanna gets arrested for
       stealing sunglasses from the mall, and her mother has sex with the arresting officer to get
       Hanna out of trouble. Tired of always coming second to Melissa, Spencer makes out with
       her fiancee, causing the engagement to end. Emily meets the new girl who moves into
       Rosewood, Maya, and feels something a little more than friendship for her. When Aria
       moves back to Rosewood, all four girls receive strange and threatening messages from
       "A", who they believe could possibly be Allison, considering the messages were about
       exposing both present and past secrets- secrets only Allison knew about. The past secrets
       included Aria's father cheating on her mother with his student, Spencer kissing Melissa's
       previous boyfriend, Emily's romantic feelings for Allison, Hanna's bulimia to become
       skinny, and one night when Allison claimed to see a boy named Toby peeping through the
       window and threw a stink bomb in the garage, causing a fire, and blinding Toby's step-
       sister, Jenna. Even after Allison's dead body was found and a funeral was held, the girls
       keep receiving texts from A. Aria, Spencer, Hanna, and Emily must find out who A is
       before he/she reveals all of their deepest, darkest secrets.
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                                                                                                             "Narcos: Mexico"
   Law & Order: Special Victims Unit (1999– )

           Runaway                                                                   8.7/10
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   Season 2 | Episode 16                                  Previous        All Episodes (480)   Next



                                A police officer's daughter runs away and the squad uses the help
                                of a internet journalist to track her down.

                                Director: Richard Dobbs
                                Writers: Dick Wolf (created by), Nick Kendrick | 1 more credit »
                                Stars: Christopher Meloni, Mariska Hargitay, Richard Belzer |                The charismatic actor brings memories of
                                See full cast & crew »                                                       Mexico and a nose for authenticity to his
                                                                                                             performance as Félix Gallardo.

                                                                                                             Watch the video »
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                                Reviews
                                1 user | 1 critic



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   Photos

                     Add an image
                     Do you have any images for
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                                                                                                      Edit
   Cast
   Episode cast overview, first billed only:

          Christopher Meloni               ...      Detective Elliot Stabler


https://www.imdb.com/title/tt0629724/                                                                                                                    1/4
                                                                               Ex. D-27
        Case
2/25/2020         2:20-cv-00435-CBM-PJW   "Law &Document       15-1 Unit"
                                                Order: Special Victims Filed  03/13/20
                                                                          Runaway           Page
                                                                                  (TV Episode 2001) -108
                                                                                                     IMDb of 135 Page ID
          Mariska Hargitay      ... Olivia Benson              #:184

          Richard Belzer                ...   John Munch


          Michelle Hurd                 ...   Monique Jeffries


          Stephanie March               ...   Alexandra Cabot


          Ice-T                         ...   Odafin Tutuola


          Dann Florek                   ...   Donald Cragen


          Sean Nelson                   ...   Tito Frank


          Kelly Karbacz                 ...   Jill Foster


          Reg Flowers                   ...   Lance Kanick


          Anna Holbrook                 ...   Lorna Frankel


          Kristin Griffith              ...   Mrs. Foster


          Baird Wallace                 ...   Jill's Brother                                               New Nerdwax Slimline Design - 4ct Value…
                                                                                                                        2,701
          David Anzuelo                 ...   ESU Lieutenant                                               $
                                                                                                               19.99                        Shop now



          Dan Ziskie                    ...   Sgt. Frank Foster (as Daniel Ziskie)
                                                                                                          Around The Web                Powered by ZergNet

   See full cast »

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                                                                                                   Edit
   Storyline
   A police officer's daughter runs away and the squad uses the help of a internet journalist to
   track her down.
                                                                                                          Lines in Disney         The Real Reason
   Plot Summary | Plot Synopsis                                                                           Movies That Mean        These 'NCIS' Actors
                                                                                                          More Than You           Left
   Plot Keywords: drug addiction | rave | internal affairs investigation | flashback | hostage            Realized
   taking | See All (6) »


   Genres: Crime | Drama | Mystery | Thriller


   Certificate: TV-14 | See all certifications »
   Parents Guide: Add content advisory for parents »



                                                                                                   Edit   Movies That Flopped     It's Pretty Obvious
   Details                                                                                                So Hard They Put        Why Hollywood
                                                                                                          Studios Out of          Dropped Fairuza Balk
   Country: USA                                                                                           B i
   Language: English
   Release Date: 2 March 2001 (USA) See more »
                                                                                                                                                Create a list »
   Filming Locations: New York City, New York, USA                                                        User Lists
                                                                                                          Related lists from IMDb users
   Company Credits
                                                                                                                        SERIES EPISODES
   Production Co: Wolf Films, Studios USA Television See more »                                                         a list of 9801 titles
                                                                                                                        created 10 Dec 2011
   Show more on IMDbPro »


   Technical Specs
                                                                                                                        TV Episodes I Have
   Runtime: 60 min                                                                                                      Watched
                                                                                                                        a list of 2322 titles
   Sound Mix: Stereo                                                                                                    created 14 Feb 2018

https://www.imdb.com/title/tt0629724/                                                                                                                             2/4
                                                                        Ex. D-28
        Case
2/25/2020         2:20-cv-00435-CBM-PJW
                                     "Law &Document       15-1 Unit"
                                           Order: Special Victims Filed  03/13/20
                                                                     Runaway           Page
                                                                             (TV Episode 2001) -109
                                                                                                IMDb of 135 Page ID
   Color: Color                                           #:185
   Aspect Ratio: 1.33 : 1
   See full technical specs »



                                                                                                                  Edit                    Watched | TV episodes
   Did You Know?                                                                                                                          a list of 434 titles
                                                                                                                                          created 7 months ago
   Trivia
   This episode marks the final appearance of Monique Jeffries (Michelle Hurd) in the series. This
   episode also reveals that the Jeffries character had transferred to the NYPD Vice Unit but was
   loaned back to the SVU for the case in this episode. See more »                                                                        TV 2017
                                                                                                                                          a list of 1221 titles
                                                                                                                                          created 04 Jan 2017
   Quotes
   Det. Elliot Stabler: [to Lance Kanick] There are 39,000 of us. Anything happens to Jill, we're all
   gonna be looking for a piece of you.
   See more »                                                                                                                             TOP 250 MOVIES, SERIES,
                                                                                                                                          etc. WITH HIGHEST
                                                                                                                                          NUMBER OF "10" VOTES
   Connections                                                                                                                            BY ALL IMDB VOTERS!!!* *
   Featured in Law & Order: Special Victims Unit, Police Sketch: Dann Florek (2004) See more »                                            *****
                                                                                                                                          a list of 9998 titles
                                                                                                                                          created 26 Oct 2012


   Frequently Asked Questions                                                                                            See all related lists »

   This FAQ is empty. Add the first question.
                                                                                                                         Related Items
                                                                                                                                 Search for "Runaway" on
   User Reviews                                                                                                                  Amazon.com

   Little choice
   26 June 2014 | by bkoganbing – See all my reviews
                                                                                                                         Share this Rating
   Those eternal villains in cop shows the Internal Affairs Bureau are examining how the SVU
   might have screwed up a missing persons case where a police informant was killed. But as we                           Title: Runaway (02 Mar 2001)
   see the flashback as the various folks from SVU give their testimony we see they had little
                                                                                                                                 8.7/10
   choice in their course of action.
                                                                                                                         Want to share IMDb's rating on your own site?
   The missing teenage girl was the daughter of a cop friend of Dann Florek. Dan Ziskie blew his                         Use the HTML below.
   career holding a bunch of people at gunpoint looking for information in the Lower East Side                             Show HTML           View more styles
   drug scene. Sean Foster who is a journalist of sorts among the underground types volunteers
   to help.

   Ice-T is particularly good in this episode in a story that takes him back to his days in narcotics.
   The chief villain in this story a bottom feeding pimp Reg Flowers incriminates himself very
   nicely on all levels.

   It's stories like this that make cops hate Internal Affairs.


   6 of 7 people found this review helpful. Was this review helpful to you? Yes     No   | Report this

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https://www.imdb.com/title/tt0629724/                                                                                                                                    3/4
                                                                                      Ex. D-29
        Case
2/25/2020        2:20-cv-00435-CBM-PJW "Law &Document        15-1 Unit"
                                              Order: Special Victims Filed  03/13/20
                                                                        Runaway            Page
                                                                                 (TV Episode 2001) -110
                                                                                                    IMDb of 135 Page ID
       Lawrence of     WarGames  The Graduate        The Ring#:186 Seven Years in
         Arabia                                                               Tibet


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https://www.imdb.com/title/tt0629724/                                                                                              4/4
                                                              Ex. D-30
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 111 of 135 Page ID
                                   #:187




                                    Ex. D-31
        Case
2/25/2020        2:20-cv-00435-CBM-PJW      Document
                                   "Law & Order:             15-1
                                                 Special Victims       Filed 03/13/20
                                                                 Unit" Friending               Page
                                                                                 Emily (TV Episode    112
                                                                                                   2012)     of 135 Page ID
                                                                                                         - IMDb
                                                            #:188
                                                                                                          Sign In




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                                                                                                          Skateboard
   Law & Order: Special Victims Unit (1999– )

           Friending Emily                                                         8.3/10
                                                                                   478
                                                                                                 Rate
                                                                                                 This
           TV-14 | 43min | Crime, Drama, Mystery | Episode aired 31 October 2012



   Season 14 | Episode 6                            Previous        All Episodes (480)        Next




                                                                                                          When Jay Pharoah wants to become the most
                                                                                                          versatile actor in the world, he turns to
                                                                                                          experts to teach him new skills.

                                                                                                          Watch the video »




                               0:37 | Trailer                                                  4 VIDEOS



   While Amanda's troubled sister comes for a surprise visit, the team searches for a 14 year old
   girl who was abducted at a frat party.

   Director: Jim McKay
   Writers: Dick Wolf (created by), Kevin Fox
   Stars: Mariska Hargitay, Danny Pino, Kelli Giddish | See full cast & crew »



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   Videos




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                                                                         Ex. D-32
        Case
2/25/2020         2:20-cv-00435-CBM-PJW      Document
                                    "Law & Order:             15-1
                                                  Special Victims       Filed 03/13/20
                                                                  Unit" Friending               Page
                                                                                  Emily (TV Episode    113
                                                                                                    2012)     of 135 Page ID
                                                                                                          - IMDb
                                                             #:189
   See all 4 videos »




   Photos

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                       Do you have any images for
                       this title?


      Add Image




                                                                                               Edit
   Cast
   Episode cast overview, first billed only:

          Mariska Hargitay                     ...   Olivia Benson


          Danny Pino                           ...   Nick Amaro


          Kelli Giddish                        ...   Amanda Rollins


          Richard Belzer                       ...   John Munch (credit only)


          Ice-T                                ...   Odafin Tutuola (as Ice T)


          Dann Florek                          ...   Donald Cragen
                                                                                                      Around The Web                Powered by ZergNet

          Chris Coy                            ...   Peter


          Lindsay Pulsipher                    ...   Kim Rollins


          Izzie Steele                         ...   Wendy Davis


          Taylor Spreitler                     ...   Taylor Culphers

                                                                                                      Why 'Agent Carter'     Celebrities Who Sadly
          Neal Matarazzo                       ...   Mr. Culphers                                     Really Got Canceled is Died in 2019
                                                                                                      Pretty Clear Now

          Kathy McCafferty                     ...   Liz Culphers


          Catherine Missal                     ...   Emily Culphers


          Frank Deal                           ...   FBI Agent O'Connell


          David Deblinger                      ...   Mr. Kearns
                                                                                                      Honey Boo Boo Child     Dumb Things in the
                                                                                                      Sure Doesn't Look       'Indiana Jones' Movies
   See full cast »                                                                                    Like This Anymore       Everyone Ignored

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                                                                                                                                            Create a list »
                                                                                                      User Lists
                                                                                               Edit
   Storyline
                                                                                                      Related lists from IMDb users
   While Amanda's troubled sister comes for a surprise visit, the team searches for a 14 year old
   girl who was abducted at a frat party.                                                                           My Movies: TV and Video
                                                                                                                    2.0
   Plot Summary | Add Synopsis                                                                                      a list of 2553 titles
                                                                                                                    created 01 Jan 2018

   Plot Keywords: character name in episode title | detective | webcam | pornographer |
   photographer | See All (10) »                                                                                    Watched | TV episodes
                                                                                                                    a list of 434 titles
                                                                                                                    created 7 months ago
   Genres: Crime | Drama | Mystery | Thriller
https://www.imdb.com/title/tt2452938/                                                                                                                         2/4
                                                                           Ex. D-33
        Case
2/25/2020        2:20-cv-00435-CBM-PJW      Document
                                   "Law & Order:             15-1
                                                 Special Victims       Filed 03/13/20
                                                                 Unit" Friending               Page
                                                                                 Emily (TV Episode    114
                                                                                                   2012)     of 135 Page ID
                                                                                                         - IMDb
                                                            #:190
   Certificate: TV-14 | See all certifications »
   Parents Guide: Add content advisory for parents »



                                                                                                   Edit                             Favorite L&O: SVU
   Details                                                                                                                          Episodes
                                                                                                                                    a list of 126 titles
   Country: USA                                                                                                                     created 25 May 2017

   Language: English
   Release Date: 31 October 2012 (USA) See more »
                                                                                                                                    SVU Episodes That Really
   Filming Locations: New York City, New York, USA                                                                                  Got to Me
                                                                                                                                    a list of 39 titles
                                                                                                                                    created 02 Sep 2016
   Company Credits
   Production Co: Wolf Films, Universal Television See more »                                                                       TOP 250 MOVIES, SERIES,
   Show more on IMDbPro »                                                                                                           etc. WITH HIGHEST
                                                                                                                                    NUMBER OF "10" VOTES
                                                                                                                                    BY ALL IMDB VOTERS!!!* *
   Technical Specs                                                                                                                  *****
                                                                                                                                    a list of 9998 titles
   Runtime: 43 min                                                                                                                  created 26 Oct 2012

   Sound Mix: Stereo
                                                                                                          See all related lists »
   Color: Color
   Aspect Ratio: 16:9 HD
   See full technical specs »
                                                                                                          Related Items
                                                                                                                      Search for "Friending Emily" on
                                                                                                   Edit
   Did You Know?                                                                                                      Amazon.com

   Trivia
   [All trivia items for this title are spoilers.] See more »                                             Share this Rating
                                                                                                          Title: Friending Emily (31 Oct 2012)
   Goofs
   When Rollins and Fin are leaving the child pornography investigator's office at Federal Plaza,                      8.3/10
   Fin leaves through the office door first. When the camera angle changes to the view from the
   hallway, Rollins is now ahead of Fin leaving the office. See more »                                    Want to share IMDb's rating on your own site?
                                                                                                          Use the HTML below.
   Quotes
                                                                                                             Show HTML                       View more styles
   Peter: [to Amaro] What kind of parents send their child to New York without them?
   Nick Amaro: I know, but if it weren't for you, who knows what would have happened to her?
   Peter: Oh, you're gonna mock me now? Listen, I'll turn this off right now.
   Nick Amaro: Hey, no, no, no. Don't do that.
   Peter: I never hurt my girls. Even on request night. You should hear some of the things these             Make the move
   sickos ask for. I'm gentle!
   [to Emily]
                                                                                                             to fast Internet.
   Peter: Isn't that right? Tell him.
   Emily Culphers: He's gentle.                                                                                 Xfinity Internet
   Nick Amaro: Yeah, I-I know. Hey, Peter, you're... you're a gentleman.
   See more »
                                                                                                                $
                                                                                                                    20Move
                                                                                                                      Tune in.
                                                                                                                            in.    a mo. /
                                                                                                                                   12 mos.
                                                                                                                with 1-year agreement
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                                                                       Ex. D-34
        Case
2/25/2020        2:20-cv-00435-CBM-PJW      Document
                                   "Law & Order:             15-1
                                                 Special Victims       Filed 03/13/20
                                                                 Unit" Friending               Page
                                                                                 Emily (TV Episode    115
                                                                                                   2012)     of 135 Page ID
                                                                                                         - IMDb
                                                            #:191




       Lawrence of         WarGames     The Graduate      The Ring          Seven Years in
         Arabia                                                                 Tibet


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                                                                Ex. D-35
Case 2:20-cv-00435-CBM-PJW Document 15-1 Filed 03/13/20 Page 116 of 135 Page ID
                                   #:192




                                    Ex. D-36
        Case
2/25/2020          2:20-cv-00435-CBM-PJW      Document
                                    "Law & Order:              15-1
                                                  Special Victims        Filed
                                                                  Unit" No Good 03/13/20     Page
                                                                                Reason (TV Episode   117
                                                                                                   2017)     of 135 Page ID
                                                                                                         - IMDb
                                                               #:193
                                                                                                            Sign In




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   Law & Order: Special Victims Unit (1999– )

             No Good Reason                                                          8.8/10
                                                                                     564
                                                                                                   Rate
                                                                                                   This
             TV-14 | 43min | Crime, Drama, Mystery | Episode aired 18 October 2017                            Stella & Chewy's Freeze-Dried Dog Food
                                                                                                                               2,074
   Season 19 | Episode 4                              Previous        All Episodes (480)        Next          $
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                                                                                                            Denzel Washington | IMDb Supercut




                                  0:43 | Trailer                                      2 VIDEOS | 9 IMAGES



   A teenager who was a victim of a vicious cyberbullying attack goes missing.

   Director: Martha Mitchell
                                                                                                            Take a closer look at the various roles Denzel
   Writers: Dick Wolf (created by), Julie Martin | 5 more credits »
                                                                                                            Washington has played throughout his acting
   Stars: Mariska Hargitay, Kelli Giddish, Ice-T | See full cast & crew »
                                                                                                            career.

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                                                                           Ex. D-37
        Case
2/25/2020         2:20-cv-00435-CBM-PJW      Document
                                   "Law & Order:              15-1
                                                 Special Victims        Filed
                                                                 Unit" No Good 03/13/20     Page
                                                                               Reason (TV Episode   118
                                                                                                  2017)     of 135 Page ID
                                                                                                        - IMDb
                                                              #:194




   See all 2 videos »




   Photos




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                                                                                      Edit
   Cast
   Episode cast overview, first billed only:

          Mariska Hargitay                       ...   Olivia Benson

                                                                                              Crucial Ballistix 3200 MHz DDR4 DRAM D…
          Kelli Giddish                          ...   Amanda Rollins
                                                                                              $
                                                                                                  159.99                      Add to Cart

          Ice-T                                  ...   Odafin Tutuola (credit only)

                                                                                             Around The Web                Powered by ZergNet
          Peter Scanavino                        ...   Dominick Carisi Jr.


          Raúl Esparza                           ...   Rafael Barba


          Brighton Sharbino                      ...   Mandy Fowler


          Madison Pettis                         ...   Stacey Vanhoven

                                                                                             TV Deaths We Didn't     Actors Who Are
          Colton Ryan                            ...   Andrew Drake                          See Coming in 2019      Essentially One Hit
                                                                                                                     Movie Wonders
          Geraldine Hughes                       ...   Denise Drake


          Erin Davie                             ...   Kirsten Fowler


          John Patrick Hayden                    ...   Bruce Fowler


          Steve Rosen                            ...   Public Defender Guthrie
                                                                                             'Star Trek' Actors You We Finally Understand
                                                                                             Forgot Were Dead       the Truth About the
          Helmar Augustus Cooper                 ...   Judge Reginald Flowers                                       Man Who Played
                                                                                                                    Chewie
          Tyler Dean Flores                      ...   Max Rivera

                                                                                                                                   Create a list »
          Katherine Reis                         ...   Ashley                                User Lists
                                                                                             Related lists from IMDb users
   See full cast »
                                                                                                           SERIES EPISODES
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                                                                                                           created 10 Dec 2011



                                                                                      Edit
   Storyline                                                                                               TV Episodes I Have
                                                                                                           Watched
   A teenager who was a victim of a vicious cyberbullying attack goes missing.                             a list of 2322 titles
                                                                                                           created 14 Feb 2018

https://www.imdb.com/title/tt7195314/                                                                                                                2/5
                                                                        Ex. D-38
        Case
2/25/2020         2:20-cv-00435-CBM-PJW      Document
                                   "Law & Order:              15-1
                                                 Special Victims        Filed
                                                                 Unit" No Good 03/13/20     Page
                                                                               Reason (TV Episode   119
                                                                                                  2017)     of 135 Page ID
                                                                                                        - IMDb
   Plot Summary | Add Synopsis                                #:195
   Genres: Crime | Drama | Mystery | Thriller


   Certificate: TV-14
   Parents Guide: Add content advisory for parents »                                                                        Watched | TV episodes
                                                                                                                            a list of 434 titles
                                                                                                                            created 7 months ago


                                                                                                    Edit
   Details                                                                                                                  Watched in 2019
                                                                                                                            a list of 1322 titles
   Country: USA                                                                                                             created 01 Jan 2019
   Language: English
   Release Date: 18 October 2017 (USA) See more »
   Filming Locations: New York City, New York, USA
                                                                                                                            Law and Order Teenage
                                                                                                                            Wasteland
   Company Credits                                                                                                          a list of 60 titles
                                                                                                                            created 1 month ago
   Production Co: Wolf Films, Universal Television See more »
   Show more on IMDbPro »
                                                                                                           See all related lists »

   Technical Specs
   Runtime: 43 min                                                                                         Related Items
   Sound Mix: Stereo
   Color: Color                                                                                                    Search for "No Good Reason" on
   Aspect Ratio: 16:9 HD                                                                                           Amazon.com
   See full technical specs »

                                                                                                           Share this Rating
                                                                                                    Edit
   Did You Know?                                                                                           Title: No Good Reason (18 Oct 2017)

   Trivia                                                                                                          8.8/10
   This is the first episode in which we hear of Rollins' tattoo that says "Amanda" in her 7 year          Want to share IMDb's rating on your own site?
   history on the show. See more »
                                                                                                           Use the HTML below.

   Quotes                                                                                                    Show HTML           View more styles
   Mandy Fowler: [to her classmates] I'm a survivor of sexual assault. I felt broken. I was sad,
   angry, but then what came after the bullying, I felt like I was underwater, drowning. And I
   want you to know, what you say, what you say to each other, it hurts. It has consequences.
   See more »


   Soundtracks
   Scars To Your Beautiful
   Performed by Alessia Cara
   Played at the begin of the episode
   See more »




   Frequently Asked Questions
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   User Reviews
                      Me Too.
   19 October 2017 | by trustn-47834 – See all my reviews

   Reduced me to tears.

   As a member of the LGBTIQ Community in Australia, I have both seen and undergone more
   then my share of bullying, both as an adult and a child, and its not fun.

   I was abused as a child by my Mother who was unable to deal with me being me, leading to
   me living on the street for 10 years after I ran away from home or got kicked out - depending
   on your point of view.

   So I saw a lot in that time,and grew up fast on the streets of Sydney.

   This ep reminded me of a lot of ghosts, its also one of the reasons why I have such a love hate
   relationship with shows like this.



https://www.imdb.com/title/tt7195314/                                                                                                                      3/5
                                                                         Ex. D-39
        Case
2/25/2020        2:20-cv-00435-CBM-PJW                   Document
                                             "Law & Order:               15-1
                                                            Special Victims        Filed
                                                                            Unit" No Good 03/13/20      Page
                                                                                           Reason (TV Episode   120
                                                                                                              2017)     of 135 Page ID
                                                                                                                    - IMDb
                                                                         #:196
   The acting in this was simply phenomenal,in particular the young girl who had the lead role of
   the Victim of this crime. But also special mention needs to go to those portraying the families
   of the accused and the victim who were also not the more usual cardboard cutouts of earlier
   story lines.

   Everyone did the story proud.

   The last bit in the school hall was where I really lost it.

   Emotionally I mean.

   Bullying is not acceptable, its not a part of growing up, and should never ever be looked on as
   a joke or an acceptable part of life.

   The writers of this ep also did a brilliant job as well in crafting a story with a point,and a
   definite sting in its tail.

   THANK YOU to all concerned.


   24 of 26 people found this review helpful. Was this review helpful to you? Yes   No   | Report this

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         Arabia                                                                                     Tibet


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                                                                                    Ex. D-40
        Case
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                                  "Law & Order:              15-1
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https://www.imdb.com/title/tt7195314/                                                                                       5/5
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                                    Ex. D-42
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                                          Document        15-1 theFiled
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                                                                                                          "Narcos: Mexico"
   Without a Trace (2002–2009)

           Between the Cracks                                                      7.8/10
                                                                                   135
                                                                                                Rate
                                                                                                This
           TV-14 | 50min | Crime, Drama, Mystery | Episode aired 17 October 2002



   Season 1 | Episode 4                                 Previous       All Episodes (160)   Next



                                Aspiring model Eve Cleary goes missing but the team have trouble
                                finding people who really knew her. During the course of the
                                investigation, they discover that she has really gone missing twice,
                                under two different identities.

                                Director: Steve Gomer                                                     The charismatic actor brings memories of
                                Writers: Hank Steinberg (created by), Ed Redlich                          Mexico and a nose for authenticity to his
                                Stars: Anthony LaPaglia, Poppy Montgomery,                                performance as Félix Gallardo.
                                Marianne Jean-Baptiste | See full cast & crew »
                                                                                                          Watch the video »


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   Photos

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                                                                                                   Edit
   Cast
   Episode cast overview, first billed only:

          Anthony LaPaglia                        ...    Jack Malone

          Poppy Montgomery                        ...    Samantha Spade

https://www.imdb.com/title/tt0749650/                                                                                                                 1/4
                                                                           Ex. D-43
        Case
2/25/2020        2:20-cv-00435-CBM-PJW"Without
                                         Document        15-1 theFiled
                                               a Trace" Between   Cracks03/13/20      Page
                                                                         (TV Episode 2002)     124 of 135 Page ID
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                                                         #:200

          Marianne Jean-Baptiste               ...   Vivian Johnson


          Enrique Murciano                     ...   Danny Taylor


          Eric Close                           ...   Martin Fitzgerald


          Charles S. Dutton                    ...   Chet Collins


          John Livingston                      ...   Soup Kitchen Guy


          Elaine Kagan                         ...   Eve's Boss


          Kaitlin Doubleday                    ...   Eve Cleary / Becky Radowsky


          Benita Krista Nall                   ...   Rina Sanderson


          Lily Knight                          ...   Alice Radowski


          Alex Veadov                          ...   Goran Davits


          Jay Alan Christianson                ...   Victor Fallon                                    New Nerdwax Slimline Design - 4ct Value…
                                                                                                                    2,701
          Brent King                           ...   Brady Roberts                                    $
                                                                                                          19.99                        Shop now



          Sven Holmberg                        ...   Shem
                                                                                                     Around The Web                Powered by ZergNet

   See full cast »

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                                                                                              Edit
   Storyline
   The team is surprised no colleagues reported missing mall sales girl Eve Cleary but 1/3 quits
   that job within weeks, often like her without collecting the last pay check. She recently
   stopped volunteering at the parish soup kitchen, where student volunteer Chet Collins             Full Batsuit & Batcycle The Real Reason
                                                                                                     Revealed In Leaked      'Firefly' Was Canceled
   recognizes her under another name, Becky, as the team finds out Radowsky. An alleged stalker
                                                                                                     'The Batman' Pics
   was a visitor from her Indiana home town, Brady Roberts. Even her nightlife buddy would be-
   model Rina Sanderson lies about their doing at Kosovar pimp and drug dealer Goran Davits's
   night club VIP lounge and afterwards, driven by his ex-con limo chauffeur to a 'couch casting'.
   Written by KGF Vissers

   Plot Summary | Add Synopsis


   Plot Keywords: abuse | drinking | dancing | false identity | fraud | See All (12) »


   Genres: Crime | Drama | Mystery | Thriller
                                                                                                     The Saddest 'Star       J.K. Rowling Confirms
                                                                                                     Trek' Episodes Ever     the Hermione Theory
   Parents Guide: Add content advisory for parents »                                                                         We Suspected All
                                                                                                                             Along


                                                                                              Edit
   Details                                                                                           User Lists                            Create a list »

   Country: USA
                                                                                                     Related lists from IMDb users
   Language: English
   Release Date: 17 October 2002 (USA) See more »                                                                   Without a Trace
   Filming Locations: Stage 7, Warner Brothers Burbank Studios - 4000 Warner Boulevard,                             a list of 160 titles
   Burbank, California, USA See more »                                                                              created 07 Mar 2018



   Company Credits
                                                                                                                    2002
   Production Co: Jerry Bruckheimer Television, CBS Productions, Warner Bros. Television See                        a list of 54 titles
   more »                                                                                                           created 13 Oct 2012


https://www.imdb.com/title/tt0749650/                                                                                                                        2/4
                                                                         Ex. D-44
        Case
2/25/2020        2:20-cv-00435-CBM-PJW"Without
                                         Document        15-1 theFiled
                                               a Trace" Between   Cracks03/13/20      Page
                                                                         (TV Episode 2002)     125 of 135 Page ID
                                                                                           - IMDb
   Show more on IMDbPro »                                #:201

   Technical Specs
   Runtime: 50 min
   Sound Mix: Stereo
                                                                                                         See all related lists »
   Color: Color
   Aspect Ratio: 1.78 : 1
   See full technical specs »
                                                                                                         Related Items
                                                                                                                  Search for "Between the Cracks" on
                                                                                                  Edit            Amazon.com
   Did You Know?
   Quotes
   Goren Davic: Says who?                                                                                Share this Rating
   Danny: Says twelve witnesses, that is who.
   Goren Davic: Well, they're lying, and they don't know anything about it.                              Title: Between the Cracks (17 Oct 2002)
   Danny: You better start telling us what you do know or I'm going to put you on a plane back to
   Kosovo you little piece of Euro-trash.                                                                             7.8/10
   See more »
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                                                          Street (TV       03/13/20
                                                                     Episode               Page 128
                                                                             2003) - Plot Summary - IMDbof 135 Page ID
                                                         #:204
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                                                                                                                                 ad feedback
                 Without a Trace (TV Series)                                                          Edit

                 Maple Street (2003)                                                                           Maple Street (TV Episode)

                 Plot                                                                                          Storyline
                                                                                                               Taglines
                                                                                                               Plot Summary
      Showing all 2 items                                                                                      Synopsis
                                                                                                               Plot Keywords
      Jump to: Summaries (2)                                                                                   Parents Guide

     Summaries
                                                                                                                 Explore More

       The mayor of a New York state countryside small town where people lock cars nor houses
                                                                                                                                                 Create a list »
       had to call the FBI for the disappearance of a teenage school girl last seen at the school              User Lists
       bus stop. While the team learns about the close community, the victim's confident friend
                                                                                                               Related lists from IMDb users
       also goes missing. The MO fits similar cases in other inconspicuous places roughly on a
       line, so it's feared the work of a traveling serial pedophile.                                                          Without a Trace
                                                                                                                               a list of 160 titles
       —KGF Vissers                                                                                                            created 07 Mar 2018



       A young teenage girl goes missing from near her bus stop before school. Her exclusive
       friendship with another girl gives the team a lot of information about the person, but not a                            2003
                                                                                                                               a list of 22 titles
       lot about where she is. When her distraught best friend goes missing shortly afterward,                                 created 13 Oct 2012
       the team seriously suspects paedophilia-related abductions and has the difficult task of
       finding both girls.

       —Henrietta G. Molgardy
                                                                                                                               My 10/10 Ratings
                                                                                                                               a list of 5534 titles
                                                                                                                               created 29 Apr 2012

     Synopsis


       It looks like we don't have a Synopsis for this title yet.                                              See all related lists »
       Be the first to contribute! Just click the "Edit page" button at the bottom of the page or
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     See also
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https://www.imdb.com/title/tt0749683/plotsummary?ref_=tt_ov_pl                                                                                                     1/3
                                                                         Ex. D-48
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                                                         #:205




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                                                                                                         Month
   Without a Trace (2002–2009)

           Confidence                                                            7.4/10
                                                                                 97
                                                                                              Rate
                                                                                              This
           TV-14 | 1h | Crime, Drama, Mystery | Episode aired 9 October 2003



   Season 2 | Episode 3                                   Previous    All Episodes (160)   Next



                                A recently engaged woman goes missing during her engagement
                                party. However, the team discovers that her background is full of
                                fraud and scams, which may be the reason for her disappearance.

                                Director: Randy Zisk
                                Writers: Hank Steinberg (created by), Greg Walker                        IMDb takes a look at 5 inspiring
                                Stars: Anthony LaPaglia, Poppy Montgomery,                               documentaries to stream this Black History
                                Marianne Jean-Baptiste | See full cast & crew »                          Month.

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                                                                                                  Edit
   Cast
   Episode cast overview, first billed only:
          Anthony LaPaglia                        ...   Jack Malone


https://www.imdb.com/title/tt0749655/                                                                                                                 1/4
                                                                          Ex. D-52
        Case
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          Poppy Montgomery                  ...   Samantha Spade


          Marianne Jean-Baptiste            ...   Vivian Johnson


          Enrique Murciano                  ...   Danny Taylor


          Eric Close                        ...   Martin Fitzgerald


          Eion Bailey                       ...   Christopher Mayes


          Jessalyn Gilsig                   ...   Whitney Ridder


          Myndy Crist                       ...   Sarah Sellars


          David Andriole                    ...   Allen Sellars


          Cindy Pickett                     ...   Art Buyer Wife


          James Remar                       ...   Lucas Vohland


          Saba Homayoon                     ...   Assistant
                                                                                                       Crucial Ballistix 3200 MHz DDR4 DRAM D…
          Tim Halligan                      ...   Art Buyer Husband                                                                    Add to Cart
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          Edward Carnevale                  ...   Ray Deasey (as Edward Carnivale)
                                                                                                      Around The Web                Powered by ZergNet

          Ralph Meyering Jr.                ...   Manager


   See full cast »

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                                                                                               Edit
   Storyline
                                                                                                      Little Enola From    This 'Dodgeball'
   A recently engaged woman goes missing during her engagement party. However, the team               'Waterworld' is a    Actress is Gorgeous
   discovers that her background is full of fraud and scams, which may be the reason for her          Bombshell Now in Her Bombshell in Real Life
   disappearance.                                                                                     30's

   Plot Summary | Add Synopsis


   Genres: Crime | Drama | Mystery | Thriller


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   Details                                                                                            Celebs Who Died
                                                                                                      Tragically in 2018
                                                                                                                              The Big Problem with
                                                                                                                              'Supergirl' No One's
   Country: USA                                                                                                               Talking About
   Language: English
   Release Date: 9 October 2003 (USA) See more »
   Filming Locations: Stage 7, Warner Brothers Burbank Studios - 4000 Warner Boulevard,               User Lists                            Create a list »
   Burbank, California, USA See more »
                                                                                                      Related lists from IMDb users
   Company Credits
                                                                                                                     Without a Trace
   Production Co: Jerry Bruckheimer Television, CBS Productions, Warner Bros. Television See                         a list of 160 titles
   more »                                                                                                            created 07 Mar 2018

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                                                                                                                     MyFaves
   Technical Specs                                                                                                   a list of 3 titles
                                                                                                                     created 08 Mar 2018
   Runtime: 60 min

https://www.imdb.com/title/tt0749655/                                                                                                                         2/4
                                                                      Ex. D-53
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   Sound Mix: Stereo                                 #:210
   Color: Color
   Aspect Ratio: 1.33 : 1
   See full technical specs »


                                                                                                          See all related lists »
                                                                                                   Edit
   Did You Know?
   Goofs                                                                                                  Related Items
   When Sam says, "I'd hold off buying a wedding present," her lip movements don't match what
   she's saying. See more »                                                                                       Search for "Confidence" on
                                                                                                                  Amazon.com
   Quotes
   Vivian Johnson: Let me be frank with you, Mr. Sellars. You don't look like the type who hires an
   ex-con, and now you've lied to a federal officer. If I can help you stop this downward spiral in       Share this Rating
   your personal life, please let me know.
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                                                                                                          Title: Confidence (09 Oct 2003)

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